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                       EXHIBIT B
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OFI Asset Management
Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction           Date           Shares           Price             Cost                    Transaction           Date           Shares       Price            Proceeds

                                                                                               Sale                     10/21/2013        (25,500)    $24.7603        ($631,386.86)
Purchase                 9/24/2013          51,000        $29.3083     $1,494,723.30           *Sale                    11/13/2013        (25,500)    $24.1350        ($615,442.50)
                                            51,000                     $1,494,723.30                                                      (51,000)                  ($1,246,829.36)

                                                                                                                                                             Loss    ($247,893.94)

*Shares sold within 90 days after the end of the class period are calculated at the higher value between the actual sales price and the average
closing price from the end of the class period to the date of sale.




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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction           Date          Shares        Price   Cost                  Transaction   Date        Shares      Price       Proceeds

                 Pre-class holdings       22,909                            Sale                 6/12/2013     (2,500)    $25.0000    ($62,500.00)
                                                                            Sale                 6/12/2013     (5,000)    $30.0000   ($150,000.00)
                                                                            Sale                 6/12/2013       (300)    $30.0000     ($9,000.00)
                                                                            Sale                 6/13/2013       (200)    $34.1400     ($6,828.00)
                                                                            Sale                 6/13/2013       (102)    $33.8300     ($3,450.66)
                                                                            Sale                 6/13/2013       (200)    $33.8200     ($6,764.00)
                                                                            Sale                 6/13/2013       (200)    $33.8300     ($6,766.00)
                                                                            Sale                 6/13/2013       (200)    $33.8200     ($6,764.00)
                                                                            Sale                 6/13/2013       (200)    $33.9800     ($6,796.00)
                                                                            Sale                 6/13/2013       (106)    $33.9900     ($3,602.94)
                                                                            Sale                 6/13/2013       (100)    $34.0500     ($3,405.00)
                                                                            Sale                 6/13/2013       (200)    $34.0100     ($6,802.00)
                                                                            Sale                 6/13/2013       (200)    $34.0200     ($6,804.00)
                                                                            Sale                 6/13/2013       (200)    $34.1000     ($6,820.00)
                                                                            Sale                 6/13/2013       (200)    $34.0600     ($6,812.00)
                                                                            Sale                 6/13/2013       (200)    $34.1400     ($6,828.00)
                                                                            Sale                 6/13/2013       (200)    $34.1800     ($6,836.00)
                                                                            Sale                 6/13/2013       (100)    $34.2000     ($3,420.00)
                                                                            Sale                 6/13/2013       (100)    $34.1800     ($3,418.00)
                                                                            Sale                 6/13/2013       (100)    $34.1700     ($3,417.00)
                                                                            Sale                 6/13/2013       (100)    $34.1000     ($3,410.00)
                                                                            Sale                 6/13/2013       (200)    $34.1000     ($6,820.00)
                                                                            Sale                 6/13/2013       (200)    $34.0800     ($6,816.00)
                                                                            Sale                 6/13/2013       (300)    $34.1000    ($10,230.00)
                                                                            Sale                 6/13/2013       (299)    $34.0800    ($10,189.92)
                                                                            Sale                 6/13/2013       (300)    $34.0500    ($10,215.00)
                                                                            Sale                 6/13/2013       (300)    $34.0400    ($10,212.00)
                                                                            Sale                 6/13/2013       (300)    $34.0400    ($10,212.00)
                                                                            Sale                 6/13/2013       (300)    $34.0400    ($10,212.00)
                                                                            Sale                 6/13/2013       (300)    $34.0400    ($10,212.00)
                                                                            Sale                 6/13/2013       (300)    $33.9900    ($10,197.00)
                                                                            Sale                 6/13/2013       (100)    $34.0100     ($3,401.00)
                                                                            Sale                 6/13/2013       (200)    $33.8600     ($6,772.00)
                                                                            Sale                 6/13/2013       (300)    $33.8700    ($10,161.00)
                                                                            Sale                 6/13/2013       (300)    $33.9400    ($10,182.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price   Cost                  Transaction   Date        Shares      Price       Proceeds

                                                                            Sale                 6/13/2013       (100)    $33.9300    ($3,393.00)
                                                                            Sale                 6/13/2013       (300)    $33.9000   ($10,170.00)
                                                                            Sale                 6/13/2013       (300)    $33.9500   ($10,185.00)
                                                                            Sale                 6/13/2013       (300)    $33.9500   ($10,185.00)
                                                                            Sale                 6/13/2013       (300)    $33.9500   ($10,185.00)
                                                                            Sale                 6/13/2013       (300)    $33.9500   ($10,185.00)
                                                                            Sale                 6/13/2013       (235)    $33.9600    ($7,980.60)
                                                                            Sale                 6/13/2013       (300)    $33.9800   ($10,194.00)
                                                                            Sale                 6/13/2013       (300)    $33.9900   ($10,197.00)
                                                                            Sale                 6/13/2013       (100)    $33.9600    ($3,396.00)
                                                                            Sale                 6/13/2013       (300)    $33.9900   ($10,197.00)
                                                                            Sale                 6/13/2013       (400)    $33.9000   ($13,560.00)
                                                                            Sale                 6/13/2013       (100)    $33.8700    ($3,387.00)
                                                                            Sale                 6/13/2013       (400)    $33.8800   ($13,552.00)
                                                                            Sale                 6/13/2013        (85)    $33.8900    ($2,880.65)
                                                                            Sale                 6/13/2013        (99)    $33.9000    ($3,356.10)
                                                                            Sale                 6/13/2013       (300)    $33.9000   ($10,170.00)
                                                                            Sale                 6/13/2013       (100)    $33.9100    ($3,391.00)
                                                                            Sale                 6/13/2013       (100)    $33.9100    ($3,391.00)
                                                                            Sale                 6/13/2013       (395)    $33.9100   ($13,394.45)
                                                                            Sale                 6/13/2013       (400)    $33.9000   ($13,560.00)
                                                                            Sale                 6/13/2013       (100)    $33.9100    ($3,391.00)
                                                                            Sale                 6/13/2013       (100)    $33.9100    ($3,391.00)
                                                                            Sale                 6/13/2013       (100)    $33.9100    ($3,391.00)
                                                                            Sale                 6/13/2013       (400)    $33.9100   ($13,564.00)
                                                                            Sale                 6/13/2013        (75)    $33.8700    ($2,540.25)
                                                                            Sale                 6/13/2013       (200)    $33.8700    ($6,774.00)
                                                                            Sale                 6/13/2013       (102)    $33.8700    ($3,454.74)
                                                                            Sale                 6/13/2013       (142)    $33.8700    ($4,809.54)
                                                                            Sale                 6/13/2013       (400)    $33.8700   ($13,548.00)
                                                                            Sale                 6/13/2013        (79)    $33.7400    ($2,665.46)
                                                                            Sale                 6/13/2013       (200)    $33.7500    ($6,750.00)
                                                                            Sale                 6/13/2013       (400)    $33.7000   ($13,480.00)
                                                                            Sale                 6/13/2013       (100)    $33.8000    ($3,380.00)
                                                                            Sale                 6/13/2013       (390)    $33.8000   ($13,182.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                   Transaction   Date        Shares      Price       Proceeds

                                                                                Sale                 6/13/2013       (400)    $33.8700    ($13,548.00)
                                                                                Sale                 6/13/2013       (100)    $33.8700     ($3,387.00)
                                                                                                                  (22,909)               ($734,441.31)

Purchase                6/12/2013            300     $34.6600   $10,398.00
Purchase                6/12/2013            300     $34.6600   $10,398.00
Purchase                6/12/2013            199     $34.6200    $6,889.38
Purchase                6/12/2013              1     $34.6200       $34.62
Purchase                6/12/2013            200     $34.6400    $6,928.00
Purchase                6/12/2013            400     $34.6400   $13,856.00
Purchase                6/12/2013            200     $34.6200    $6,924.00
Purchase                6/12/2013            300     $34.6000   $10,380.00
Purchase                6/12/2013            200     $34.5900    $6,918.00
Purchase                6/12/2013            200     $34.5900    $6,918.00
Purchase                6/12/2013            100     $34.5800    $3,458.00
Purchase                6/12/2013             27     $34.5800      $933.66
Purchase                6/12/2013            473     $34.5800   $16,356.34
Purchase                6/12/2013            100     $34.5800    $3,458.00
Purchase                6/12/2013            500     $34.5800   $17,290.00
Purchase                6/12/2013            400     $34.5700   $13,828.00
Purchase                6/12/2013            500     $34.5600   $17,280.00
Purchase                6/12/2013            600     $34.5600   $20,736.00
Purchase                6/12/2013            400     $34.5700   $13,828.00
Purchase                6/12/2013            700     $34.5600   $24,192.00
Purchase                6/12/2013            400     $34.5600   $13,824.00
Purchase                6/12/2013            100     $34.5600    $3,456.00
Purchase                6/12/2013            800     $34.5600   $27,648.00
Purchase                6/12/2013            600     $34.5600   $20,736.00
Purchase                6/12/2013            300     $34.5400   $10,362.00
Purchase                6/12/2013            300     $34.5400   $10,362.00
Purchase                6/12/2013            500     $34.5300   $17,265.00
Purchase                6/12/2013            200     $34.5300    $6,906.00
Purchase                6/12/2013            100     $34.5300    $3,453.00
Purchase                6/12/2013            371     $34.5300   $12,810.63
Purchase                6/12/2013            329     $34.5300   $11,360.37

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                   Transaction   Date   Shares   Price   Proceeds

Purchase                6/12/2013            100     $34.5300    $3,453.00
Purchase                6/12/2013             56     $34.5300    $1,933.68
Purchase                6/12/2013            144     $34.5300    $4,972.32
Purchase                6/12/2013            700     $34.5000   $24,150.00
Purchase                6/12/2013            600     $34.5100   $20,706.00
Purchase                6/12/2013            181     $34.5200    $6,248.12
Purchase                6/12/2013            219     $34.5200    $7,559.88
Purchase                6/12/2013            500     $34.5200   $17,260.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            400     $34.5200   $13,808.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            400     $34.5200   $13,808.00
Purchase                6/12/2013            600     $34.5200   $20,712.00
Purchase                6/12/2013            276     $34.5200    $9,527.52
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013             24     $34.5200      $828.48
Purchase                6/12/2013            700     $34.5200   $24,164.00
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013            412     $34.5200   $14,222.24
Purchase                6/12/2013             88     $34.5200    $3,037.76
Purchase                6/12/2013            500     $34.5200   $17,260.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            700     $34.5100   $24,157.00
Purchase                6/12/2013            200     $34.5000    $6,900.00
Purchase                6/12/2013            300     $34.5000   $10,350.00

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                   Transaction   Date   Shares   Price   Proceeds

Purchase                6/12/2013            500     $34.5000   $17,250.00
Purchase                6/12/2013            300     $34.4800   $10,344.00
Purchase                6/12/2013            800     $34.4400   $27,552.00
Purchase                6/12/2013            500     $34.4300   $17,215.00
Purchase                6/12/2013            300     $34.4300   $10,329.00
Purchase                6/12/2013             15     $34.4700      $517.05
Purchase                6/12/2013            285     $34.4700    $9,823.95
Purchase                6/12/2013             80     $34.4700    $2,757.60
Purchase                6/12/2013            520     $34.4700   $17,924.40
Purchase                6/12/2013            400     $34.5000   $13,800.00
Purchase                6/12/2013            400     $34.5000   $13,800.00
Purchase                6/12/2013            700     $34.5000   $24,150.00
Purchase                6/12/2013            300     $34.5100   $10,353.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            300     $34.5100   $10,353.00
Purchase                6/12/2013            600     $34.5000   $20,700.00
Purchase                6/12/2013            200     $34.4800    $6,896.00
Purchase                6/12/2013            500     $34.5000   $17,250.00
Purchase                6/12/2013            100     $34.5000    $3,450.00
Purchase                6/13/2013            200     $34.2500    $6,850.00
Purchase                6/13/2013            200     $34.2500    $6,850.00
Purchase                6/13/2013            100     $34.2400    $3,424.00
Purchase                6/13/2013            100     $34.2400    $3,424.00
Purchase                6/13/2013            200     $34.2400    $6,848.00
Purchase                6/13/2013            200     $34.2400    $6,848.00
Purchase                6/13/2013            200     $34.2400    $6,848.00
Purchase                6/13/2013            200     $34.2200    $6,844.00
Purchase                6/13/2013            200     $34.2200    $6,844.00
Purchase                6/13/2013            124     $34.2100    $4,242.04
Purchase                6/13/2013            200     $34.1800    $6,836.00
Purchase                6/13/2013            200     $34.1100    $6,822.00
Purchase                6/13/2013            100     $34.1700    $3,417.00
Purchase                6/13/2013            200     $34.1700    $6,834.00
Purchase                6/13/2013              3     $34.1100      $102.33
Purchase                6/13/2013            200     $34.0400    $6,808.00

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                   Transaction   Date        Shares      Price       Proceeds

Purchase                6/13/2013            200     $34.0400    $6,808.00
Purchase                6/13/2013            198     $33.9700    $6,726.06
Purchase                6/13/2013            200     $33.9600    $6,792.00
Purchase                6/13/2013              2     $33.9700       $67.94
Purchase                6/13/2013            200     $33.9600    $6,792.00
Purchase                6/13/2013             44     $34.0100    $1,496.44
Purchase                6/13/2013            200     $34.0100    $6,802.00
Purchase                6/13/2013            141     $33.9900    $4,792.59
Purchase                6/13/2013            200     $34.0000    $6,800.00
Purchase                6/13/2013            200     $34.0000    $6,800.00
Purchase                6/13/2013             34     $34.0000    $1,156.00
Purchase                6/13/2013            200     $34.0000    $6,800.00
Purchase                6/13/2013            200     $34.2100    $6,842.00
Purchase                6/13/2013            100     $34.1900    $3,419.00
Purchase                6/13/2013            200     $34.2200    $6,844.00
Purchase                6/13/2013            200     $34.1600    $6,832.00
Purchase                6/13/2013            200     $34.1700    $6,834.00
Purchase                6/13/2013            200     $34.1600    $6,832.00
Purchase                6/13/2013             81     $34.1500    $2,766.15
Purchase                6/13/2013            200     $34.1400    $6,828.00
Purchase                6/13/2013            200     $34.1400    $6,828.00
Purchase                6/13/2013            100     $34.0800    $3,408.00
Purchase                6/13/2013            100     $34.0900    $3,409.00
Purchase                6/13/2013             11     $34.0900      $374.99
Purchase                6/13/2013            200     $34.0900    $6,818.00
Purchase                6/13/2013            300     $34.0100   $10,203.00
Purchase                6/13/2013            300     $34.0200   $10,206.00
Purchase                6/13/2013            200     $34.1200    $6,824.00
Purchase                6/13/2013             19     $34.1000      $647.90
Purchase                6/13/2013            300     $34.0800   $10,224.00
Purchase                6/13/2013            300     $34.0800   $10,224.00
Purchase                6/13/2013            298     $34.0100   $10,134.98
Purchase                6/13/2013            300     $33.9300   $10,179.00
Purchase                6/13/2013            300     $33.9300   $10,179.00
Purchase                6/13/2013            100     $33.9200    $3,392.00      Sale                 6/13/2013       (300)    $33.8700   ($10,161.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                   Transaction   Date        Shares      Price       Proceeds

Purchase                6/13/2013            300     $33.9100   $10,173.00      Sale                 6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013             52     $33.9200    $1,763.84      Sale                 6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            100     $33.9200    $3,392.00      Sale                 6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            300     $33.9600   $10,188.00      Sale                 6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            297     $33.9500   $10,083.15      Sale                 6/13/2013       (700)    $30.0000    ($21,000.00)
Purchase                6/13/2013            300     $33.9500   $10,185.00      Sale                 6/13/2013     (5,000)    $30.0000   ($150,000.00)
Purchase                6/13/2013            300     $33.9600   $10,188.00      Sale                 6/14/2013       (200)    $33.6800     ($6,736.00)
Purchase                6/13/2013            200     $33.9600    $6,792.00      Sale                 6/14/2013       (159)    $33.6700     ($5,353.53)
Purchase                6/13/2013            100     $33.9800    $3,398.00      Sale                 6/14/2013        (41)    $33.6700     ($1,380.47)
Purchase                6/13/2013            300     $33.9900   $10,197.00      Sale                 6/14/2013       (200)    $33.6900     ($6,738.00)
Purchase                6/13/2013            100     $33.9900    $3,399.00      Sale                 6/14/2013       (100)    $33.6900     ($3,369.00)
Purchase                6/13/2013            300     $33.9900   $10,197.00      Sale                 6/14/2013       (100)    $33.6900     ($3,369.00)
Purchase                6/13/2013             91     $33.9900    $3,093.09      Sale                 6/14/2013       (200)    $33.6900     ($6,738.00)
Purchase                6/13/2013            300     $33.9500   $10,185.00      Sale                 6/14/2013       (200)    $33.7500     ($6,750.00)
Purchase                6/13/2013            100     $33.9300    $3,393.00      Sale                 6/14/2013       (100)    $33.6500     ($3,365.00)
Purchase                6/13/2013            400     $33.9100   $13,564.00      Sale                 6/14/2013       (200)    $33.6700     ($6,734.00)
Purchase                6/13/2013            400     $33.9100   $13,564.00      Sale                 6/14/2013       (200)    $33.6700     ($6,734.00)
Purchase                6/13/2013            400     $33.9000   $13,560.00      Sale                 6/14/2013        (94)    $33.6700     ($3,164.98)
Purchase                6/13/2013            400     $33.8900   $13,556.00      Sale                 6/14/2013       (100)    $33.6300     ($3,363.00)
Purchase                6/13/2013            200     $33.9000    $6,780.00      Sale                 6/14/2013       (197)    $33.6300     ($6,625.11)
Purchase                6/13/2013            200     $33.8900    $6,778.00      Sale                 6/14/2013       (159)    $33.6300     ($5,347.17)
Purchase                6/13/2013            200     $33.8900    $6,778.00      Sale                 6/14/2013       (170)    $33.5700     ($5,706.90)
Purchase                6/13/2013            400     $33.8900   $13,556.00      Sale                 6/14/2013       (130)    $33.5700     ($4,364.10)
Purchase                6/13/2013            400     $33.9000   $13,560.00      Sale                 6/14/2013        (21)    $33.4800       ($703.08)
Purchase                6/13/2013            114     $33.9000    $3,864.60      Sale                 6/14/2013       (376)    $33.4600    ($12,580.96)
Purchase                6/13/2013            200     $33.8900    $6,778.00      Sale                 6/14/2013       (400)    $33.4600    ($13,384.00)
Purchase                6/13/2013            100     $33.8900    $3,389.00      Sale                 6/14/2013        (24)    $33.4600       ($803.04)
Purchase                6/13/2013            100     $33.8900    $3,389.00      Sale                 6/14/2013       (100)    $33.4300     ($3,343.00)
Purchase                6/13/2013             67     $33.8900    $2,270.63      Sale                 6/14/2013       (100)    $33.4300     ($3,343.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00      Sale                 6/14/2013       (129)    $33.4300     ($4,312.47)
Purchase                6/13/2013             33     $33.8900    $1,118.37      Sale                 6/14/2013       (100)    $33.4400     ($3,344.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00      Sale                 6/14/2013       (200)    $33.4400     ($6,688.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00      Sale                 6/14/2013       (400)    $33.4100    ($13,364.00)
Purchase                6/13/2013            400     $33.8500   $13,540.00      Sale                 6/14/2013       (400)    $33.4100    ($13,364.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00      Sale                 6/14/2013       (400)    $33.3300    ($13,332.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                   Transaction   Date        Shares      Price       Proceeds

Purchase                6/14/2013            100     $33.5400    $3,354.00      Sale                 6/14/2013       (400)    $33.3100   ($13,324.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00      Sale                 6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00      Sale                 6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00      Sale                 6/14/2013       (300)    $33.4400   ($10,032.00)
Purchase                6/14/2013            200     $33.7100    $6,742.00      Sale                 6/14/2013       (221)    $33.3600    ($7,372.56)
Purchase                6/14/2013            100     $33.6600    $3,366.00      Sale                 6/14/2013       (100)    $33.3600    ($3,336.00)
Purchase                6/14/2013            200     $33.6200    $6,724.00      Sale                 6/14/2013       (132)    $33.3600    ($4,403.52)
Purchase                6/14/2013            200     $33.6000    $6,720.00      Sale                 6/14/2013        (79)    $33.3600    ($2,635.44)
Purchase                6/14/2013            100     $33.6000    $3,360.00      Sale                 6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            204     $33.7000    $6,874.80      Sale                 6/14/2013       (400)    $33.3000   ($13,320.00)
Purchase                6/14/2013             60     $33.7000    $2,022.00      Sale                 6/14/2013       (400)    $33.3000   ($13,320.00)
Purchase                6/14/2013            300     $33.6200   $10,086.00      Sale                 6/14/2013       (400)    $33.3400   ($13,336.00)
Purchase                6/14/2013            296     $33.5800    $9,939.68      Sale                 6/14/2013       (400)    $33.3400   ($13,336.00)
Purchase                6/14/2013            300     $33.4600   $10,038.00      Sale                 6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            100     $33.4600    $3,346.00      Sale                 6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            104     $33.5100    $3,485.04      Sale                 6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.5100   $13,404.00      Sale                 6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            101     $33.4800    $3,381.48      Sale                 6/14/2013       (100)    $33.4000    ($3,340.00)
Purchase                6/14/2013            400     $33.4800   $13,392.00      Sale                 6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            390     $33.4800   $13,057.20      Sale                 6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            100     $33.4100    $3,341.00      Sale                 6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00      Sale                 6/17/2013       (200)    $33.3700    ($6,674.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00      Sale                 6/17/2013        (58)    $33.3400    ($1,933.72)
Purchase                6/14/2013            400     $33.4100   $13,364.00      Sale                 6/17/2013       (300)    $33.3400   ($10,002.00)
Purchase                6/14/2013             26     $33.3500      $867.10      Sale                 6/17/2013       (300)    $33.3400   ($10,002.00)
Purchase                6/14/2013            100     $33.4200    $3,342.00      Sale                 6/17/2013       (300)    $33.3300    ($9,999.00)
Purchase                6/14/2013            100     $33.4200    $3,342.00      Sale                 6/17/2013       (100)    $33.3500    ($3,335.00)
Purchase                6/14/2013            400     $33.4200   $13,368.00      Sale                 6/17/2013       (200)    $33.3500    ($6,670.00)
Purchase                6/14/2013            100     $33.4300    $3,343.00      Sale                 6/17/2013       (100)    $33.2400    ($3,324.00)
Purchase                6/14/2013            100     $33.4400    $3,344.00      Sale                 6/17/2013       (100)    $33.2400    ($3,324.00)
Purchase                6/14/2013            400     $33.3500   $13,340.00      Sale                 6/17/2013       (300)    $33.2400    ($9,972.00)
Purchase                6/14/2013            400     $33.3500   $13,340.00      Sale                 6/17/2013       (300)    $33.2400    ($9,972.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00      Sale                 6/17/2013       (300)    $33.3000    ($9,990.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00      Sale                 6/17/2013       (300)    $33.3000    ($9,990.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00      Sale                 6/17/2013       (300)    $33.2400    ($9,972.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                   Transaction   Date        Shares      Price       Proceeds

Purchase                6/14/2013            400     $33.3400   $13,336.00      Sale                 6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00      Sale                 6/17/2013        (73)    $33.2400     ($2,426.52)
Purchase                6/14/2013            400     $33.4000   $13,360.00      Sale                 6/17/2013       (400)    $33.1900    ($13,276.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00      Sale                 6/17/2013       (400)    $33.1900    ($13,276.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00      Sale                 6/17/2013       (100)    $33.1100     ($3,311.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00      Sale                 6/17/2013       (400)    $33.1100    ($13,244.00)
Purchase                6/14/2013            300     $33.3900   $10,017.00      Sale                 6/17/2013       (200)    $33.1100     ($6,622.00)
Purchase                6/14/2013              1     $33.3900       $33.39      Sale                 6/17/2013        (52)    $33.1100     ($1,721.72)
Purchase                6/14/2013             25     $33.3600      $834.00      Sale                 6/17/2013       (200)    $33.2000     ($6,640.00)
Purchase                6/14/2013            200     $33.3300    $6,666.00      Sale                 6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/14/2013            400     $33.3600   $13,344.00      Sale                 6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/14/2013            400     $33.3600   $13,344.00      Sale                 6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013             24     $33.3000      $799.20      Sale                 6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013            200     $33.3200    $6,664.00      Sale                 6/17/2013       (300)    $33.2000     ($9,960.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00      Sale                 6/17/2013       (400)    $33.0800    ($13,232.00)
Purchase                6/17/2013            200     $33.3200    $6,664.00      Sale                 6/17/2013       (400)    $33.0800    ($13,232.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00      Sale                 6/17/2013       (200)    $33.2000     ($6,640.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00      Sale                 6/17/2013       (136)    $33.2000     ($4,515.20)
Purchase                6/17/2013            100     $33.3400    $3,334.00      Sale                 6/17/2013       (400)    $33.2100    ($13,284.00)
Purchase                6/17/2013            200     $33.3500    $6,670.00      Sale                 6/17/2013     (3,080)    $33.2000   ($102,256.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00      Sale                 6/18/2013       (100)    $33.1700     ($3,317.00)
Purchase                6/17/2013            200     $33.3800    $6,676.00      Sale                 6/18/2013       (200)    $33.1700     ($6,634.00)
Purchase                6/17/2013            200     $33.3800    $6,676.00      Sale                 6/18/2013       (200)    $33.1600     ($6,632.00)
Purchase                6/17/2013            200     $33.3900    $6,678.00      Sale                 6/18/2013       (100)    $33.1600     ($3,316.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00      Sale                 6/18/2013       (100)    $33.1600     ($3,316.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00      Sale                 6/18/2013       (200)    $33.1700     ($6,634.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00      Sale                 6/18/2013       (200)    $33.1700     ($6,634.00)
Purchase                6/17/2013            200     $33.3500    $6,670.00      Sale                 6/18/2013         (3)    $33.1700        ($99.51)
Purchase                6/17/2013            100     $33.3700    $3,337.00      Sale                 6/18/2013        (29)    $33.1700       ($961.93)
Purchase                6/17/2013            100     $33.3700    $3,337.00      Sale                 6/18/2013       (100)    $33.1700     ($3,317.00)
Purchase                6/17/2013            121     $33.3700    $4,037.77      Sale                 6/18/2013       (300)    $33.1600     ($9,948.00)
Purchase                6/17/2013            200     $33.3700    $6,674.00      Sale                 6/18/2013        (89)    $33.1600     ($2,951.24)
Purchase                6/17/2013             20     $33.3200      $666.40      Sale                 6/18/2013        (45)    $33.1600     ($1,492.20)
Purchase                6/17/2013            300     $33.3300    $9,999.00      Sale                 6/18/2013       (300)    $33.1600     ($9,948.00)
Purchase                6/17/2013            300     $33.3200    $9,996.00      Sale                 6/18/2013       (100)    $33.0400     ($3,304.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/17/2013            247     $33.3200    $8,230.04       Sale             6/18/2013       (100)    $33.0400    ($3,304.00)
Purchase                6/17/2013            100     $33.3500    $3,335.00       Sale             6/18/2013        (43)    $33.0400    ($1,420.72)
Purchase                6/17/2013            300     $33.3300    $9,999.00       Sale             6/18/2013       (400)    $33.1100   ($13,244.00)
Purchase                6/17/2013            300     $33.2300    $9,969.00       Sale             6/18/2013       (400)    $33.1100   ($13,244.00)
Purchase                6/17/2013            300     $33.2500    $9,975.00       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013            300     $33.3000    $9,990.00       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013            300     $33.3000    $9,990.00       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013            163     $33.2300    $5,416.49       Sale             6/18/2013       (200)    $33.0700    ($6,614.00)
Purchase                6/17/2013            200     $33.2300    $6,646.00       Sale             6/18/2013       (100)    $33.0700    ($3,307.00)
Purchase                6/17/2013            400     $33.2300   $13,292.00       Sale             6/18/2013       (400)    $33.0700   ($13,228.00)
Purchase                6/17/2013            400     $33.2300   $13,292.00       Sale             6/19/2013       (200)    $33.1000    ($6,620.00)
Purchase                6/17/2013            400     $33.1800   $13,272.00       Sale             6/19/2013       (100)    $33.0500    ($3,305.00)
Purchase                6/17/2013            209     $33.1100    $6,919.99       Sale             6/19/2013       (149)    $33.0500    ($4,924.45)
Purchase                6/17/2013            101     $33.2200    $3,355.22       Sale             6/19/2013        (20)    $33.0400      ($660.80)
Purchase                6/17/2013            100     $33.2200    $3,322.00       Sale             6/19/2013       (300)    $33.0400    ($9,912.00)
Purchase                6/17/2013             19     $33.2200      $631.18       Sale             6/19/2013       (300)    $33.0400    ($9,912.00)
Purchase                6/17/2013            400     $33.2100   $13,284.00       Sale             6/19/2013       (300)    $32.6600    ($9,798.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/19/2013       (300)    $32.6600    ($9,798.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/19/2013       (300)    $32.8100    ($9,843.00)
Purchase                6/17/2013            240     $33.2300    $7,975.20       Sale             6/19/2013       (300)    $32.8100    ($9,843.00)
Purchase                6/17/2013            100     $33.2100    $3,321.00       Sale             6/19/2013        (75)    $32.7600    ($2,457.00)
Purchase                6/17/2013            109     $33.2000    $3,618.80       Sale             6/19/2013        (25)    $32.7600      ($819.00)
Purchase                6/17/2013            200     $33.2000    $6,640.00       Sale             6/19/2013        (48)    $32.7700    ($1,572.96)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/19/2013       (300)    $32.6800    ($9,804.00)
Purchase                6/17/2013            100     $33.1200    $3,312.00       Sale             6/19/2013       (300)    $32.7300    ($9,819.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/19/2013       (100)    $32.7200    ($3,272.00)
Purchase                6/17/2013             69     $33.2000    $2,290.80       Sale             6/19/2013       (200)    $32.7200    ($6,544.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/19/2013       (128)    $32.7200    ($4,188.16)
Purchase                6/17/2013            195     $33.2000    $6,474.00       Sale             6/19/2013       (172)    $32.7200    ($5,627.84)
Purchase                6/17/2013            103     $33.2300    $3,422.69       Sale             6/19/2013       (300)    $32.7100    ($9,813.00)
Purchase                6/17/2013            238     $33.2500    $7,913.50       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/17/2013            400     $33.2500   $13,300.00       Sale             6/19/2013       (300)    $32.6900    ($9,807.00)
Purchase                6/17/2013            400     $33.2500   $13,300.00       Sale             6/19/2013        (98)    $32.5800    ($3,192.84)
Purchase                6/17/2013            400     $33.2400   $13,296.00       Sale             6/19/2013       (300)    $32.6300    ($9,789.00)
Purchase                6/17/2013            400     $33.2400   $13,296.00       Sale             6/19/2013       (300)    $32.6000    ($9,780.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/17/2013            260     $33.2000    $8,632.00       Sale             6/19/2013       (300)    $32.5800    ($9,774.00)
Purchase                6/18/2013            100     $33.1600    $3,316.00       Sale             6/19/2013       (143)    $32.5900    ($4,660.37)
Purchase                6/18/2013            100     $33.1600    $3,316.00       Sale             6/19/2013       (300)    $32.6000    ($9,780.00)
Purchase                6/18/2013            200     $33.1600    $6,632.00       Sale             6/19/2013       (300)    $32.6900    ($9,807.00)
Purchase                6/18/2013            200     $33.1800    $6,636.00       Sale             6/19/2013       (150)    $32.7100    ($4,906.50)
Purchase                6/18/2013            128     $33.1800    $4,247.04       Sale             6/19/2013       (150)    $32.6900    ($4,903.50)
Purchase                6/18/2013            300     $33.1700    $9,951.00       Sale             6/19/2013       (300)    $32.7300    ($9,819.00)
Purchase                6/18/2013            300     $33.1500    $9,945.00       Sale             6/19/2013       (200)    $32.6800    ($6,536.00)
Purchase                6/18/2013            200     $33.1500    $6,630.00       Sale             6/19/2013       (300)    $32.6500    ($9,795.00)
Purchase                6/18/2013            400     $33.1700   $13,268.00       Sale             6/19/2013       (300)    $32.7200    ($9,816.00)
Purchase                6/18/2013            104     $33.1300    $3,445.52       Sale             6/19/2013       (300)    $32.7000    ($9,810.00)
Purchase                6/18/2013            400     $33.1100   $13,244.00       Sale             6/19/2013       (300)    $32.7000    ($9,810.00)
Purchase                6/18/2013            400     $33.1000   $13,240.00       Sale             6/19/2013       (300)    $32.7000    ($9,810.00)
Purchase                6/18/2013            310     $33.0500   $10,245.50       Sale             6/19/2013       (300)    $32.5100    ($9,753.00)
Purchase                6/18/2013            400     $33.0500   $13,220.00       Sale             6/19/2013       (300)    $32.5500    ($9,765.00)
Purchase                6/18/2013             90     $33.0500    $2,974.50       Sale             6/19/2013       (300)    $32.3700    ($9,711.00)
Purchase                6/19/2013            200     $33.0200    $6,604.00       Sale             6/19/2013       (200)    $32.2900    ($6,458.00)
Purchase                6/19/2013            200     $33.0200    $6,604.00       Sale             6/19/2013       (300)    $32.3000    ($9,690.00)
Purchase                6/19/2013            100     $33.1200    $3,312.00       Sale             6/19/2013       (299)    $32.2200    ($9,633.78)
Purchase                6/19/2013            100     $33.1200    $3,312.00       Sale             6/19/2013       (300)    $32.1700    ($9,651.00)
Purchase                6/19/2013            200     $33.1000    $6,620.00       Sale             6/19/2013       (300)    $32.2300    ($9,669.00)
Purchase                6/19/2013            200     $33.1000    $6,620.00       Sale             6/19/2013       (300)    $32.2300    ($9,669.00)
Purchase                6/19/2013            201     $33.0300    $6,639.03       Sale             6/19/2013       (300)    $32.2300    ($9,669.00)
Purchase                6/19/2013             99     $33.0300    $3,269.97       Sale             6/19/2013       (300)    $32.2100    ($9,663.00)
Purchase                6/19/2013            300     $33.0300    $9,909.00       Sale             6/19/2013       (300)    $32.2100    ($9,663.00)
Purchase                6/19/2013            300     $32.7700    $9,831.00       Sale             6/19/2013       (283)    $32.2600    ($9,129.58)
Purchase                6/19/2013            300     $32.8300    $9,849.00       Sale             6/19/2013       (125)    $32.3000    ($4,037.50)
Purchase                6/19/2013            190     $32.8300    $6,237.70       Sale             6/19/2013       (300)    $32.3000    ($9,690.00)
Purchase                6/19/2013            110     $32.8300    $3,611.30       Sale             6/19/2013        (73)    $32.3000    ($2,357.90)
Purchase                6/19/2013            300     $32.7500    $9,825.00       Sale             6/19/2013       (100)    $32.2900    ($3,229.00)
Purchase                6/19/2013            199     $32.7500    $6,517.25       Sale             6/19/2013       (300)    $32.2900    ($9,687.00)
Purchase                6/19/2013            100     $32.7400    $3,274.00       Sale             6/19/2013       (199)    $32.3400    ($6,435.66)
Purchase                6/19/2013            300     $32.7400    $9,822.00       Sale             6/19/2013       (200)    $32.3700    ($6,474.00)
Purchase                6/19/2013             12     $32.7400      $392.88       Sale             6/19/2013       (300)    $32.5500    ($9,765.00)
Purchase                6/19/2013            300     $32.7200    $9,816.00       Sale             6/19/2013       (300)    $32.6300    ($9,789.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                6/19/2013            300     $32.7100   $9,813.00       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013            300     $32.6200   $9,786.00       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013            300     $32.6100   $9,783.00       Sale             6/19/2013       (199)    $32.5900    ($6,485.41)
Purchase                6/19/2013            300     $32.5800   $9,774.00       Sale             6/19/2013       (200)    $32.5900    ($6,518.00)
Purchase                6/19/2013            300     $32.5800   $9,774.00       Sale             6/19/2013       (200)    $32.5200    ($6,504.00)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (200)    $32.5200    ($6,504.00)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (100)    $32.4600    ($3,246.00)
Purchase                6/19/2013            300     $32.6400   $9,792.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            100     $32.6400   $3,264.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (400)    $32.5100   ($13,004.00)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013        (57)    $32.5300    ($1,854.21)
Purchase                6/19/2013            100     $32.6500   $3,265.00       Sale             6/19/2013       (400)    $32.5800   ($13,032.00)
Purchase                6/19/2013            300     $32.6900   $9,807.00       Sale             6/19/2013       (400)    $32.5800   ($13,032.00)
Purchase                6/19/2013            300     $32.7200   $9,816.00       Sale             6/19/2013       (100)    $32.5000    ($3,250.00)
Purchase                6/19/2013            300     $32.7000   $9,810.00       Sale             6/19/2013       (400)    $32.6600   ($13,064.00)
Purchase                6/19/2013             52     $32.6900   $1,699.88       Sale             6/19/2013       (400)    $32.6800   ($13,072.00)
Purchase                6/19/2013             26     $32.6900     $849.94       Sale             6/19/2013       (400)    $32.6200   ($13,048.00)
Purchase                6/19/2013             50     $32.6900   $1,634.50       Sale             6/19/2013       (400)    $32.6600   ($13,064.00)
Purchase                6/19/2013            200     $32.6600   $6,532.00       Sale             6/19/2013       (100)    $32.6400    ($3,264.00)
Purchase                6/19/2013             67     $32.6900   $2,190.23       Sale             6/19/2013       (400)    $32.6400   ($13,056.00)
Purchase                6/19/2013            200     $32.5400   $6,508.00       Sale             6/20/2013       (200)    $31.6200    ($6,324.00)
Purchase                6/19/2013            300     $32.5400   $9,762.00       Sale             6/20/2013       (200)    $31.6200    ($6,324.00)
Purchase                6/19/2013            100     $32.4700   $3,247.00       Sale             6/20/2013       (200)    $31.7000    ($6,340.00)
Purchase                6/19/2013            100     $32.4700   $3,247.00       Sale             6/20/2013       (100)    $31.7000    ($3,170.00)
Purchase                6/19/2013            300     $32.4300   $9,729.00       Sale             6/20/2013       (200)    $31.6800    ($6,336.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/20/2013       (200)    $31.6700    ($6,334.00)
Purchase                6/19/2013            300     $32.1500   $9,645.00       Sale             6/20/2013       (200)    $31.5800    ($6,316.00)
Purchase                6/19/2013            100     $32.2100   $3,221.00       Sale             6/20/2013       (200)    $31.5900    ($6,318.00)
Purchase                6/19/2013            200     $32.2100   $6,442.00       Sale             6/20/2013       (200)    $31.6000    ($6,320.00)
Purchase                6/19/2013            300     $32.2000   $9,660.00       Sale             6/20/2013       (200)    $31.6000    ($6,320.00)
Purchase                6/19/2013            300     $32.1800   $9,654.00       Sale             6/20/2013       (200)    $31.5900    ($6,318.00)
Purchase                6/19/2013            300     $32.2100   $9,663.00       Sale             6/20/2013        (82)    $31.7300    ($2,601.86)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/20/2013       (100)    $31.8000    ($3,180.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/19/2013            300     $32.2600    $9,678.00       Sale             6/20/2013       (100)    $31.6700    ($3,167.00)
Purchase                6/19/2013            300     $32.3000    $9,690.00       Sale             6/20/2013       (100)    $31.6100    ($3,161.00)
Purchase                6/19/2013            300     $32.3000    $9,690.00       Sale             6/20/2013       (100)    $31.6600    ($3,166.00)
Purchase                6/19/2013            300     $32.2600    $9,678.00       Sale             6/20/2013        (65)    $31.6300    ($2,055.95)
Purchase                6/19/2013            300     $32.2600    $9,678.00       Sale             6/20/2013       (300)    $31.6500    ($9,495.00)
Purchase                6/19/2013            300     $32.5400    $9,762.00       Sale             6/20/2013       (100)    $31.6300    ($3,163.00)
Purchase                6/19/2013            100     $32.6100    $3,261.00       Sale             6/20/2013       (100)    $31.4500    ($3,145.00)
Purchase                6/19/2013            100     $32.6300    $3,263.00       Sale             6/20/2013       (200)    $31.4400    ($6,288.00)
Purchase                6/19/2013            200     $32.6300    $6,526.00       Sale             6/20/2013       (300)    $31.3300    ($9,399.00)
Purchase                6/19/2013            300     $32.5800    $9,774.00       Sale             6/20/2013       (300)    $31.1600    ($9,348.00)
Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/20/2013       (100)    $31.2800    ($3,128.00)
Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/20/2013       (253)    $31.2500    ($7,906.25)
Purchase                6/19/2013            300     $32.6300    $9,789.00       Sale             6/20/2013       (200)    $31.2200    ($6,244.00)
Purchase                6/19/2013            300     $32.5300    $9,759.00       Sale             6/20/2013       (300)    $31.1600    ($9,348.00)
Purchase                6/19/2013            100     $32.5300    $3,253.00       Sale             6/20/2013       (300)    $31.2100    ($9,363.00)
Purchase                6/19/2013            400     $32.4600   $12,984.00       Sale             6/20/2013        (95)    $31.5700    ($2,999.15)
Purchase                6/19/2013            137     $32.4500    $4,445.65       Sale             6/20/2013       (300)    $31.3900    ($9,417.00)
Purchase                6/19/2013            400     $32.4500   $12,980.00       Sale             6/20/2013       (300)    $31.4100    ($9,423.00)
Purchase                6/19/2013            400     $32.5200   $13,008.00       Sale             6/20/2013       (300)    $31.4100    ($9,423.00)
Purchase                6/19/2013            383     $32.5200   $12,455.16       Sale             6/20/2013       (233)    $31.4000    ($7,316.20)
Purchase                6/19/2013            400     $32.5200   $13,008.00       Sale             6/20/2013       (294)    $31.3000    ($9,202.20)
Purchase                6/19/2013            100     $32.5300    $3,253.00       Sale             6/20/2013       (300)    $31.2700    ($9,381.00)
Purchase                6/19/2013            300     $32.5100    $9,753.00       Sale             6/20/2013       (100)    $31.3200    ($3,132.00)
Purchase                6/19/2013            400     $32.6900   $13,076.00       Sale             6/20/2013       (200)    $31.0700    ($6,214.00)
Purchase                6/19/2013            116     $32.7100    $3,794.36       Sale             6/20/2013       (200)    $31.0500    ($6,210.00)
Purchase                6/19/2013            129     $32.7100    $4,219.59       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/19/2013            139     $32.7100    $4,546.69       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/19/2013            200     $32.6800    $6,536.00       Sale             6/20/2013       (100)    $31.0800    ($3,108.00)
Purchase                6/19/2013             32     $32.6800    $1,045.76       Sale             6/20/2013       (117)    $31.0700    ($3,635.19)
Purchase                6/19/2013             14     $32.6500      $457.10       Sale             6/20/2013       (100)    $31.0700    ($3,107.00)
Purchase                6/19/2013             14     $32.6500      $457.10       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/19/2013            100     $32.6300    $3,263.00       Sale             6/20/2013        (40)    $31.0700    ($1,242.80)
Purchase                6/19/2013            300     $32.6200    $9,786.00       Sale             6/20/2013       (360)    $31.0700   ($11,185.20)
Purchase                6/19/2013            100     $32.6500    $3,265.00       Sale             6/20/2013       (100)    $31.0700    ($3,107.00)
Purchase                6/19/2013             30     $32.6400      $979.20       Sale             6/20/2013       (300)    $31.0700    ($9,321.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/19/2013            100     $32.6900    $3,269.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/19/2013            300     $32.6900    $9,807.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/19/2013            100     $32.6600    $3,266.00       Sale             6/20/2013       (400)    $31.1200   ($12,448.00)
Purchase                6/20/2013            200     $31.6100    $6,322.00       Sale             6/20/2013         (3)    $31.1600       ($93.48)
Purchase                6/20/2013            200     $31.6100    $6,322.00       Sale             6/20/2013       (400)    $31.0800   ($12,432.00)
Purchase                6/20/2013            100     $31.6400    $3,164.00       Sale             6/20/2013       (161)    $31.0700    ($5,002.27)
Purchase                6/20/2013            200     $31.5900    $6,318.00       Sale             6/20/2013       (400)    $31.0600   ($12,424.00)
Purchase                6/20/2013              2     $31.6400       $63.28       Sale             6/20/2013       (192)    $31.0700    ($5,965.44)
Purchase                6/20/2013            100     $31.6000    $3,160.00       Sale             6/20/2013       (388)    $31.0700   ($12,055.16)
Purchase                6/20/2013            100     $31.5900    $3,159.00       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/20/2013            200     $31.5900    $6,318.00       Sale             6/20/2013        (17)    $31.0500      ($527.85)
Purchase                6/20/2013            300     $31.5900    $9,477.00       Sale             6/20/2013       (100)    $31.1000    ($3,110.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013       (400)    $31.1000   ($12,440.00)
Purchase                6/20/2013            300     $31.2600    $9,378.00       Sale             6/20/2013       (400)    $31.1000   ($12,440.00)
Purchase                6/20/2013            300     $31.2600    $9,378.00       Sale             6/20/2013       (400)    $31.0400   ($12,416.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013        (11)    $30.9600      ($340.56)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            300     $31.2000    $9,360.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            100     $31.4300    $3,143.00       Sale             6/20/2013        (80)    $30.9100    ($2,472.80)
Purchase                6/20/2013            100     $31.5200    $3,152.00       Sale             6/20/2013        (66)    $30.9500    ($2,042.70)
Purchase                6/20/2013            100     $31.5200    $3,152.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            300     $31.4000    $9,420.00       Sale             6/20/2013       (400)    $30.9700   ($12,388.00)
Purchase                6/20/2013             34     $31.4200    $1,068.28       Sale             6/21/2013       (199)    $30.7000    ($6,109.30)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/21/2013       (100)    $30.6400    ($3,064.00)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/21/2013       (200)    $30.7000    ($6,140.00)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/21/2013       (100)    $30.6400    ($3,064.00)
Purchase                6/20/2013              3     $31.2700       $93.81       Sale             6/21/2013       (200)    $30.7000    ($6,140.00)
Purchase                6/20/2013            300     $31.2700    $9,381.00       Sale             6/21/2013       (200)    $30.7800    ($6,156.00)
Purchase                6/20/2013            300     $31.2100    $9,363.00       Sale             6/21/2013       (100)    $30.8000    ($3,080.00)
Purchase                6/20/2013            150     $31.0700    $4,660.50       Sale             6/21/2013       (100)    $30.5600    ($3,056.00)
Purchase                6/20/2013            200     $31.0700    $6,214.00       Sale             6/21/2013       (100)    $30.5600    ($3,056.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (100)    $30.5600    ($3,056.00)
Purchase                6/20/2013            400     $31.1000   $12,440.00       Sale             6/21/2013       (100)    $30.5600    ($3,056.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (200)    $30.5600    ($6,112.00)
Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/21/2013       (200)    $30.5600    ($6,112.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/21/2013       (200)    $30.6500    ($6,130.00)
Purchase                6/20/2013            400     $31.0600   $12,424.00       Sale             6/21/2013       (200)    $30.5600    ($6,112.00)
Purchase                6/20/2013            100     $31.1500    $3,115.00       Sale             6/21/2013       (200)    $30.7400    ($6,148.00)
Purchase                6/20/2013            200     $31.1500    $6,230.00       Sale             6/21/2013       (200)    $30.6500    ($6,130.00)
Purchase                6/20/2013            400     $31.1300   $12,452.00       Sale             6/21/2013       (198)    $30.7400    ($6,086.52)
Purchase                6/20/2013            200     $31.1200    $6,224.00       Sale             6/21/2013         (2)    $30.7400       ($61.48)
Purchase                6/20/2013            400     $31.1200   $12,448.00       Sale             6/21/2013       (100)    $30.9000    ($3,090.00)
Purchase                6/20/2013            100     $31.0700    $3,107.00       Sale             6/21/2013       (200)    $30.8500    ($6,170.00)
Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/21/2013       (200)    $30.8500    ($6,170.00)
Purchase                6/20/2013            400     $31.0500   $12,420.00       Sale             6/21/2013       (200)    $30.8800    ($6,176.00)
Purchase                6/20/2013            400     $31.0800   $12,432.00       Sale             6/21/2013        (98)    $31.0200    ($3,039.96)
Purchase                6/20/2013            400     $31.0300   $12,412.00       Sale             6/21/2013       (200)    $30.8400    ($6,168.00)
Purchase                6/20/2013            400     $31.0500   $12,420.00       Sale             6/21/2013       (200)    $30.8400    ($6,168.00)
Purchase                6/20/2013            200     $31.0600    $6,212.00       Sale             6/21/2013       (100)    $30.7400    ($3,074.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (200)    $30.7400    ($6,148.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (300)    $30.8300    ($9,249.00)
Purchase                6/20/2013            100     $31.0200    $3,102.00       Sale             6/21/2013        (50)    $30.8200    ($1,541.00)
Purchase                6/20/2013            100     $31.0200    $3,102.00       Sale             6/21/2013       (300)    $30.8700    ($9,261.00)
Purchase                6/20/2013            208     $31.0100    $6,450.08       Sale             6/21/2013       (300)    $30.8700    ($9,261.00)
Purchase                6/20/2013            100     $31.0000    $3,100.00       Sale             6/21/2013       (300)    $30.7100    ($9,213.00)
Purchase                6/20/2013            200     $31.0000    $6,200.00       Sale             6/21/2013       (100)    $30.7100    ($3,071.00)
Purchase                6/20/2013            400     $30.9200   $12,368.00       Sale             6/21/2013       (100)    $30.5900    ($3,059.00)
Purchase                6/20/2013            400     $30.9600   $12,384.00       Sale             6/21/2013       (200)    $30.6000    ($6,120.00)
Purchase                6/20/2013             34     $30.9700    $1,052.98       Sale             6/21/2013       (299)    $30.5500    ($9,134.45)
Purchase                6/20/2013             66     $30.9700    $2,044.02       Sale             6/21/2013       (300)    $30.5500    ($9,165.00)
Purchase                6/21/2013          1,500     $30.9100   $46,365.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            300     $30.9100    $9,273.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            900     $30.9100   $27,819.00       Sale             6/21/2013       (100)    $30.5200    ($3,052.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (100)    $30.5400    ($3,054.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (300)    $30.4100    ($9,123.00)
Purchase                6/21/2013             92     $30.7200    $2,826.24       Sale             6/21/2013       (200)    $30.4600    ($6,092.00)
Purchase                6/21/2013            200     $30.7900    $6,158.00       Sale             6/21/2013       (300)    $30.4400    ($9,132.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (300)    $30.4100    ($9,123.00)
Purchase                6/21/2013            100     $30.9500    $3,095.00       Sale             6/21/2013        (16)    $30.5200      ($488.32)
Purchase                6/21/2013            200     $30.8700    $6,174.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                6/21/2013            100     $30.8800   $3,088.00       Sale             6/21/2013        (54)    $30.5200     ($1,648.08)
Purchase                6/21/2013            200     $31.0400   $6,208.00       Sale             6/21/2013       (100)    $30.6000     ($3,060.00)
Purchase                6/21/2013            199     $30.8900   $6,147.11       Sale             6/21/2013       (100)    $30.6200     ($3,062.00)
Purchase                6/21/2013             96     $30.8100   $2,957.76       Sale             6/21/2013       (100)    $30.6200     ($3,062.00)
Purchase                6/21/2013            200     $30.8400   $6,168.00       Sale             6/21/2013       (300)    $30.8600     ($9,258.00)
Purchase                6/21/2013              9     $30.8400     $277.56       Sale             6/21/2013        (12)    $30.9200       ($371.04)
Purchase                6/21/2013             27     $30.8400     $832.68       Sale             6/21/2013       (100)    $30.9300     ($3,093.00)
Purchase                6/21/2013            100     $30.8100   $3,081.00       Sale             6/21/2013       (100)    $30.9300     ($3,093.00)
Purchase                6/21/2013            100     $30.8300   $3,083.00       Sale             6/21/2013       (100)    $31.0500     ($3,105.00)
Purchase                6/21/2013            300     $30.8100   $9,243.00       Sale             6/21/2013       (400)    $31.0800    ($12,432.00)
Purchase                6/21/2013            300     $30.8100   $9,243.00       Sale             6/21/2013       (200)    $31.1000     ($6,220.00)
Purchase                6/21/2013            300     $30.8100   $9,243.00       Sale             6/21/2013       (400)    $31.1600    ($12,464.00)
Purchase                6/21/2013            100     $30.6900   $3,069.00       Sale             6/21/2013       (400)    $31.2100    ($12,484.00)
Purchase                6/21/2013            300     $30.6700   $9,201.00       Sale             6/21/2013       (400)    $31.2000    ($12,480.00)
Purchase                6/21/2013            300     $30.6700   $9,201.00       Sale             6/21/2013       (343)    $31.2600    ($10,722.18)
Purchase                6/21/2013            100     $30.5400   $3,054.00       Sale             6/21/2013        (57)    $31.2600     ($1,781.82)
Purchase                6/21/2013             87     $30.5500   $2,657.85       Sale             6/21/2013        (29)    $31.2700       ($906.83)
Purchase                6/21/2013            300     $30.5600   $9,168.00       Sale             6/21/2013       (100)    $31.0200     ($3,102.00)
Purchase                6/21/2013            300     $30.5600   $9,168.00       Sale             6/21/2013       (400)    $31.0500    ($12,420.00)
Purchase                6/21/2013            300     $30.5200   $9,156.00       Sale             6/21/2013       (400)    $31.1200    ($12,448.00)
Purchase                6/21/2013            300     $30.5200   $9,156.00       Sale             6/21/2013       (400)    $31.2700    ($12,508.00)
Purchase                6/21/2013            200     $30.4100   $6,082.00       Sale             6/21/2013       (400)    $31.2700    ($12,508.00)
Purchase                6/21/2013            100     $30.5300   $3,053.00       Sale             6/21/2013       (300)    $31.3000     ($9,390.00)
Purchase                6/21/2013            129     $30.5200   $3,937.08       Sale             6/21/2013       (400)    $31.3300    ($12,532.00)
Purchase                6/21/2013            200     $30.5200   $6,104.00       Sale             6/21/2013       (400)    $31.3300    ($12,532.00)
Purchase                6/21/2013            171     $30.5200   $5,218.92       Sale             6/21/2013       (162)    $31.3900     ($5,085.18)
Purchase                6/21/2013            300     $30.5200   $9,156.00       Sale             6/21/2013       (100)    $31.3500     ($3,135.00)
Purchase                6/21/2013            300     $30.8600   $9,258.00       Sale             6/21/2013       (800)    $22.5000    ($18,000.00)
Purchase                6/21/2013            300     $30.9900   $9,297.00       Sale             6/21/2013     (6,200)    $30.0000   ($186,000.00)
Purchase                6/21/2013            300     $30.9200   $9,276.00       Sale             6/21/2013       (800)    $30.0000    ($24,000.00)
Purchase                6/21/2013            200     $30.9100   $6,182.00       Sale             6/24/2013       (200)    $30.9800     ($6,196.00)
Purchase                6/21/2013            300     $30.9000   $9,270.00       Sale             6/24/2013       (187)    $31.0200     ($5,800.74)
Purchase                6/21/2013            300     $31.0900   $9,327.00       Sale             6/24/2013        (13)    $31.0200       ($403.26)
Purchase                6/21/2013            100     $31.0400   $3,104.00       Sale             6/24/2013       (200)    $31.0500     ($6,210.00)
Purchase                6/21/2013             92     $31.2400   $2,874.08       Sale             6/24/2013       (200)    $31.2500     ($6,250.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/21/2013            300     $31.2400     $9,372.00       Sale             6/24/2013       (200)    $31.1200    ($6,224.00)
Purchase                6/21/2013            100     $31.2400     $3,124.00       Sale             6/24/2013       (200)    $31.1200    ($6,224.00)
Purchase                6/21/2013            400     $31.2700    $12,508.00       Sale             6/24/2013       (300)    $31.1400    ($9,342.00)
Purchase                6/21/2013            400     $31.2700    $12,508.00       Sale             6/24/2013       (300)    $31.1400    ($9,342.00)
Purchase                6/21/2013            100     $31.2400     $3,124.00       Sale             6/24/2013       (300)    $31.1400    ($9,342.00)
Purchase                6/21/2013            114     $31.2400     $3,561.36       Sale             6/24/2013       (300)    $31.1400    ($9,342.00)
Purchase                6/21/2013            400     $31.2600    $12,504.00       Sale             6/24/2013       (123)    $31.2100    ($3,838.83)
Purchase                6/21/2013            400     $31.2600    $12,504.00       Sale             6/24/2013       (100)    $31.1200    ($3,112.00)
Purchase                6/21/2013            400     $31.3100    $12,524.00       Sale             6/24/2013       (300)    $31.1400    ($9,342.00)
Purchase                6/21/2013            400     $31.3000    $12,520.00       Sale             6/24/2013       (100)    $31.1400    ($3,114.00)
Purchase                6/21/2013             21     $31.3500       $658.35       Sale             6/24/2013       (100)    $31.1200    ($3,112.00)
Purchase                6/21/2013             10     $31.3500       $313.50       Sale             6/24/2013       (100)    $31.1100    ($3,111.00)
Purchase                6/21/2013            300     $31.3600     $9,408.00       Sale             6/24/2013       (100)    $31.1200    ($3,112.00)
Purchase                6/21/2013            400     $31.3600    $12,544.00       Sale             6/24/2013       (300)    $31.2500    ($9,375.00)
Purchase                6/21/2013          3,300     $31.3200   $103,356.00       Sale             6/24/2013       (100)    $31.3200    ($3,132.00)
Purchase                6/21/2013             52     $31.3200     $1,628.64       Sale             6/24/2013       (100)    $31.5000    ($3,150.00)
Purchase                6/21/2013          4,400     $25.0000   $110,000.00       Sale             6/24/2013       (200)    $31.6500    ($6,330.00)
Purchase                6/24/2013            300     $31.4900     $9,447.00       Sale             6/24/2013       (100)    $32.0300    ($3,203.00)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (322)    $32.1700   ($10,358.74)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (382)    $32.1700   ($12,288.94)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (392)    $32.3000   ($12,661.60)
Purchase                6/24/2013            300     $31.1200     $9,336.00       Sale             6/24/2013       (100)    $32.3500    ($3,235.00)
Purchase                6/24/2013            300     $31.1200     $9,336.00       Sale             6/24/2013       (100)    $32.3800    ($3,238.00)
Purchase                6/24/2013             80     $31.2400     $2,499.20       Sale             6/25/2013       (100)    $32.3600    ($3,236.00)
Purchase                6/24/2013            300     $31.2700     $9,381.00       Sale             6/25/2013       (100)    $32.3600    ($3,236.00)
Purchase                6/24/2013            300     $31.2700     $9,381.00       Sale             6/25/2013       (200)    $32.2800    ($6,456.00)
Purchase                6/24/2013             76     $31.5100     $2,394.76       Sale             6/25/2013       (200)    $32.4500    ($6,490.00)
Purchase                6/24/2013            300     $31.5800     $9,474.00       Sale             6/25/2013       (300)    $32.1500    ($9,645.00)
Purchase                6/24/2013            200     $31.5600     $6,312.00       Sale             6/25/2013       (400)    $32.2700   ($12,908.00)
Purchase                6/24/2013            200     $31.5600     $6,312.00       Sale             6/25/2013       (102)    $32.2300    ($3,287.46)
Purchase                6/24/2013            400     $32.0200    $12,808.00       Sale             6/25/2013       (114)    $32.2500    ($3,676.50)
Purchase                6/24/2013            400     $32.1700    $12,868.00       Sale             6/25/2013       (300)    $32.3100    ($9,693.00)
Purchase                6/24/2013             26     $32.2400       $838.24       Sale             6/25/2013       (400)    $32.3100   ($12,924.00)
Purchase                6/24/2013            100     $32.2400     $3,224.00       Sale             6/25/2013       (100)    $32.4000    ($3,240.00)
Purchase                6/24/2013            400     $32.1700    $12,868.00       Sale             6/26/2013       (200)    $32.6300    ($6,526.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/24/2013            400     $32.3100   $12,924.00       Sale             6/26/2013       (100)    $32.5300    ($3,253.00)
Purchase                6/24/2013            200     $32.4900    $6,498.00       Sale             6/26/2013       (100)    $32.5900    ($3,259.00)
Purchase                6/24/2013            400     $32.4900   $12,996.00       Sale             6/26/2013       (200)    $32.6000    ($6,520.00)
Purchase                6/24/2013            100     $32.4900    $3,249.00       Sale             6/26/2013       (100)    $32.7500    ($3,275.00)
Purchase                6/25/2013             64     $32.3400    $2,069.76       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/25/2013             56     $32.2000    $1,803.20       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/25/2013             99     $32.1400    $3,181.86       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/25/2013            201     $32.1400    $6,460.14       Sale             6/26/2013       (300)    $32.8000    ($9,840.00)
Purchase                6/25/2013             40     $32.2500    $1,290.00       Sale             6/26/2013       (300)    $32.8500    ($9,855.00)
Purchase                6/25/2013             50     $32.2500    $1,612.50       Sale             6/26/2013       (400)    $32.7800   ($13,112.00)
Purchase                6/25/2013            200     $32.3500    $6,470.00       Sale             6/26/2013       (200)    $32.7500    ($6,550.00)
Purchase                6/25/2013            100     $32.3700    $3,237.00       Sale             6/26/2013       (400)    $32.8100   ($13,124.00)
Purchase                6/25/2013            400     $32.4100   $12,964.00       Sale             6/26/2013        (83)    $32.7900    ($2,721.57)
Purchase                6/26/2013            100     $32.6200    $3,262.00       Sale             6/26/2013        (17)    $32.7900      ($557.43)
Purchase                6/26/2013             68     $32.6200    $2,218.16       Sale             6/27/2013       (200)    $32.9900    ($6,598.00)
Purchase                6/26/2013            200     $32.5300    $6,506.00       Sale             6/27/2013       (100)    $32.8900    ($3,289.00)
Purchase                6/26/2013            300     $32.7500    $9,825.00       Sale             6/27/2013        (80)    $32.8000    ($2,624.00)
Purchase                6/26/2013            300     $32.7500    $9,825.00       Sale             6/27/2013       (100)    $32.8200    ($3,282.00)
Purchase                6/26/2013            300     $32.8500    $9,855.00       Sale             6/27/2013       (200)    $32.8200    ($6,564.00)
Purchase                6/26/2013            104     $32.8200    $3,413.28       Sale             6/27/2013       (100)    $32.8300    ($3,283.00)
Purchase                6/26/2013            400     $32.8000   $13,120.00       Sale             6/27/2013        (99)    $32.8600    ($3,253.14)
Purchase                6/27/2013             99     $32.9000    $3,257.10       Sale             6/27/2013         (9)    $32.8700      ($295.83)
Purchase                6/27/2013            100     $32.9000    $3,290.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/27/2013            140     $32.8900    $4,604.60       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/27/2013             60     $32.8900    $1,973.40       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/27/2013            200     $32.9400    $6,588.00       Sale             6/27/2013       (195)    $32.8800    ($6,411.60)
Purchase                6/27/2013            100     $32.9400    $3,294.00       Sale             6/27/2013       (205)    $32.8800    ($6,740.40)
Purchase                6/27/2013             52     $32.8900    $1,710.28       Sale             6/27/2013        (78)    $32.8900    ($2,565.42)
Purchase                6/27/2013             97     $32.8900    $3,190.33       Sale             6/27/2013       (322)    $32.8900   ($10,590.58)
Purchase                6/27/2013            400     $32.9200   $13,168.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/27/2013            400     $32.9200   $13,168.00       Sale             6/27/2013        (36)    $32.8800    ($1,183.68)
Purchase                6/27/2013            100     $32.8800    $3,288.00       Sale             6/27/2013       (100)    $32.8900    ($3,289.00)
Purchase                6/27/2013            200     $32.8700    $6,574.00       Sale             6/27/2013       (300)    $32.9200    ($9,876.00)
Purchase                6/27/2013            200     $32.8700    $6,574.00       Sale             6/27/2013       (400)    $32.9700   ($13,188.00)
Purchase                6/27/2013            345     $32.8700   $11,340.15       Sale             6/27/2013       (100)    $32.9700    ($3,297.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/27/2013          1,320     $32.9700   $43,520.40       Sale             6/27/2013       (824)    $32.9700   ($27,167.28)
Purchase                6/28/2013            100     $32.9900    $3,299.00       Sale             6/28/2013       (200)    $32.9900    ($6,598.00)
Purchase                6/28/2013            100     $32.9900    $3,299.00       Sale             6/28/2013       (100)    $33.0300    ($3,303.00)
Purchase                6/28/2013            100     $33.0700    $3,307.00       Sale             6/28/2013       (300)    $33.0300    ($9,909.00)
Purchase                6/28/2013            100     $33.1300    $3,313.00       Sale             6/28/2013       (256)    $33.0700    ($8,465.92)
Purchase                6/28/2013            400     $33.1300   $13,252.00       Sale             6/28/2013        (87)    $33.0700    ($2,877.09)
Purchase                6/28/2013            300     $33.1300    $9,939.00       Sale             6/28/2013       (313)    $33.0700   ($10,350.91)
Purchase                6/28/2013            200     $33.1100    $6,622.00       Sale             6/28/2013         (1)    $33.1500       ($33.15)
Purchase                6/28/2013            100     $33.1100    $3,311.00       Sale             6/28/2013       (100)    $33.1400    ($3,314.00)
Purchase                6/28/2013            400     $33.1100   $13,244.00       Sale             6/28/2013       (143)    $33.1400    ($4,739.02)
Purchase                6/28/2013             26     $33.1000      $860.60       Sale             6/28/2013       (257)    $33.1400    ($8,516.98)
Purchase                6/28/2013            100     $33.1400    $3,314.00       Sale             6/28/2013       (400)    $33.1300   ($13,252.00)
Purchase                6/28/2013            263     $33.1700    $8,723.71       Sale             6/28/2013       (100)    $33.1600    ($3,316.00)
Purchase                6/28/2013            137     $33.1700    $4,544.29       Sale             6/28/2013       (400)    $33.1200   ($13,248.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/28/2013       (400)    $33.1500   ($13,260.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/28/2013       (400)    $33.1500   ($13,260.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/28/2013       (400)    $33.1800   ($13,272.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale              7/1/2013       (100)    $33.1100    ($3,311.00)
Purchase                 7/1/2013            100     $33.2700    $3,327.00       Sale              7/1/2013       (200)    $33.1100    ($6,622.00)
Purchase                 7/1/2013            100     $33.2500    $3,325.00       Sale              7/1/2013       (300)    $33.2100    ($9,963.00)
Purchase                 7/1/2013            100     $33.2300    $3,323.00       Sale              7/1/2013       (400)    $33.2700   ($13,308.00)
Purchase                 7/1/2013            200     $33.2300    $6,646.00       Sale              7/1/2013       (400)    $33.1900   ($13,276.00)
Purchase                 7/1/2013            100     $33.2500    $3,325.00       Sale              7/1/2013       (100)    $33.2700    ($3,327.00)
Purchase                 7/1/2013            100     $33.2100    $3,321.00       Sale              7/2/2013       (200)    $33.1800    ($6,636.00)
Purchase                 7/1/2013            129     $33.2600    $4,290.54       Sale              7/2/2013       (100)    $33.2300    ($3,323.00)
Purchase                 7/1/2013            400     $33.2600   $13,304.00       Sale              7/2/2013       (200)    $33.2300    ($6,646.00)
Purchase                 7/1/2013            657     $33.2700   $21,858.39       Sale              7/2/2013       (100)    $33.2300    ($3,323.00)
Purchase                 7/2/2013            100     $33.2400    $3,324.00       Sale              7/2/2013       (100)    $33.2900    ($3,329.00)
Purchase                 7/2/2013            200     $33.1900    $6,638.00       Sale              7/2/2013       (200)    $33.2900    ($6,658.00)
Purchase                 7/2/2013            199     $33.2500    $6,616.75       Sale              7/2/2013       (200)    $33.2900    ($6,658.00)
Purchase                 7/2/2013             43     $33.2500    $1,429.75       Sale              7/2/2013        (93)    $33.2500    ($3,092.25)
Purchase                 7/2/2013            400     $33.2900   $13,316.00       Sale              7/2/2013        (32)    $33.2300    ($1,063.36)
Purchase                 7/2/2013            400     $33.2100   $13,284.00       Sale              7/2/2013       (400)    $33.2400   ($13,296.00)
Purchase                 7/2/2013            824     $33.2600   $27,406.24       Sale              7/3/2013       (200)    $33.1900    ($6,638.00)
Purchase                 7/3/2013            200     $33.1600    $6,632.00       Sale              7/3/2013       (200)    $33.1900    ($6,638.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                 7/3/2013            200     $33.2100    $6,642.00       Sale              7/3/2013       (100)    $33.2400    ($3,324.00)
Purchase                 7/3/2013            100     $33.2000    $3,320.00       Sale              7/3/2013       (300)    $33.2200    ($9,966.00)
Purchase                 7/3/2013            300     $33.2000    $9,960.00       Sale              7/3/2013       (300)    $33.2200    ($9,966.00)
Purchase                 7/3/2013            300     $33.2200    $9,966.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                 7/3/2013            300     $33.2000    $9,960.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                 7/3/2013             88     $33.3300    $2,933.04       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                 7/3/2013             64     $33.2800    $2,129.92       Sale              7/5/2013       (200)    $33.5000    ($6,700.00)
Purchase                 7/3/2013            300     $33.3300    $9,999.00       Sale              7/5/2013       (200)    $33.5000    ($6,700.00)
Purchase                 7/5/2013            200     $33.4800    $6,696.00       Sale              7/5/2013       (200)    $33.5400    ($6,708.00)
Purchase                 7/5/2013            100     $33.4800    $3,348.00       Sale              7/8/2013     (1,020)    $33.7200   ($34,394.40)
Purchase                 7/5/2013            200     $33.3000    $6,660.00       Sale              7/9/2013       (400)    $33.7000   ($13,480.00)
Purchase                 7/8/2013            200     $33.4500    $6,690.00       Sale              7/9/2013        (50)    $33.6900    ($1,684.50)
Purchase                 7/9/2013            100     $33.7500    $3,375.00       Sale              7/9/2013       (100)    $33.6700    ($3,367.00)
Purchase                 7/9/2013            100     $33.8700    $3,387.00       Sale              7/9/2013       (400)    $33.6600   ($13,464.00)
Purchase                 7/9/2013            200     $33.8700    $6,774.00       Sale             7/10/2013       (100)    $33.2100    ($3,321.00)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale             7/10/2013       (200)    $33.0900    ($6,618.00)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale             7/10/2013       (200)    $33.1200    ($6,624.00)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale             7/10/2013       (200)    $33.1400    ($6,628.00)
Purchase                 7/9/2013            200     $33.7000    $6,740.00       Sale             7/10/2013       (200)    $33.2000    ($6,640.00)
Purchase                 7/9/2013            400     $33.6900   $13,476.00       Sale             7/10/2013       (200)    $33.2100    ($6,642.00)
Purchase                 7/9/2013            200     $33.6500    $6,730.00       Sale             7/10/2013       (200)    $33.3500    ($6,670.00)
Purchase                 7/9/2013            100     $33.6000    $3,360.00       Sale             7/10/2013       (200)    $33.3400    ($6,668.00)
Purchase                7/10/2013            200     $33.1100    $6,622.00       Sale             7/10/2013       (300)    $33.3300    ($9,999.00)
Purchase                7/10/2013            200     $33.1500    $6,630.00       Sale             7/10/2013         (1)    $33.3600       ($33.36)
Purchase                7/10/2013            200     $33.2000    $6,640.00       Sale             7/10/2013       (299)    $33.3600    ($9,974.64)
Purchase                7/10/2013            200     $33.3300    $6,666.00       Sale             7/10/2013       (300)    $33.3600   ($10,008.00)
Purchase                7/10/2013            188     $33.3300    $6,266.04       Sale             7/10/2013       (100)    $33.2400    ($3,324.00)
Purchase                7/10/2013            200     $33.3500    $6,670.00       Sale             7/10/2013       (100)    $33.2400    ($3,324.00)
Purchase                7/10/2013            300     $33.3700   $10,011.00       Sale             7/10/2013       (300)    $33.2400    ($9,972.00)
Purchase                7/10/2013            300     $33.3500   $10,005.00       Sale             7/10/2013       (300)    $33.2400    ($9,972.00)
Purchase                7/10/2013            100     $33.3500    $3,335.00       Sale             7/10/2013       (198)    $33.2600    ($6,585.48)
Purchase                7/10/2013            100     $33.3400    $3,334.00       Sale             7/10/2013       (200)    $33.2300    ($6,646.00)
Purchase                7/10/2013            300     $33.3400   $10,002.00       Sale             7/10/2013       (100)    $33.2300    ($3,323.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale             7/10/2013       (300)    $33.2300    ($9,969.00)
Purchase                7/10/2013            300     $33.3400   $10,002.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/10/2013             87     $33.2500    $2,892.75       Sale             7/10/2013       (170)    $33.3100    ($5,662.70)
Purchase                7/10/2013            300     $33.2500    $9,975.00       Sale             7/10/2013       (400)    $33.2900   ($13,316.00)
Purchase                7/10/2013            193     $33.2500    $6,417.25       Sale             7/10/2013       (400)    $33.2900   ($13,316.00)
Purchase                7/10/2013            299     $33.2300    $9,935.77       Sale             7/10/2013       (270)    $33.2900    ($8,988.30)
Purchase                7/10/2013            300     $33.2300    $9,969.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/10/2013              1     $33.2300       $33.23       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/10/2013            300     $33.2800    $9,984.00       Sale             7/10/2013       (170)    $33.3000    ($5,661.00)
Purchase                7/10/2013            400     $33.3200   $13,328.00       Sale             7/10/2013       (233)    $33.2800    ($7,754.24)
Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/10/2013       (100)    $33.2800    ($3,328.00)
Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/10/2013            400     $33.3000   $13,320.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/10/2013            400     $33.3000   $13,320.00       Sale             7/11/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale             7/11/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale             7/11/2013       (300)    $33.6300   ($10,089.00)
Purchase                7/11/2013            100     $33.4500    $3,345.00       Sale             7/11/2013       (189)    $33.6000    ($6,350.40)
Purchase                7/11/2013            100     $33.4500    $3,345.00       Sale             7/11/2013       (400)    $33.6100   ($13,444.00)
Purchase                7/11/2013            200     $33.4800    $6,696.00       Sale             7/11/2013       (100)    $33.6200    ($3,362.00)
Purchase                7/11/2013            200     $33.4600    $6,692.00       Sale             7/11/2013        (83)    $33.6200    ($2,790.46)
Purchase                7/11/2013            200     $33.4600    $6,692.00       Sale             7/12/2013       (100)    $33.5800    ($3,358.00)
Purchase                7/11/2013            100     $33.4600    $3,346.00       Sale             7/12/2013        (62)    $33.5800    ($2,081.96)
Purchase                7/11/2013            200     $33.5800    $6,716.00       Sale             7/12/2013        (38)    $33.5800    ($1,276.04)
Purchase                7/11/2013             50     $33.5700    $1,678.50       Sale             7/12/2013       (200)    $33.5500    ($6,710.00)
Purchase                7/11/2013            300     $33.6000   $10,080.00       Sale             7/12/2013       (200)    $33.5500    ($6,710.00)
Purchase                7/11/2013            300     $33.6000   $10,080.00       Sale             7/12/2013       (146)    $33.5900    ($4,904.14)
Purchase                7/11/2013            100     $33.6100    $3,361.00       Sale             7/12/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/11/2013             46     $33.6000    $1,545.60       Sale             7/12/2013       (300)    $33.5900   ($10,077.00)
Purchase                7/11/2013            300     $33.6300   $10,089.00       Sale             7/12/2013       (300)    $33.6200   ($10,086.00)
Purchase                7/11/2013            400     $33.6300   $13,452.00       Sale             7/12/2013       (400)    $33.6200   ($13,448.00)
Purchase                7/12/2013            200     $33.7000    $6,740.00       Sale             7/12/2013       (400)    $33.6200   ($13,448.00)
Purchase                7/12/2013            200     $33.7000    $6,740.00       Sale             7/12/2013       (272)    $33.6100    ($9,141.92)
Purchase                7/12/2013            200     $33.6700    $6,734.00       Sale             7/12/2013       (400)    $33.6100   ($13,444.00)
Purchase                7/12/2013            200     $33.6300    $6,726.00       Sale             7/12/2013       (300)    $33.6100   ($10,083.00)
Purchase                7/12/2013            206     $33.6400    $6,929.84       Sale             7/12/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/12/2013            100     $33.6000    $3,360.00       Sale             7/15/2013        (12)    $33.5900      ($403.08)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/12/2013            300     $33.5900   $10,077.00       Sale             7/15/2013       (100)    $33.5900    ($3,359.00)
Purchase                7/12/2013            100     $33.5900    $3,359.00       Sale             7/15/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/12/2013             70     $33.6000    $2,352.00       Sale             7/15/2013       (300)    $33.7000   ($10,110.00)
Purchase                7/12/2013            395     $33.6100   $13,275.95       Sale             7/15/2013       (300)    $33.7100   ($10,113.00)
Purchase                7/12/2013              5     $33.6100      $168.05       Sale             7/15/2013       (300)    $33.7100   ($10,113.00)
Purchase                7/12/2013            400     $33.6000   $13,440.00       Sale             7/15/2013       (300)    $33.7200   ($10,116.00)
Purchase                7/12/2013            200     $33.6000    $6,720.00       Sale             7/15/2013       (178)    $33.7400    ($6,005.72)
Purchase                7/12/2013            212     $33.6000    $7,123.20       Sale             7/15/2013       (167)    $33.7400    ($5,634.58)
Purchase                7/12/2013            400     $33.6000   $13,440.00       Sale             7/15/2013       (133)    $33.7400    ($4,487.42)
Purchase                7/12/2013            188     $33.6000    $6,316.80       Sale             7/15/2013       (122)    $33.7400    ($4,116.28)
Purchase                7/15/2013            199     $33.6200    $6,690.38       Sale             7/15/2013       (200)    $33.7500    ($6,750.00)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/15/2013       (100)    $33.7500    ($3,375.00)
Purchase                7/15/2013            200     $33.6900    $6,738.00       Sale             7/15/2013       (300)    $33.7500   ($10,125.00)
Purchase                7/15/2013            200     $33.7000    $6,740.00       Sale             7/15/2013       (300)    $33.7500   ($10,125.00)
Purchase                7/15/2013            200     $33.7100    $6,742.00       Sale             7/15/2013       (400)    $33.7000   ($13,480.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/15/2013       (400)    $33.7100   ($13,484.00)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/15/2013       (400)    $33.7100   ($13,484.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013       (400)    $33.5800   ($13,432.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013       (400)    $33.6000   ($13,440.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013       (400)    $33.6000   ($13,440.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/16/2013       (200)    $33.5600    ($6,712.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/16/2013       (100)    $33.5600    ($3,356.00)
Purchase                7/15/2013            194     $33.7400    $6,545.56       Sale             7/16/2013       (100)    $33.5600    ($3,356.00)
Purchase                7/15/2013            400     $33.7200   $13,488.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/15/2013            400     $33.7200   $13,488.00       Sale             7/16/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/16/2013       (100)    $33.6200    ($3,362.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/16/2013       (100)    $33.6400    ($3,364.00)
Purchase                7/15/2013            400     $33.7000   $13,480.00       Sale             7/16/2013       (100)    $33.6400    ($3,364.00)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/16/2013       (100)    $33.5700    ($3,357.00)
Purchase                7/15/2013            100     $33.7000    $3,370.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/15/2013            188     $33.6900    $6,333.72       Sale             7/16/2013       (200)    $33.6100    ($6,722.00)
Purchase                7/16/2013            200     $33.6300    $6,726.00       Sale             7/16/2013       (100)    $33.5900    ($3,359.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/16/2013       (200)    $33.6000    ($6,720.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/16/2013       (200)    $33.6000    ($6,720.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/16/2013            200     $33.6000     $6,720.00       Sale             7/19/2013        (63)    $33.6500    ($2,119.95)
Purchase                7/16/2013            200     $33.5600     $6,712.00       Sale             7/19/2013       (178)    $33.6500    ($5,989.70)
Purchase                7/16/2013            100     $33.5600     $3,356.00       Sale             7/19/2013       (100)    $33.6500    ($3,365.00)
Purchase                7/16/2013            100     $33.5600     $3,356.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/16/2013            100     $33.6800     $3,368.00       Sale             7/19/2013       (300)    $33.6500   ($10,095.00)
Purchase                7/16/2013            100     $33.6800     $3,368.00       Sale             7/19/2013       (137)    $33.6500    ($4,610.05)
Purchase                7/16/2013            100     $33.5900     $3,359.00       Sale             7/19/2013        (63)    $33.6500    ($2,119.95)
Purchase                7/16/2013            100     $33.6700     $3,367.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/16/2013            200     $33.6000     $6,720.00       Sale             7/19/2013        (37)    $33.6500    ($1,245.05)
Purchase                7/16/2013            200     $33.7000     $6,740.00       Sale             7/19/2013        (22)    $33.6500      ($740.30)
Purchase                7/16/2013          4,360     $33.5800   $146,408.80       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/19/2013          4,380     $33.7900   $148,000.20       Sale             7/19/2013       (600)    $25.0000   ($15,000.00)
Purchase                7/22/2013            100     $33.7500     $3,375.00       Sale             7/19/2013     (2,900)    $30.0000   ($87,000.00)
Purchase                7/22/2013            100     $33.7800     $3,378.00       Sale             7/25/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/25/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/26/2013            100     $33.5000     $3,350.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/26/2013            105     $33.5000     $3,517.50       Sale             7/25/2013        (34)    $33.4600    ($1,137.64)
Purchase                7/26/2013             95     $33.5000     $3,182.50       Sale             7/26/2013       (100)    $33.3600    ($3,336.00)
Purchase                7/26/2013          3,723     $33.5000   $124,720.50       Sale             7/26/2013       (200)    $33.3600    ($6,672.00)
Purchase                7/29/2013            100     $33.5500     $3,355.00       Sale             7/26/2013       (100)    $33.3600    ($3,336.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/26/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/26/2013        (50)    $33.5000    ($1,675.00)
Purchase                7/29/2013             43     $33.5000     $1,440.50       Sale             7/26/2013       (200)    $33.5000    ($6,700.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/26/2013       (200)    $33.5100    ($6,702.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/26/2013       (824)    $33.5000   ($27,604.00)
Purchase                7/29/2013            100     $33.5100     $3,351.00       Sale             7/29/2013        (57)    $33.4700    ($1,907.79)
Purchase                7/29/2013            100     $33.5200     $3,352.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/29/2013            100     $33.6200     $3,362.00       Sale             7/29/2013         (6)    $33.4600      ($200.76)
Purchase                7/29/2013            100     $33.6400     $3,364.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/29/2013            100     $33.4900     $3,349.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/29/2013            200     $33.5500     $6,710.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/29/2013            200     $33.6500     $6,730.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/29/2013            200     $33.6500     $6,730.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                7/29/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/29/2013            200     $33.6400   $6,728.00       Sale             7/29/2013       (100)    $33.5500    ($3,355.00)
Purchase                7/29/2013            200     $33.6400   $6,728.00       Sale             7/29/2013       (100)    $33.5300    ($3,353.00)
Purchase                7/30/2013            100     $33.5700   $3,357.00       Sale             7/29/2013       (100)    $33.6500    ($3,365.00)
Purchase                7/30/2013            100     $33.5600   $3,356.00       Sale             7/29/2013        (55)    $33.5000    ($1,842.50)
Purchase                7/30/2013            100     $33.5900   $3,359.00       Sale             7/29/2013       (100)    $33.4800    ($3,348.00)
Purchase                7/30/2013             98     $33.6000   $3,292.80       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/30/2013            100     $33.6000   $3,360.00       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/30/2013            100     $33.6200   $3,362.00       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/30/2013            100     $33.6000   $3,360.00       Sale             7/29/2013       (200)    $33.5600    ($6,712.00)
Purchase                7/30/2013            100     $33.6000   $3,360.00       Sale             7/29/2013       (200)    $33.6300    ($6,726.00)
Purchase                7/30/2013             36     $33.6200   $1,210.32       Sale             7/29/2013        (75)    $33.6300    ($2,522.25)
Purchase                7/31/2013            100     $33.7100   $3,371.00       Sale             7/29/2013        (96)    $33.6500    ($3,230.40)
Purchase                7/31/2013            100     $33.7000   $3,370.00       Sale             7/29/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (168)    $33.5100    ($5,629.68)
Purchase                7/31/2013            100     $33.6100   $3,361.00       Sale             7/29/2013       (200)    $33.5200    ($6,704.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/29/2013       (177)    $33.5300    ($5,934.81)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/30/2013       (100)    $33.5800    ($3,358.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/30/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/31/2013            100     $33.6600   $3,366.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/31/2013            100     $33.6300   $3,363.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/31/2013             23     $33.6000     $772.80       Sale             7/30/2013       (100)    $33.6200    ($3,362.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/31/2013            200     $33.5500   $6,710.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/31/2013             14     $33.5800     $470.12       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/31/2013            180     $33.5700   $6,042.60       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/31/2013             20     $33.5700     $671.40       Sale             7/30/2013       (100)    $33.6300    ($3,363.00)
Purchase                7/31/2013            200     $33.5800   $6,716.00       Sale             7/31/2013        (50)    $33.6100    ($1,680.50)
Purchase                 8/1/2013            100     $33.6700   $3,367.00       Sale             7/31/2013        (50)    $33.6100    ($1,680.50)
Purchase                 8/1/2013            100     $33.6200   $3,362.00       Sale             7/31/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/1/2013            100     $33.6200   $3,362.00       Sale             7/31/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/31/2013       (100)    $33.5900    ($3,359.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/31/2013       (100)    $33.5900    ($3,359.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                 8/1/2013            100     $33.6400    $3,364.00       Sale             7/31/2013       (100)    $33.5800    ($3,358.00)
Purchase                 8/1/2013            100     $33.6400    $3,364.00       Sale             7/31/2013       (100)    $33.5500    ($3,355.00)
Purchase                 8/1/2013            100     $33.6400    $3,364.00       Sale             7/31/2013       (100)    $33.5500    ($3,355.00)
Purchase                 8/1/2013            100     $33.6400    $3,364.00       Sale             7/31/2013       (100)    $33.5600    ($3,356.00)
Purchase                 8/1/2013            100     $33.6400    $3,364.00       Sale             7/31/2013       (100)    $33.5600    ($3,356.00)
Purchase                 8/1/2013            100     $33.6300    $3,363.00       Sale             7/31/2013       (100)    $33.5600    ($3,356.00)
Purchase                 8/1/2013            100     $33.6300    $3,363.00       Sale             7/31/2013       (100)    $33.6000    ($3,360.00)
Purchase                 8/1/2013            100     $33.6400    $3,364.00       Sale             7/31/2013       (100)    $33.6000    ($3,360.00)
Purchase                 8/1/2013            100     $33.6400    $3,364.00       Sale             7/31/2013       (100)    $33.5600    ($3,356.00)
Purchase                 8/1/2013            100     $33.6100    $3,361.00       Sale             7/31/2013       (200)    $33.5700    ($6,714.00)
Purchase                 8/1/2013            100     $33.6100    $3,361.00       Sale             7/31/2013       (200)    $33.6200    ($6,724.00)
Purchase                 8/1/2013            100     $33.6000    $3,360.00       Sale             7/31/2013       (200)    $33.6200    ($6,724.00)
Purchase                 8/1/2013            100     $33.5700    $3,357.00       Sale              8/1/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/1/2013            100     $33.5600    $3,356.00       Sale              8/1/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/1/2013            200     $33.6100    $6,722.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/1/2013            200     $33.6000    $6,720.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/2/2013            100     $33.7200    $3,372.00       Sale              8/1/2013       (100)    $33.6300    ($3,363.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013             45     $33.7500    $1,518.75       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013             55     $33.7500    $1,856.25       Sale              8/1/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/2/2013            100     $33.7600    $3,376.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013            100     $33.7600    $3,376.00       Sale              8/1/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/2/2013            200     $33.7500    $6,750.00       Sale              8/1/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/2/2013          2,628     $33.7700   $88,747.56       Sale              8/1/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/5/2013            100     $33.6600    $3,366.00       Sale              8/1/2013       (100)    $33.5600    ($3,356.00)
Purchase                 8/5/2013            100     $33.6200    $3,362.00       Sale              8/1/2013       (100)    $33.5700    ($3,357.00)
Purchase                 8/5/2013            100     $33.6100    $3,361.00       Sale              8/1/2013       (100)    $33.5700    ($3,357.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 8/5/2013            100     $33.6400   $3,364.00       Sale             8/1/2013       (200)    $33.6100    ($6,722.00)
Purchase                 8/5/2013            100     $33.6400   $3,364.00       Sale             8/1/2013       (200)    $33.6100    ($6,722.00)
Purchase                 8/5/2013            100     $33.6300   $3,363.00       Sale             8/1/2013       (200)    $33.6400    ($6,728.00)
Purchase                 8/5/2013            100     $33.7500   $3,375.00       Sale             8/1/2013       (200)    $33.6400    ($6,728.00)
Purchase                 8/5/2013            100     $33.7500   $3,375.00       Sale             8/2/2013       (100)    $33.5900    ($3,359.00)
Purchase                 8/5/2013             99     $33.7700   $3,343.23       Sale             8/2/2013       (100)    $33.5900    ($3,359.00)
Purchase                 8/5/2013            100     $33.7700   $3,377.00       Sale             8/2/2013       (100)    $33.5900    ($3,359.00)
Purchase                 8/5/2013            100     $33.7500   $3,375.00       Sale             8/2/2013       (100)    $33.6000    ($3,360.00)
Purchase                 8/5/2013            100     $33.7500   $3,375.00       Sale             8/2/2013       (100)    $33.7300    ($3,373.00)
Purchase                 8/5/2013            100     $33.7500   $3,375.00       Sale             8/2/2013       (100)    $33.7300    ($3,373.00)
Purchase                 8/5/2013            100     $33.8600   $3,386.00       Sale             8/2/2013       (100)    $33.7300    ($3,373.00)
Purchase                 8/5/2013            100     $33.8600   $3,386.00       Sale             8/2/2013       (100)    $33.7500    ($3,375.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/2/2013       (100)    $33.7500    ($3,375.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/2/2013       (100)    $33.7600    ($3,376.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/2/2013       (100)    $33.7600    ($3,376.00)
Purchase                 8/5/2013            200     $33.9200   $6,784.00       Sale             8/2/2013       (100)    $33.7600    ($3,376.00)
Purchase                 8/5/2013            200     $33.9600   $6,792.00       Sale             8/2/2013       (100)    $33.7600    ($3,376.00)
Purchase                 8/5/2013            100     $33.8700   $3,387.00       Sale             8/2/2013       (200)    $33.7600    ($6,752.00)
Purchase                 8/5/2013            100     $33.8700   $3,387.00       Sale             8/2/2013       (200)    $33.7600    ($6,752.00)
Purchase                 8/5/2013            200     $33.8700   $6,774.00       Sale             8/2/2013       (200)    $33.7600    ($6,752.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/2/2013       (200)    $33.7700    ($6,754.00)
Purchase                 8/6/2013              1     $33.8400      $33.84       Sale             8/5/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/5/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/5/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/6/2013            100     $33.8400   $3,384.00       Sale             8/5/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/6/2013            100     $33.8200   $3,382.00       Sale             8/5/2013       (100)    $33.6300    ($3,363.00)
Purchase                 8/6/2013            100     $33.8200   $3,382.00       Sale             8/5/2013       (100)    $33.7900    ($3,379.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/5/2013       (100)    $33.7900    ($3,379.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/5/2013       (100)    $33.7600    ($3,376.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/5/2013       (100)    $33.7700    ($3,377.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/5/2013        (35)    $33.7600    ($1,181.60)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/5/2013       (100)    $33.7500    ($3,375.00)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/5/2013       (100)    $33.7500    ($3,375.00)
Purchase                 8/6/2013            200     $33.8100   $6,762.00       Sale             8/5/2013       (100)    $33.7600    ($3,376.00)
Purchase                 8/6/2013            200     $33.8000   $6,760.00       Sale             8/5/2013       (100)    $33.8700    ($3,387.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/5/2013       (100)    $33.8500    ($3,385.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/5/2013       (100)    $33.7800    ($3,378.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/5/2013       (100)    $33.8200    ($3,382.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/5/2013       (100)    $33.8500    ($3,385.00)
Purchase                 8/6/2013             26     $33.7800     $878.28       Sale             8/5/2013       (200)    $33.9400    ($6,788.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/5/2013       (200)    $33.8500    ($6,770.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (200)    $33.8500    ($6,770.00)
Purchase                 8/7/2013            100     $33.8100   $3,381.00       Sale             8/5/2013       (100)    $33.8600    ($3,386.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (100)    $33.8600    ($3,386.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/6/2013       (100)    $33.8100    ($3,381.00)
Purchase                 8/7/2013            100     $33.9400   $3,394.00       Sale             8/6/2013       (100)    $33.8100    ($3,381.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/6/2013       (100)    $33.8000    ($3,380.00)
Purchase                 8/7/2013            100     $33.9400   $3,394.00       Sale             8/6/2013       (200)    $33.7900    ($6,758.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/6/2013       (100)    $33.7900    ($3,379.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/6/2013       (100)    $33.8000    ($3,380.00)
Purchase                 8/7/2013            100     $33.9200   $3,392.00       Sale             8/6/2013       (100)    $33.7900    ($3,379.00)
Purchase                 8/7/2013            100     $33.9100   $3,391.00       Sale             8/6/2013       (200)    $33.7900    ($6,758.00)
Purchase                 8/7/2013             55     $33.9900   $1,869.45       Sale             8/6/2013       (100)    $33.7900    ($3,379.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/6/2013       (200)    $33.7600    ($6,752.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/6/2013       (200)    $33.7600    ($6,752.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/6/2013       (100)    $33.7600    ($3,376.00)
Purchase                 8/7/2013            100     $34.1300   $3,413.00       Sale             8/6/2013        (26)    $33.8000      ($878.80)
Purchase                 8/7/2013            100     $34.1400   $3,414.00       Sale             8/6/2013       (100)    $33.8000    ($3,380.00)
Purchase                 8/7/2013            100     $34.1300   $3,413.00       Sale             8/6/2013       (200)    $33.8000    ($6,760.00)
Purchase                 8/7/2013            100     $34.0200   $3,402.00       Sale             8/6/2013        (74)    $33.8000    ($2,501.20)
Purchase                 8/7/2013            100     $34.0200   $3,402.00       Sale             8/6/2013       (182)    $33.8000    ($6,151.60)
Purchase                 8/7/2013             62     $33.9800   $2,106.76       Sale             8/6/2013        (18)    $33.8000      ($608.40)
Purchase                 8/7/2013            100     $33.9800   $3,398.00       Sale             8/6/2013       (100)    $33.8000    ($3,380.00)
Purchase                 8/7/2013            100     $33.9500   $3,395.00       Sale             8/7/2013       (100)    $33.9500    ($3,395.00)
Purchase                 8/7/2013            100     $33.9500   $3,395.00       Sale             8/7/2013       (100)    $33.9500    ($3,395.00)
Purchase                 8/7/2013            200     $33.9600   $6,792.00       Sale             8/7/2013       (100)    $33.9500    ($3,395.00)
Purchase                 8/7/2013             34     $33.8900   $1,152.26       Sale             8/7/2013       (100)    $33.9200    ($3,392.00)
Purchase                 8/8/2013            100     $33.6100   $3,361.00       Sale             8/7/2013       (100)    $33.9200    ($3,392.00)
Purchase                 8/8/2013            100     $33.6000   $3,360.00       Sale             8/7/2013        (92)    $33.9400    ($3,122.48)
Purchase                 8/8/2013            100     $33.5700   $3,357.00       Sale             8/7/2013       (100)    $33.9600    ($3,396.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 8/8/2013            100     $33.5400   $3,354.00       Sale             8/7/2013       (100)    $33.9700    ($3,397.00)
Purchase                 8/8/2013            100     $33.5400   $3,354.00       Sale             8/7/2013       (100)    $33.9700    ($3,397.00)
Purchase                 8/8/2013             39     $33.5900   $1,310.01       Sale             8/7/2013       (100)    $33.9900    ($3,399.00)
Purchase                 8/8/2013            100     $33.5700   $3,357.00       Sale             8/7/2013       (100)    $33.9900    ($3,399.00)
Purchase                 8/8/2013            100     $33.4600   $3,346.00       Sale             8/7/2013       (100)    $34.0300    ($3,403.00)
Purchase                 8/8/2013            100     $33.4600   $3,346.00       Sale             8/7/2013       (100)    $34.0300    ($3,403.00)
Purchase                 8/8/2013            100     $33.5000   $3,350.00       Sale             8/7/2013       (100)    $34.0300    ($3,403.00)
Purchase                 8/8/2013            100     $33.5800   $3,358.00       Sale             8/7/2013       (100)    $33.9900    ($3,399.00)
Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/7/2013       (100)    $33.9900    ($3,399.00)
Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/7/2013       (100)    $33.9900    ($3,399.00)
Purchase                 8/8/2013            100     $33.6300   $3,363.00       Sale             8/7/2013       (200)    $33.9600    ($6,792.00)
Purchase                 8/8/2013            100     $33.6300   $3,363.00       Sale             8/7/2013        (11)    $33.9700      ($373.67)
Purchase                 8/8/2013            100     $33.6000   $3,360.00       Sale             8/7/2013       (200)    $33.9700    ($6,794.00)
Purchase                 8/8/2013             33     $33.5900   $1,108.47       Sale             8/7/2013         (9)    $33.9600      ($305.64)
Purchase                 8/8/2013            100     $33.6000   $3,360.00       Sale             8/7/2013       (100)    $33.9600    ($3,396.00)
Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/7/2013       (200)    $33.9400    ($6,788.00)
Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/8/2013       (100)    $33.5300    ($3,353.00)
Purchase                 8/8/2013            100     $33.4700   $3,347.00       Sale             8/8/2013       (100)    $33.5400    ($3,354.00)
Purchase                 8/8/2013            200     $33.4900   $6,698.00       Sale             8/8/2013       (100)    $33.4500    ($3,345.00)
Purchase                 8/8/2013            200     $33.4900   $6,698.00       Sale             8/8/2013       (100)    $33.4700    ($3,347.00)
Purchase                 8/8/2013            200     $33.4700   $6,694.00       Sale             8/8/2013       (100)    $33.5800    ($3,358.00)
Purchase                 8/8/2013            200     $33.4700   $6,694.00       Sale             8/8/2013       (100)    $33.6200    ($3,362.00)
Purchase                 8/8/2013            200     $33.6200   $6,724.00       Sale             8/8/2013       (100)    $33.6200    ($3,362.00)
Purchase                 8/8/2013            200     $33.6000   $6,720.00       Sale             8/8/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/9/2013            100     $33.6200   $3,362.00       Sale             8/8/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/9/2013            100     $33.6200   $3,362.00       Sale             8/8/2013       (100)    $33.6500    ($3,365.00)
Purchase                 8/9/2013            100     $33.6200   $3,362.00       Sale             8/8/2013       (100)    $33.5900    ($3,359.00)
Purchase                 8/9/2013            100     $33.6200   $3,362.00       Sale             8/8/2013       (100)    $33.5900    ($3,359.00)
Purchase                 8/9/2013            100     $33.6100   $3,361.00       Sale             8/8/2013       (100)    $33.6400    ($3,364.00)
Purchase                 8/9/2013            100     $33.5600   $3,356.00       Sale             8/8/2013       (100)    $33.4600    ($3,346.00)
Purchase                 8/9/2013            100     $33.5200   $3,352.00       Sale             8/8/2013       (100)    $33.4800    ($3,348.00)
Purchase                 8/9/2013            100     $33.6400   $3,364.00       Sale             8/8/2013       (100)    $33.4700    ($3,347.00)
Purchase                 8/9/2013            100     $33.6400   $3,364.00       Sale             8/8/2013       (100)    $33.4700    ($3,347.00)
Purchase                 8/9/2013            200     $33.5600   $6,712.00       Sale             8/8/2013       (200)    $33.4700    ($6,694.00)
Purchase                 8/9/2013            200     $33.5600   $6,712.00       Sale             8/8/2013       (200)    $33.4800    ($6,696.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                 8/9/2013          3,066     $33.4600   $102,588.36       Sale              8/8/2013       (100)    $33.4800    ($3,348.00)
Purchase                8/12/2013            100     $33.0000     $3,300.00       Sale              8/8/2013       (100)    $33.4800    ($3,348.00)
Purchase                8/12/2013            100     $33.0000     $3,300.00       Sale              8/8/2013       (200)    $33.6000    ($6,720.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale              8/8/2013       (100)    $33.6200    ($3,362.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale              8/8/2013       (200)    $33.6400    ($6,728.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale              8/8/2013       (200)    $33.6400    ($6,728.00)
Purchase                8/12/2013            100     $33.0700     $3,307.00       Sale              8/8/2013       (100)    $33.6100    ($3,361.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale              8/8/2013       (200)    $33.6100    ($6,722.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale              8/8/2013       (200)    $33.6100    ($6,722.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale              8/8/2013       (200)    $33.6300    ($6,726.00)
Purchase                8/12/2013            100     $32.8700     $3,287.00       Sale              8/8/2013       (200)    $33.6300    ($6,726.00)
Purchase                8/12/2013            100     $32.9300     $3,293.00       Sale              8/9/2013       (100)    $33.5900    ($3,359.00)
Purchase                8/12/2013             47     $32.9300     $1,547.71       Sale              8/9/2013       (100)    $33.6400    ($3,364.00)
Purchase                8/12/2013            100     $32.9300     $3,293.00       Sale              8/9/2013       (100)    $33.6400    ($3,364.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale              8/9/2013       (100)    $33.6400    ($3,364.00)
Purchase                8/12/2013            100     $33.1900     $3,319.00       Sale              8/9/2013       (100)    $33.5200    ($3,352.00)
Purchase                8/12/2013            100     $33.1900     $3,319.00       Sale              8/9/2013       (100)    $33.5200    ($3,352.00)
Purchase                8/12/2013              6     $33.1000       $198.60       Sale              8/9/2013       (100)    $33.5100    ($3,351.00)
Purchase                8/12/2013            100     $33.0900     $3,309.00       Sale              8/9/2013       (100)    $33.6500    ($3,365.00)
Purchase                8/12/2013            100     $33.0900     $3,309.00       Sale              8/9/2013       (100)    $33.6500    ($3,365.00)
Purchase                8/12/2013             94     $33.0100     $3,102.94       Sale              8/9/2013       (100)    $33.6400    ($3,364.00)
Purchase                8/12/2013            200     $33.0100     $6,602.00       Sale              8/9/2013       (200)    $33.4900    ($6,698.00)
Purchase                8/12/2013            200     $33.0000     $6,600.00       Sale             8/12/2013       (100)    $33.2900    ($3,329.00)
Purchase                8/12/2013            200     $33.0000     $6,600.00       Sale             8/12/2013        (36)    $33.0500    ($1,189.80)
Purchase                8/12/2013            200     $33.0400     $6,608.00       Sale             8/12/2013       (100)    $33.0600    ($3,306.00)
Purchase                8/12/2013              4     $33.0300       $132.12       Sale             8/12/2013       (100)    $33.0500    ($3,305.00)
Purchase                8/12/2013            100     $33.0300     $3,303.00       Sale             8/12/2013       (100)    $33.0500    ($3,305.00)
Purchase                8/12/2013            100     $33.0000     $3,300.00       Sale             8/12/2013       (100)    $33.1100    ($3,311.00)
Purchase                8/13/2013            100     $32.9000     $3,290.00       Sale             8/12/2013       (100)    $33.0800    ($3,308.00)
Purchase                8/13/2013            100     $32.8900     $3,289.00       Sale             8/12/2013       (100)    $33.0800    ($3,308.00)
Purchase                8/13/2013            100     $32.8800     $3,288.00       Sale             8/12/2013       (100)    $33.0800    ($3,308.00)
Purchase                8/13/2013            100     $32.8800     $3,288.00       Sale             8/12/2013       (100)    $32.9700    ($3,297.00)
Purchase                8/13/2013            100     $32.8000     $3,280.00       Sale             8/12/2013       (100)    $32.9500    ($3,295.00)
Purchase                8/13/2013            100     $32.8000     $3,280.00       Sale             8/12/2013       (100)    $32.9600    ($3,296.00)
Purchase                8/13/2013            100     $32.8000     $3,280.00       Sale             8/12/2013       (100)    $32.8600    ($3,286.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale             8/12/2013       (100)    $32.8800    ($3,288.00)
Purchase                8/13/2013             79     $32.7100   $2,584.09       Sale             8/12/2013       (100)    $32.9400    ($3,294.00)
Purchase                8/13/2013            100     $32.6800   $3,268.00       Sale             8/12/2013        (42)    $32.9500    ($1,383.90)
Purchase                8/13/2013            100     $32.6000   $3,260.00       Sale             8/12/2013       (100)    $32.9500    ($3,295.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale             8/12/2013       (100)    $33.1000    ($3,310.00)
Purchase                8/13/2013            100     $32.8100   $3,281.00       Sale             8/12/2013       (100)    $33.1800    ($3,318.00)
Purchase                8/13/2013            100     $32.8100   $3,281.00       Sale             8/12/2013       (100)    $33.1100    ($3,311.00)
Purchase                8/13/2013            100     $32.7500   $3,275.00       Sale             8/12/2013       (100)    $33.1000    ($3,310.00)
Purchase                8/13/2013            100     $32.7500   $3,275.00       Sale             8/12/2013       (100)    $33.0100    ($3,301.00)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (200)    $33.0200    ($6,604.00)
Purchase                8/13/2013            100     $32.5500   $3,255.00       Sale             8/12/2013         (9)    $33.0000      ($297.00)
Purchase                8/13/2013            100     $32.4500   $3,245.00       Sale             8/12/2013        (27)    $33.0000      ($891.00)
Purchase                8/13/2013            100     $32.3600   $3,236.00       Sale             8/12/2013       (200)    $33.0000    ($6,600.00)
Purchase                8/13/2013            100     $32.4000   $3,240.00       Sale             8/12/2013       (200)    $33.0100    ($6,602.00)
Purchase                8/13/2013            100     $32.5000   $3,250.00       Sale             8/12/2013       (200)    $33.0100    ($6,602.00)
Purchase                8/13/2013             34     $32.6500   $1,110.10       Sale             8/12/2013       (200)    $33.0100    ($6,602.00)
Purchase                8/13/2013            100     $32.7600   $3,276.00       Sale             8/12/2013       (200)    $33.0100    ($6,602.00)
Purchase                8/13/2013            100     $32.7600   $3,276.00       Sale             8/12/2013        (42)    $33.0200    ($1,386.84)
Purchase                8/13/2013            100     $32.6600   $3,266.00       Sale             8/12/2013        (53)    $33.0200    ($1,750.06)
Purchase                8/13/2013            200     $32.7000   $6,540.00       Sale             8/13/2013       (100)    $32.9400    ($3,294.00)
Purchase                8/13/2013            200     $32.7100   $6,542.00       Sale             8/13/2013       (100)    $32.9400    ($3,294.00)
Purchase                8/13/2013            200     $32.7100   $6,542.00       Sale             8/13/2013       (100)    $32.9400    ($3,294.00)
Purchase                8/13/2013            100     $32.5100   $3,251.00       Sale             8/13/2013       (100)    $32.9400    ($3,294.00)
Purchase                8/13/2013            200     $32.5800   $6,516.00       Sale             8/13/2013        (60)    $32.9400    ($1,976.40)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/13/2013       (100)    $32.9000    ($3,290.00)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/13/2013       (100)    $32.9000    ($3,290.00)
Purchase                8/13/2013            200     $32.5100   $6,502.00       Sale             8/13/2013       (100)    $32.9000    ($3,290.00)
Purchase                8/14/2013            100     $32.5700   $3,257.00       Sale             8/13/2013       (100)    $32.8500    ($3,285.00)
Purchase                8/14/2013            100     $32.5200   $3,252.00       Sale             8/13/2013       (100)    $32.8500    ($3,285.00)
Purchase                8/14/2013            100     $32.5200   $3,252.00       Sale             8/13/2013       (100)    $32.8500    ($3,285.00)
Purchase                8/14/2013            100     $32.6700   $3,267.00       Sale             8/13/2013       (100)    $32.8100    ($3,281.00)
Purchase                8/14/2013            100     $32.6600   $3,266.00       Sale             8/13/2013       (100)    $32.8100    ($3,281.00)
Purchase                8/14/2013            100     $32.5700   $3,257.00       Sale             8/13/2013       (100)    $32.7600    ($3,276.00)
Purchase                8/14/2013            100     $32.5600   $3,256.00       Sale             8/13/2013       (100)    $32.7000    ($3,270.00)
Purchase                8/14/2013            200     $32.5700   $6,514.00       Sale             8/13/2013       (100)    $32.6200    ($3,262.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/14/2013             96     $32.5500   $3,124.80       Sale             8/13/2013       (100)    $32.8300    ($3,283.00)
Purchase                8/14/2013            200     $32.5300   $6,506.00       Sale             8/13/2013       (100)    $32.7400    ($3,274.00)
Purchase                8/14/2013            200     $32.5500   $6,510.00       Sale             8/13/2013       (100)    $32.8000    ($3,280.00)
Purchase                8/15/2013            100     $32.3800   $3,238.00       Sale             8/13/2013       (100)    $32.7900    ($3,279.00)
Purchase                8/15/2013            100     $32.3800   $3,238.00       Sale             8/13/2013       (100)    $32.6800    ($3,268.00)
Purchase                8/15/2013            100     $32.4300   $3,243.00       Sale             8/13/2013       (100)    $32.6900    ($3,269.00)
Purchase                8/15/2013            100     $32.4300   $3,243.00       Sale             8/13/2013       (100)    $32.5700    ($3,257.00)
Purchase                8/15/2013            100     $32.4600   $3,246.00       Sale             8/13/2013       (100)    $32.5700    ($3,257.00)
Purchase                8/15/2013            100     $32.6400   $3,264.00       Sale             8/13/2013       (100)    $32.4800    ($3,248.00)
Purchase                8/15/2013            100     $32.6000   $3,260.00       Sale             8/13/2013       (100)    $32.3800    ($3,238.00)
Purchase                8/15/2013             75     $32.5700   $2,442.75       Sale             8/13/2013       (100)    $32.3800    ($3,238.00)
Purchase                8/15/2013             25     $32.5700     $814.25       Sale             8/13/2013       (100)    $32.3800    ($3,238.00)
Purchase                8/15/2013            100     $32.5200   $3,252.00       Sale             8/13/2013       (100)    $32.4000    ($3,240.00)
Purchase                8/15/2013            100     $32.5200   $3,252.00       Sale             8/13/2013        (18)    $32.4800      ($584.64)
Purchase                8/15/2013            100     $32.3600   $3,236.00       Sale             8/13/2013       (100)    $32.5500    ($3,255.00)
Purchase                8/15/2013            100     $32.3500   $3,235.00       Sale             8/13/2013       (100)    $32.6700    ($3,267.00)
Purchase                8/15/2013            100     $32.2900   $3,229.00       Sale             8/13/2013       (100)    $32.6900    ($3,269.00)
Purchase                8/15/2013            100     $32.2900   $3,229.00       Sale             8/13/2013        (70)    $32.7300    ($2,291.10)
Purchase                8/15/2013            100     $32.3000   $3,230.00       Sale             8/13/2013       (200)    $32.7200    ($6,544.00)
Purchase                8/15/2013            100     $32.3000   $3,230.00       Sale             8/13/2013       (100)    $32.7400    ($3,274.00)
Purchase                8/15/2013            100     $32.3000   $3,230.00       Sale             8/13/2013       (200)    $32.5100    ($6,502.00)
Purchase                8/15/2013            100     $32.3600   $3,236.00       Sale             8/13/2013       (200)    $32.5100    ($6,502.00)
Purchase                8/15/2013            200     $32.5300   $6,506.00       Sale             8/13/2013       (200)    $32.5700    ($6,514.00)
Purchase                8/15/2013            200     $32.4200   $6,484.00       Sale             8/13/2013       (200)    $32.5700    ($6,514.00)
Purchase                8/15/2013            200     $32.4100   $6,482.00       Sale             8/13/2013       (200)    $32.5200    ($6,504.00)
Purchase                8/15/2013             57     $32.4100   $1,847.37       Sale             8/13/2013        (21)    $32.5200      ($682.92)
Purchase                8/15/2013            200     $32.3800   $6,476.00       Sale             8/13/2013       (200)    $32.5200    ($6,504.00)
Purchase                8/15/2013            100     $32.4000   $3,240.00       Sale             8/13/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/15/2013            200     $32.4000   $6,480.00       Sale             8/13/2013       (200)    $32.5400    ($6,508.00)
Purchase                8/15/2013             46     $32.4000   $1,490.40       Sale             8/14/2013       (100)    $32.6400    ($3,264.00)
Purchase                8/15/2013            200     $32.4000   $6,480.00       Sale             8/14/2013       (100)    $32.5200    ($3,252.00)
Purchase                8/15/2013            154     $32.4000   $4,989.60       Sale             8/14/2013       (100)    $32.5200    ($3,252.00)
Purchase                8/15/2013             47     $32.4000   $1,522.80       Sale             8/14/2013       (100)    $32.5400    ($3,254.00)
Purchase                8/16/2013            100     $32.6500   $3,265.00       Sale             8/14/2013       (100)    $32.6300    ($3,263.00)
Purchase                8/16/2013              6     $32.5600     $195.36       Sale             8/14/2013       (100)    $32.5800    ($3,258.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                8/16/2013            100     $32.6300     $3,263.00       Sale             8/14/2013       (100)    $32.5500     ($3,255.00)
Purchase                8/16/2013            100     $32.6300     $3,263.00       Sale             8/14/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/16/2013            100     $32.5600     $3,256.00       Sale             8/14/2013       (200)    $32.5400     ($6,508.00)
Purchase                8/16/2013            200     $32.5200     $6,504.00       Sale             8/14/2013     (4,380)    $32.5500   ($142,569.00)
Purchase                8/16/2013          5,400     $30.0000   $162,000.00       Sale             8/15/2013       (100)    $32.3700     ($3,237.00)
Purchase                8/16/2013            900     $22.5000    $20,250.00       Sale             8/15/2013       (100)    $32.3700     ($3,237.00)
Purchase                8/19/2013            100     $32.1400     $3,214.00       Sale             8/15/2013       (100)    $32.4900     ($3,249.00)
Purchase                8/19/2013            100     $32.2700     $3,227.00       Sale             8/15/2013       (100)    $32.3300     ($3,233.00)
Purchase                8/19/2013            100     $32.2300     $3,223.00       Sale             8/15/2013       (100)    $32.3400     ($3,234.00)
Purchase                8/19/2013            100     $32.1800     $3,218.00       Sale             8/15/2013       (100)    $32.3200     ($3,232.00)
Purchase                8/19/2013            100     $32.1200     $3,212.00       Sale             8/15/2013       (100)    $32.3200     ($3,232.00)
Purchase                8/19/2013            100     $32.1200     $3,212.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/19/2013             20     $32.1800       $643.60       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/19/2013            100     $32.2000     $3,220.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/19/2013            100     $32.2000     $3,220.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/19/2013            100     $32.2000     $3,220.00       Sale             8/15/2013       (100)    $32.3300     ($3,233.00)
Purchase                8/19/2013            200     $32.2000     $6,440.00       Sale             8/15/2013       (100)    $32.4500     ($3,245.00)
Purchase                8/19/2013            200     $32.2100     $6,442.00       Sale             8/15/2013       (100)    $32.6000     ($3,260.00)
Purchase                8/19/2013            100     $32.2100     $3,221.00       Sale             8/15/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/19/2013            100     $32.2100     $3,221.00       Sale             8/15/2013       (200)    $32.5000     ($6,500.00)
Purchase                8/19/2013            100     $32.2000     $3,220.00       Sale             8/15/2013       (200)    $32.3400     ($6,468.00)
Purchase                8/19/2013            200     $32.2000     $6,440.00       Sale             8/15/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/19/2013            100     $32.2200     $3,222.00       Sale             8/15/2013       (200)    $32.3500     ($6,470.00)
Purchase                8/19/2013            100     $32.2100     $3,221.00       Sale             8/15/2013       (200)    $32.3500     ($6,470.00)
Purchase                8/19/2013             45     $32.2400     $1,450.80       Sale             8/15/2013     (1,095)    $32.4000    ($35,478.00)
Purchase                8/19/2013            200     $32.2500     $6,450.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/19/2013            200     $32.2500     $6,450.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/19/2013              6     $32.2600       $193.56       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/19/2013            100     $32.2500     $3,225.00       Sale             8/16/2013       (100)    $32.6800     ($3,268.00)
Purchase                8/19/2013            118     $32.2500     $3,805.50       Sale             8/16/2013        (21)    $32.5900       ($684.39)
Purchase                8/20/2013            100     $32.1600     $3,216.00       Sale             8/16/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/20/2013            100     $32.1500     $3,215.00       Sale             8/16/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/20/2013            100     $32.2000     $3,220.00       Sale             8/16/2013       (100)    $32.4900     ($3,249.00)
Purchase                8/20/2013             33     $32.2500     $1,064.25       Sale             8/16/2013        (94)    $32.5000     ($3,055.00)
Purchase                8/20/2013            100     $32.4500     $3,245.00       Sale             8/16/2013       (100)    $32.5000     ($3,250.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/16/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/20/2013            100     $32.6700   $3,267.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/20/2013            100     $32.6200   $3,262.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/20/2013            100     $32.5900   $3,259.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/20/2013            200     $32.5000   $6,500.00       Sale             8/16/2013     (2,190)    $32.4400    ($71,043.60)
Purchase                8/20/2013            200     $32.5000   $6,500.00       Sale             8/16/2013     (1,000)    $22.5000    ($22,500.00)
Purchase                8/20/2013            200     $32.6100   $6,522.00       Sale             8/16/2013    (14,600)    $25.0000   ($365,000.00)
Purchase                8/20/2013            200     $32.6100   $6,522.00       Sale             8/16/2013     (1,000)    $30.0000    ($30,000.00)
Purchase                8/20/2013            100     $32.6000   $3,260.00       Sale             8/16/2013       (200)    $35.0000     ($7,000.00)
Purchase                8/20/2013            200     $32.5900   $6,518.00       Sale             8/19/2013       (100)    $32.0700     ($3,207.00)
Purchase                8/20/2013            100     $32.5500   $3,255.00       Sale             8/19/2013       (100)    $32.0300     ($3,203.00)
Purchase                8/20/2013            100     $32.5500   $3,255.00       Sale             8/19/2013       (100)    $32.0500     ($3,205.00)
Purchase                8/20/2013            100     $32.4500   $3,245.00       Sale             8/19/2013       (100)    $32.1300     ($3,213.00)
Purchase                8/20/2013            200     $32.4400   $6,488.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/20/2013            100     $32.4400   $3,244.00       Sale             8/19/2013       (100)    $32.1700     ($3,217.00)
Purchase                8/21/2013            100     $32.4000   $3,240.00       Sale             8/19/2013        (89)    $32.1700     ($2,863.13)
Purchase                8/21/2013            200     $32.3800   $6,476.00       Sale             8/19/2013       (100)    $32.1700     ($3,217.00)
Purchase                8/21/2013            200     $32.4900   $6,498.00       Sale             8/19/2013        (11)    $32.1700       ($353.87)
Purchase                8/21/2013            200     $32.4900   $6,498.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/21/2013            200     $32.3800   $6,476.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/22/2013            100     $32.6500   $3,265.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/22/2013            100     $32.6200   $3,262.00       Sale             8/19/2013       (200)    $32.1800     ($6,436.00)
Purchase                8/22/2013            100     $32.6000   $3,260.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/19/2013       (200)    $32.2600     ($6,452.00)
Purchase                8/22/2013            200     $32.5300   $6,506.00       Sale             8/19/2013       (200)    $32.2600     ($6,452.00)
Purchase                8/22/2013            200     $32.5400   $6,508.00       Sale             8/20/2013         (2)    $32.1800        ($64.36)
Purchase                8/23/2013            200     $32.5200   $6,504.00       Sale             8/20/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/23/2013            100     $32.5200   $3,252.00       Sale             8/20/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/23/2013            100     $32.5200   $3,252.00       Sale             8/20/2013       (100)    $32.4100     ($3,241.00)
Purchase                8/23/2013            100     $32.6100   $3,261.00       Sale             8/20/2013       (100)    $32.4400     ($3,244.00)
Purchase                8/23/2013            100     $32.6400   $3,264.00       Sale             8/20/2013       (100)    $32.5600     ($3,256.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/23/2013             99     $32.6100   $3,228.39       Sale             8/20/2013       (200)    $32.4900    ($6,498.00)
Purchase                8/23/2013            100     $32.6100   $3,261.00       Sale             8/20/2013       (200)    $32.5000    ($6,500.00)
Purchase                8/23/2013            198     $32.5600   $6,446.88       Sale             8/20/2013        (86)    $32.5000    ($2,795.00)
Purchase                8/23/2013             91     $32.5700   $2,963.87       Sale             8/20/2013       (200)    $32.5100    ($6,502.00)
Purchase                8/23/2013            200     $32.5600   $6,512.00       Sale             8/20/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/23/2013            100     $32.5500   $3,255.00       Sale             8/20/2013       (200)    $32.5100    ($6,502.00)
Purchase                8/26/2013            100     $32.1300   $3,213.00       Sale             8/20/2013       (100)    $32.5700    ($3,257.00)
Purchase                8/26/2013            100     $31.6400   $3,164.00       Sale             8/20/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/26/2013            100     $31.5100   $3,151.00       Sale             8/20/2013       (100)    $32.4600    ($3,246.00)
Purchase                8/26/2013            100     $31.3400   $3,134.00       Sale             8/21/2013       (200)    $32.4100    ($6,482.00)
Purchase                8/26/2013            100     $31.3300   $3,133.00       Sale             8/21/2013       (200)    $32.3500    ($6,470.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/21/2013       (200)    $32.3400    ($6,468.00)
Purchase                8/26/2013            100     $31.4100   $3,141.00       Sale             8/21/2013       (200)    $32.3400    ($6,468.00)
Purchase                8/26/2013            100     $31.4500   $3,145.00       Sale             8/22/2013       (100)    $32.7000    ($3,270.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/22/2013        (47)    $32.5200    ($1,528.44)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/22/2013       (100)    $32.5200    ($3,252.00)
Purchase                8/26/2013            100     $31.6900   $3,169.00       Sale             8/22/2013       (100)    $32.5200    ($3,252.00)
Purchase                8/26/2013            100     $31.6400   $3,164.00       Sale             8/22/2013       (100)    $32.5100    ($3,251.00)
Purchase                8/26/2013            100     $31.5200   $3,152.00       Sale             8/22/2013       (100)    $32.5100    ($3,251.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/22/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/26/2013            100     $31.6600   $3,166.00       Sale             8/22/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/26/2013            100     $31.7900   $3,179.00       Sale             8/22/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/26/2013            100     $31.8300   $3,183.00       Sale             8/22/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/26/2013            100     $31.8300   $3,183.00       Sale             8/22/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/26/2013            100     $31.7700   $3,177.00       Sale             8/23/2013       (100)    $32.5200    ($3,252.00)
Purchase                8/26/2013            100     $31.7700   $3,177.00       Sale             8/23/2013       (100)    $32.6400    ($3,264.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/23/2013         (1)    $32.6400       ($32.64)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/23/2013        (99)    $32.6400    ($3,231.36)
Purchase                8/26/2013            200     $31.6200   $6,324.00       Sale             8/23/2013       (100)    $32.5600    ($3,256.00)
Purchase                8/26/2013            200     $31.6400   $6,328.00       Sale             8/23/2013       (100)    $32.5600    ($3,256.00)
Purchase                8/26/2013            200     $31.5700   $6,314.00       Sale             8/23/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/26/2013            100     $31.5300   $3,153.00       Sale             8/23/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/26/2013            100     $31.5900   $3,159.00       Sale             8/23/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/26/2013            100     $31.5000   $3,150.00       Sale             8/23/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/26/2013            200     $31.5000   $6,300.00       Sale             8/23/2013     (1,971)    $32.5600   ($64,175.76)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/26/2013            100     $31.5000   $3,150.00       Sale             8/26/2013       (100)    $32.1400    ($3,214.00)
Purchase                8/26/2013            200     $31.5400   $6,308.00       Sale             8/26/2013       (100)    $32.1500    ($3,215.00)
Purchase                8/27/2013            100     $31.1500   $3,115.00       Sale             8/26/2013       (100)    $31.6500    ($3,165.00)
Purchase                8/27/2013             87     $31.2000   $2,714.40       Sale             8/26/2013       (100)    $31.6400    ($3,164.00)
Purchase                8/27/2013            100     $31.0300   $3,103.00       Sale             8/26/2013       (100)    $31.5700    ($3,157.00)
Purchase                8/27/2013            100     $31.0300   $3,103.00       Sale             8/26/2013       (100)    $31.6200    ($3,162.00)
Purchase                8/27/2013            100     $31.2800   $3,128.00       Sale             8/26/2013        (11)    $31.6700      ($348.37)
Purchase                8/27/2013            100     $31.2800   $3,128.00       Sale             8/26/2013       (100)    $31.6500    ($3,165.00)
Purchase                8/27/2013            100     $31.3100   $3,131.00       Sale             8/26/2013       (100)    $31.5000    ($3,150.00)
Purchase                8/27/2013            100     $31.3100   $3,131.00       Sale             8/26/2013        (20)    $31.4600      ($629.20)
Purchase                8/27/2013            100     $31.3500   $3,135.00       Sale             8/26/2013        (19)    $31.3700      ($596.03)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/26/2013       (100)    $31.2900    ($3,129.00)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/26/2013       (100)    $31.2400    ($3,124.00)
Purchase                8/27/2013            100     $31.2700   $3,127.00       Sale             8/26/2013       (100)    $31.2600    ($3,126.00)
Purchase                8/27/2013            100     $31.2700   $3,127.00       Sale             8/26/2013       (100)    $31.2600    ($3,126.00)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/26/2013       (100)    $31.3800    ($3,138.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/26/2013       (100)    $31.4200    ($3,142.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/26/2013       (100)    $31.4300    ($3,143.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/26/2013       (100)    $31.4400    ($3,144.00)
Purchase                8/27/2013            100     $31.3200   $3,132.00       Sale             8/26/2013       (100)    $31.4400    ($3,144.00)
Purchase                8/27/2013            200     $31.2100   $6,242.00       Sale             8/26/2013       (100)    $31.5300    ($3,153.00)
Purchase                8/27/2013            100     $31.1800   $3,118.00       Sale             8/26/2013       (100)    $31.5300    ($3,153.00)
Purchase                8/27/2013            200     $31.1900   $6,238.00       Sale             8/26/2013       (100)    $31.5200    ($3,152.00)
Purchase                8/27/2013            190     $31.1900   $5,926.10       Sale             8/26/2013       (100)    $31.5700    ($3,157.00)
Purchase                8/27/2013            200     $31.0000   $6,200.00       Sale             8/26/2013       (100)    $31.6800    ($3,168.00)
Purchase                8/27/2013            100     $30.9500   $3,095.00       Sale             8/26/2013       (100)    $31.8300    ($3,183.00)
Purchase                8/27/2013            197     $30.9200   $6,091.24       Sale             8/26/2013       (100)    $31.8300    ($3,183.00)
Purchase                8/28/2013            100     $31.1500   $3,115.00       Sale             8/26/2013       (100)    $31.7600    ($3,176.00)
Purchase                8/28/2013            100     $31.2000   $3,120.00       Sale             8/26/2013       (100)    $31.6900    ($3,169.00)
Purchase                8/28/2013            100     $31.2000   $3,120.00       Sale             8/26/2013       (100)    $31.6600    ($3,166.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.6600    ($3,166.00)
Purchase                8/28/2013            100     $31.1800   $3,118.00       Sale             8/26/2013       (200)    $31.6300    ($6,326.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (200)    $31.6300    ($6,326.00)
Purchase                8/28/2013            100     $31.2200   $3,122.00       Sale             8/26/2013       (100)    $31.5400    ($3,154.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (200)    $31.5400    ($6,308.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (200)    $31.5900    ($6,318.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (200)    $31.5200    ($6,304.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (200)    $31.5400    ($6,308.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (100)    $31.5400    ($3,154.00)
Purchase                8/28/2013            100     $30.9600   $3,096.00       Sale             8/26/2013       (100)    $31.5000    ($3,150.00)
Purchase                8/28/2013            100     $30.9700   $3,097.00       Sale             8/26/2013        (53)    $31.5000    ($1,669.50)
Purchase                8/28/2013            200     $30.9700   $6,194.00       Sale             8/26/2013        (89)    $31.5000    ($2,803.50)
Purchase                8/28/2013            100     $30.9800   $3,098.00       Sale             8/26/2013       (100)    $31.5000    ($3,150.00)
Purchase                8/28/2013            100     $30.9800   $3,098.00       Sale             8/26/2013        (58)    $31.5000    ($1,827.00)
Purchase                8/28/2013            188     $30.9800   $5,824.24       Sale             8/27/2013        (58)    $31.0800    ($1,802.64)
Purchase                8/28/2013            100     $31.0900   $3,109.00       Sale             8/27/2013       (100)    $31.0600    ($3,106.00)
Purchase                8/28/2013            200     $31.0900   $6,218.00       Sale             8/27/2013       (100)    $31.1600    ($3,116.00)
Purchase                8/28/2013            100     $31.0400   $3,104.00       Sale             8/27/2013       (100)    $31.2100    ($3,121.00)
Purchase                8/28/2013            100     $31.0300   $3,103.00       Sale             8/27/2013       (100)    $31.2100    ($3,121.00)
Purchase                8/29/2013            100     $31.0600   $3,106.00       Sale             8/27/2013       (100)    $31.0300    ($3,103.00)
Purchase                8/29/2013            100     $31.0600   $3,106.00       Sale             8/27/2013       (100)    $31.0700    ($3,107.00)
Purchase                8/29/2013            100     $30.9300   $3,093.00       Sale             8/27/2013       (100)    $31.0800    ($3,108.00)
Purchase                8/29/2013            100     $31.0300   $3,103.00       Sale             8/27/2013       (100)    $31.2400    ($3,124.00)
Purchase                8/29/2013            100     $31.0300   $3,103.00       Sale             8/27/2013       (100)    $31.2900    ($3,129.00)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013        (98)    $31.2900    ($3,066.42)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013       (100)    $31.3200    ($3,132.00)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013       (100)    $31.3600    ($3,136.00)
Purchase                8/29/2013            200     $31.0000   $6,200.00       Sale             8/27/2013       (100)    $31.3000    ($3,130.00)
Purchase                8/29/2013            200     $31.0500   $6,210.00       Sale             8/27/2013       (100)    $31.3000    ($3,130.00)
Purchase                8/29/2013            200     $31.0000   $6,200.00       Sale             8/27/2013       (100)    $31.2700    ($3,127.00)
Purchase                8/30/2013            100     $31.4100   $3,141.00       Sale             8/27/2013       (100)    $31.2700    ($3,127.00)
Purchase                8/30/2013            100     $31.4300   $3,143.00       Sale             8/27/2013       (100)    $31.2700    ($3,127.00)
Purchase                8/30/2013            100     $31.4400   $3,144.00       Sale             8/27/2013       (100)    $31.2800    ($3,128.00)
Purchase                8/30/2013            100     $31.4500   $3,145.00       Sale             8/27/2013       (100)    $31.2700    ($3,127.00)
Purchase                8/30/2013            100     $31.5300   $3,153.00       Sale             8/27/2013       (100)    $31.2800    ($3,128.00)
Purchase                8/30/2013            100     $31.5300   $3,153.00       Sale             8/27/2013       (100)    $31.2600    ($3,126.00)
Purchase                8/30/2013            100     $31.5100   $3,151.00       Sale             8/27/2013       (200)    $31.1600    ($6,232.00)
Purchase                8/30/2013            100     $31.5000   $3,150.00       Sale             8/27/2013       (200)    $31.1800    ($6,236.00)
Purchase                8/30/2013            100     $31.5000   $3,150.00       Sale             8/27/2013       (200)    $31.1600    ($6,232.00)
Purchase                8/30/2013            100     $31.8200   $3,182.00       Sale             8/27/2013       (100)    $30.9400    ($3,094.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/30/2013            100     $31.8100   $3,181.00       Sale             8/27/2013       (200)    $30.9900    ($6,198.00)
Purchase                8/30/2013             90     $31.7900   $2,861.10       Sale             8/27/2013       (200)    $30.9900    ($6,198.00)
Purchase                8/30/2013            100     $31.8400   $3,184.00       Sale             8/27/2013       (200)    $30.9400    ($6,188.00)
Purchase                8/30/2013            200     $31.8500   $6,370.00       Sale             8/27/2013       (156)    $30.9500    ($4,828.20)
Purchase                8/30/2013            100     $31.9500   $3,195.00       Sale             8/27/2013        (93)    $30.9800    ($2,881.14)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/28/2013       (100)    $31.2200    ($3,122.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/28/2013       (100)    $31.2300    ($3,123.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/28/2013       (100)    $31.2200    ($3,122.00)
Purchase                8/30/2013            100     $31.9200   $3,192.00       Sale             8/28/2013       (100)    $31.2200    ($3,122.00)
Purchase                8/30/2013            100     $31.8700   $3,187.00       Sale             8/28/2013       (100)    $31.2300    ($3,123.00)
Purchase                8/30/2013            143     $31.8700   $4,557.41       Sale             8/28/2013       (100)    $31.1100    ($3,111.00)
Purchase                8/30/2013             57     $31.8600   $1,816.02       Sale             8/28/2013       (100)    $31.0400    ($3,104.00)
Purchase                8/30/2013            200     $31.8700   $6,374.00       Sale             8/28/2013       (100)    $31.0300    ($3,103.00)
Purchase                8/30/2013            200     $31.8700   $6,374.00       Sale             8/28/2013       (100)    $31.0200    ($3,102.00)
Purchase                8/30/2013            200     $31.9100   $6,382.00       Sale             8/28/2013       (100)    $31.0300    ($3,103.00)
Purchase                8/30/2013            200     $31.9100   $6,382.00       Sale             8/28/2013       (200)    $31.0200    ($6,204.00)
Purchase                8/30/2013            200     $31.9500   $6,390.00       Sale             8/28/2013       (200)    $31.0000    ($6,200.00)
Purchase                8/30/2013            120     $31.9500   $3,834.00       Sale             8/28/2013       (200)    $30.8700    ($6,174.00)
Purchase                8/30/2013             39     $31.9500   $1,246.05       Sale             8/28/2013       (200)    $30.9800    ($6,196.00)
Purchase                 9/3/2013             80     $31.9600   $2,556.80       Sale             8/28/2013       (200)    $30.9800    ($6,196.00)
Purchase                 9/3/2013            100     $31.9600   $3,196.00       Sale             8/28/2013       (200)    $30.9800    ($6,196.00)
Purchase                 9/3/2013            100     $31.9300   $3,193.00       Sale             8/28/2013       (200)    $31.1000    ($6,220.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/29/2013       (100)    $31.0500    ($3,105.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/29/2013       (100)    $31.0500    ($3,105.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/29/2013       (100)    $30.9900    ($3,099.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/29/2013       (100)    $30.9900    ($3,099.00)
Purchase                 9/3/2013            100     $31.9700   $3,197.00       Sale             8/29/2013       (100)    $31.0400    ($3,104.00)
Purchase                 9/3/2013            100     $31.9700   $3,197.00       Sale             8/29/2013       (100)    $31.0400    ($3,104.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/29/2013       (100)    $31.0300    ($3,103.00)
Purchase                 9/3/2013            100     $31.9300   $3,193.00       Sale             8/29/2013       (100)    $31.0200    ($3,102.00)
Purchase                 9/3/2013            100     $31.7600   $3,176.00       Sale             8/29/2013       (100)    $30.9900    ($3,099.00)
Purchase                 9/3/2013            100     $31.7300   $3,173.00       Sale             8/29/2013       (100)    $30.9900    ($3,099.00)
Purchase                 9/3/2013              8     $31.7300     $253.84       Sale             8/29/2013       (100)    $31.0200    ($3,102.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (200)    $31.0100    ($6,202.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (200)    $31.0100    ($6,202.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (200)    $31.0100    ($6,202.00)
Purchase                 9/3/2013             99     $31.6500   $3,133.35       Sale             8/29/2013       (300)    $15.0000    ($4,500.00)
Purchase                 9/4/2013            100     $32.1000   $3,210.00       Sale             8/30/2013       (100)    $31.5200    ($3,152.00)
Purchase                 9/4/2013            100     $32.1300   $3,213.00       Sale             8/30/2013       (100)    $31.5100    ($3,151.00)
Purchase                 9/4/2013            100     $32.2200   $3,222.00       Sale             8/30/2013       (100)    $31.5100    ($3,151.00)
Purchase                 9/4/2013            100     $32.1200   $3,212.00       Sale             8/30/2013       (100)    $31.5100    ($3,151.00)
Purchase                 9/4/2013             38     $32.1100   $1,220.18       Sale             8/30/2013        (45)    $31.7600    ($1,429.20)
Purchase                 9/4/2013            100     $32.1100   $3,211.00       Sale             8/30/2013       (100)    $31.7600    ($3,176.00)
Purchase                 9/4/2013            100     $32.1100   $3,211.00       Sale             8/30/2013       (100)    $31.7400    ($3,174.00)
Purchase                 9/4/2013            100     $32.0600   $3,206.00       Sale             8/30/2013       (100)    $31.7400    ($3,174.00)
Purchase                 9/4/2013            100     $32.1000   $3,210.00       Sale             8/30/2013       (200)    $31.8400    ($6,368.00)
Purchase                 9/4/2013             30     $32.1000     $963.00       Sale             8/30/2013       (100)    $31.9200    ($3,192.00)
Purchase                 9/4/2013            100     $32.2400   $3,224.00       Sale             8/30/2013       (200)    $31.9400    ($6,388.00)
Purchase                 9/4/2013            100     $32.3000   $3,230.00       Sale             8/30/2013     (1,000)    $31.9300   ($31,930.00)
Purchase                 9/4/2013            100     $32.4500   $3,245.00       Sale             8/30/2013     (2,628)    $31.9300   ($83,912.04)
Purchase                 9/4/2013            100     $32.4400   $3,244.00       Sale              9/3/2013       (100)    $31.9500    ($3,195.00)
Purchase                 9/4/2013            100     $32.4500   $3,245.00       Sale              9/3/2013       (100)    $31.9600    ($3,196.00)
Purchase                 9/4/2013            100     $32.3900   $3,239.00       Sale              9/3/2013       (100)    $31.9700    ($3,197.00)
Purchase                 9/4/2013            100     $32.4100   $3,241.00       Sale              9/3/2013       (100)    $31.9900    ($3,199.00)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.9500    ($3,195.00)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.5800   $3,258.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.5500   $3,255.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (100)    $31.6900    ($3,169.00)
Purchase                 9/4/2013            100     $32.3800   $3,238.00       Sale              9/3/2013       (100)    $31.7100    ($3,171.00)
Purchase                 9/4/2013            100     $32.3800   $3,238.00       Sale              9/3/2013        (81)    $31.7400    ($2,570.94)
Purchase                 9/4/2013            100     $32.5300   $3,253.00       Sale              9/3/2013       (119)    $31.7400    ($3,777.06)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (200)    $31.7400    ($6,348.00)
Purchase                 9/4/2013             60     $32.5100   $1,950.60       Sale              9/3/2013       (200)    $31.7500    ($6,350.00)
Purchase                 9/4/2013             40     $32.5100   $1,300.40       Sale              9/3/2013       (200)    $31.6300    ($6,326.00)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (100)    $31.6500    ($3,165.00)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (200)    $31.6500    ($6,330.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale              9/3/2013        (55)    $31.6500    ($1,740.75)
Purchase                 9/4/2013            200     $32.5900   $6,518.00       Sale              9/3/2013       (200)    $31.6600    ($6,332.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 9/4/2013            199     $32.5900   $6,485.41       Sale             9/3/2013       (200)    $31.6600    ($6,332.00)
Purchase                 9/4/2013            200     $32.6800   $6,536.00       Sale             9/4/2013       (100)    $32.1000    ($3,210.00)
Purchase                 9/4/2013            190     $32.7100   $6,214.90       Sale             9/4/2013       (100)    $32.4500    ($3,245.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale             9/4/2013       (100)    $32.4300    ($3,243.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale             9/4/2013       (100)    $32.4000    ($3,240.00)
Purchase                 9/5/2013             99     $32.8200   $3,249.18       Sale             9/4/2013       (100)    $32.4400    ($3,244.00)
Purchase                 9/5/2013            100     $32.6400   $3,264.00       Sale             9/4/2013       (100)    $32.4100    ($3,241.00)
Purchase                 9/5/2013            200     $32.6200   $6,524.00       Sale             9/4/2013       (100)    $32.4100    ($3,241.00)
Purchase                 9/5/2013            200     $32.6200   $6,524.00       Sale             9/4/2013       (100)    $32.4300    ($3,243.00)
Purchase                 9/5/2013            200     $32.6900   $6,538.00       Sale             9/4/2013       (100)    $32.4700    ($3,247.00)
Purchase                 9/5/2013            200     $32.5600   $6,512.00       Sale             9/4/2013       (100)    $32.5200    ($3,252.00)
Purchase                 9/5/2013            200     $32.5500   $6,510.00       Sale             9/4/2013       (100)    $32.4000    ($3,240.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (100)    $32.4000    ($3,240.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (100)    $32.5200    ($3,252.00)
Purchase                 9/6/2013            100     $32.4300   $3,243.00       Sale             9/4/2013       (100)    $32.5200    ($3,252.00)
Purchase                 9/6/2013            100     $32.4400   $3,244.00       Sale             9/4/2013       (100)    $32.5200    ($3,252.00)
Purchase                 9/6/2013            100     $32.4400   $3,244.00       Sale             9/4/2013       (120)    $32.5200    ($3,902.40)
Purchase                 9/6/2013            100     $32.7100   $3,271.00       Sale             9/4/2013       (200)    $32.6000    ($6,520.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (200)    $32.6000    ($6,520.00)
Purchase                 9/6/2013            100     $32.7600   $3,276.00       Sale             9/4/2013        (77)    $32.6000    ($2,510.20)
Purchase                 9/6/2013            100     $32.7500   $3,275.00       Sale             9/4/2013       (200)    $32.6900    ($6,538.00)
Purchase                 9/6/2013            100     $32.7600   $3,276.00       Sale             9/4/2013       (200)    $32.6900    ($6,538.00)
Purchase                 9/6/2013            200     $32.6900   $6,538.00       Sale             9/5/2013       (200)    $32.6500    ($6,530.00)
Purchase                 9/6/2013             96     $32.6100   $3,130.56       Sale             9/5/2013       (200)    $32.5300    ($6,506.00)
Purchase                 9/6/2013            100     $32.5600   $3,256.00       Sale             9/5/2013       (200)    $32.5300    ($6,506.00)
Purchase                 9/6/2013            200     $32.3300   $6,466.00       Sale             9/5/2013       (200)    $32.5600    ($6,512.00)
Purchase                 9/9/2013            100     $32.5400   $3,254.00       Sale             9/6/2013       (100)    $32.3900    ($3,239.00)
Purchase                 9/9/2013            100     $32.5400   $3,254.00       Sale             9/6/2013       (100)    $32.3900    ($3,239.00)
Purchase                 9/9/2013            100     $32.7200   $3,272.00       Sale             9/6/2013       (100)    $32.3900    ($3,239.00)
Purchase                 9/9/2013             36     $32.7300   $1,178.28       Sale             9/6/2013       (100)    $32.3900    ($3,239.00)
Purchase                 9/9/2013            100     $32.7100   $3,271.00       Sale             9/6/2013       (100)    $32.5300    ($3,253.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (100)    $32.7400    ($3,274.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (200)    $32.7100    ($6,542.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (100)    $32.5700    ($3,257.00)
Purchase                 9/9/2013            100     $32.7200   $3,272.00       Sale             9/6/2013       (100)    $32.5300    ($3,253.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                 9/9/2013            100     $32.7000   $3,270.00       Sale              9/6/2013       (200)    $32.3600    ($6,472.00)
Purchase                 9/9/2013            100     $32.7000   $3,270.00       Sale              9/6/2013       (200)    $32.3600    ($6,472.00)
Purchase                 9/9/2013            198     $32.7500   $6,484.50       Sale              9/6/2013       (200)    $32.3600    ($6,472.00)
Purchase                 9/9/2013            100     $32.7500   $3,275.00       Sale              9/6/2013       (200)    $32.3600    ($6,472.00)
Purchase                 9/9/2013            200     $32.8000   $6,560.00       Sale              9/9/2013       (100)    $32.4400    ($3,244.00)
Purchase                 9/9/2013             32     $32.8000   $1,049.60       Sale              9/9/2013       (100)    $32.4400    ($3,244.00)
Purchase                 9/9/2013            200     $32.8000   $6,560.00       Sale              9/9/2013       (100)    $32.4800    ($3,248.00)
Purchase                 9/9/2013            100     $32.8100   $3,281.00       Sale              9/9/2013       (100)    $32.5000    ($3,250.00)
Purchase                9/10/2013            100     $32.8300   $3,283.00       Sale              9/9/2013       (100)    $32.5000    ($3,250.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.5900    ($3,259.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.5900    ($3,259.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.6700    ($3,267.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.7300    ($3,273.00)
Purchase                9/10/2013            100     $32.7100   $3,271.00       Sale              9/9/2013       (148)    $32.7200    ($4,842.56)
Purchase                9/10/2013            100     $32.6400   $3,264.00       Sale              9/9/2013       (200)    $32.7500    ($6,550.00)
Purchase                9/10/2013            100     $32.6300   $3,263.00       Sale              9/9/2013       (200)    $32.8000    ($6,560.00)
Purchase                9/10/2013            100     $32.6100   $3,261.00       Sale              9/9/2013       (100)    $32.7800    ($3,278.00)
Purchase                9/10/2013            100     $32.5300   $3,253.00       Sale              9/9/2013       (200)    $32.7900    ($6,558.00)
Purchase                9/10/2013            200     $32.6200   $6,524.00       Sale             9/10/2013       (100)    $32.6000    ($3,260.00)
Purchase                9/10/2013            200     $32.6200   $6,524.00       Sale             9/10/2013        (97)    $32.6200    ($3,164.14)
Purchase                9/10/2013            200     $32.6900   $6,538.00       Sale             9/10/2013       (100)    $32.6000    ($3,260.00)
Purchase                9/10/2013            200     $32.6900   $6,538.00       Sale             9/10/2013       (100)    $32.5000    ($3,250.00)
Purchase                9/10/2013            165     $32.6700   $5,390.55       Sale             9/10/2013       (100)    $32.5000    ($3,250.00)
Purchase                9/10/2013             70     $32.6700   $2,286.90       Sale             9/10/2013       (200)    $32.5700    ($6,514.00)
Purchase                9/10/2013              6     $32.6700     $196.02       Sale             9/10/2013       (200)    $32.5800    ($6,516.00)
Purchase                9/10/2013              9     $32.6600     $293.94       Sale             9/10/2013       (200)    $32.5800    ($6,516.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/10/2013       (200)    $32.6700    ($6,534.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0000    ($3,300.00)
Purchase                9/11/2013            100     $32.9300   $3,293.00       Sale             9/11/2013       (100)    $33.0100    ($3,301.00)
Purchase                9/11/2013            100     $32.9200   $3,292.00       Sale             9/11/2013       (100)    $33.0100    ($3,301.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0100    ($3,301.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0100    ($3,301.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013       (100)    $32.9700    ($3,297.00)
Purchase                9/11/2013              9     $32.9900     $296.91       Sale             9/11/2013       (100)    $32.9600    ($3,296.00)
Purchase                9/11/2013             91     $32.9900   $3,002.09       Sale             9/11/2013       (100)    $32.9700    ($3,297.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $32.8500    ($3,285.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $32.9400    ($3,294.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013       (100)    $32.9400    ($3,294.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (200)    $32.9300    ($6,586.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013         (1)    $32.9200       ($32.92)
Purchase                9/11/2013              1     $32.9400      $32.94       Sale             9/11/2013       (200)    $32.9200    ($6,584.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/11/2013       (200)    $32.9200    ($6,584.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (100)    $32.9800    ($3,298.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (100)    $33.0000    ($3,300.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (100)    $33.0000    ($3,300.00)
Purchase                9/11/2013             44     $32.9400   $1,449.36       Sale             9/12/2013       (100)    $33.0100    ($3,301.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (100)    $33.0100    ($3,301.00)
Purchase                9/11/2013             56     $32.9400   $1,844.64       Sale             9/12/2013       (100)    $33.0000    ($3,300.00)
Purchase                9/11/2013            100     $32.9200   $3,292.00       Sale             9/12/2013       (100)    $33.0500    ($3,305.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (200)    $33.0600    ($6,612.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (200)    $33.0500    ($6,610.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/12/2013       (200)    $33.0400    ($6,608.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/13/2013       (100)    $33.1200    ($3,312.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/13/2013       (100)    $33.1400    ($3,314.00)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013        (63)    $33.1600    ($2,089.08)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013       (100)    $33.1800    ($3,318.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.2000    ($3,320.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.1700    ($3,317.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.1700    ($3,317.00)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013       (200)    $33.2200    ($6,644.00)
Purchase                9/12/2013            200     $33.0500   $6,610.00       Sale             9/16/2013       (100)    $32.0400    ($3,204.00)
Purchase                9/12/2013            200     $33.0500   $6,610.00       Sale             9/16/2013       (100)    $32.1000    ($3,210.00)
Purchase                9/12/2013            200     $33.0700   $6,614.00       Sale             9/16/2013       (100)    $32.0000    ($3,200.00)
Purchase                9/12/2013            200     $33.0700   $6,614.00       Sale             9/16/2013       (100)    $32.0200    ($3,202.00)
Purchase                9/12/2013            200     $33.0600   $6,612.00       Sale             9/16/2013         (6)    $32.1500      ($192.90)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3200    ($3,232.00)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3100    ($3,231.00)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3800    ($3,238.00)
Purchase                9/13/2013            100     $33.0600   $3,306.00       Sale             9/16/2013       (100)    $32.3500    ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3500    ($3,235.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3500    ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3600    ($3,236.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3800    ($3,238.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.4300    ($3,243.00)
Purchase                9/13/2013            100     $33.1100   $3,311.00       Sale             9/16/2013       (100)    $32.3500    ($3,235.00)
Purchase                9/13/2013            200     $33.1700   $6,634.00       Sale             9/16/2013       (100)    $32.4100    ($3,241.00)
Purchase                9/13/2013            100     $33.1800   $3,318.00       Sale             9/16/2013       (100)    $32.4100    ($3,241.00)
Purchase                9/13/2013            200     $33.2200   $6,644.00       Sale             9/16/2013       (100)    $32.5000    ($3,250.00)
Purchase                9/13/2013            200     $33.2500   $6,650.00       Sale             9/16/2013       (100)    $32.6400    ($3,264.00)
Purchase                9/16/2013            100     $32.3200   $3,232.00       Sale             9/16/2013       (100)    $32.6400    ($3,264.00)
Purchase                9/16/2013            100     $32.3000   $3,230.00       Sale             9/16/2013       (200)    $32.6600    ($6,532.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (200)    $32.7000    ($6,540.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (100)    $32.7000    ($3,270.00)
Purchase                9/16/2013            100     $32.2200   $3,222.00       Sale             9/16/2013       (100)    $32.7000    ($3,270.00)
Purchase                9/16/2013             57     $32.2800   $1,839.96       Sale             9/16/2013       (200)    $32.5100    ($6,502.00)
Purchase                9/16/2013             43     $32.2800   $1,388.04       Sale             9/16/2013       (200)    $32.4900    ($6,498.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (200)    $32.4400    ($6,488.00)
Purchase                9/16/2013            100     $32.4200   $3,242.00       Sale             9/16/2013       (100)    $32.4400    ($3,244.00)
Purchase                9/16/2013            100     $32.4200   $3,242.00       Sale             9/16/2013       (200)    $32.3100    ($6,462.00)
Purchase                9/16/2013            100     $32.5000   $3,250.00       Sale             9/16/2013       (200)    $32.2800    ($6,456.00)
Purchase                9/16/2013            200     $32.7300   $6,546.00       Sale             9/16/2013       (200)    $32.3000    ($6,460.00)
Purchase                9/16/2013            200     $32.7200   $6,544.00       Sale             9/17/2013       (100)    $32.2600    ($3,226.00)
Purchase                9/16/2013            200     $32.7000   $6,540.00       Sale             9/17/2013       (100)    $32.2500    ($3,225.00)
Purchase                9/16/2013            200     $32.5400   $6,508.00       Sale             9/17/2013        (97)    $32.2500    ($3,128.25)
Purchase                9/16/2013            200     $32.5300   $6,506.00       Sale             9/17/2013       (100)    $32.2200    ($3,222.00)
Purchase                9/16/2013            200     $32.5300   $6,506.00       Sale             9/17/2013       (100)    $31.9900    ($3,199.00)
Purchase                9/16/2013            100     $32.4400   $3,244.00       Sale             9/17/2013       (100)    $32.0000    ($3,200.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (100)    $32.0100    ($3,201.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (200)    $31.8800    ($6,376.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (200)    $31.8500    ($6,370.00)
Purchase                9/17/2013            100     $32.2000   $3,220.00       Sale             9/17/2013       (100)    $31.7400    ($3,174.00)
Purchase                9/17/2013            100     $31.9900   $3,199.00       Sale             9/17/2013        (63)    $31.5500    ($1,987.65)
Purchase                9/17/2013            100     $31.9900   $3,199.00       Sale             9/17/2013       (200)    $31.3200    ($6,264.00)
Purchase                9/17/2013            200     $31.8900   $6,378.00       Sale             9/17/2013       (100)    $31.1300    ($3,113.00)
Purchase                9/17/2013            200     $31.8900   $6,378.00       Sale             9/17/2013       (200)    $31.1700    ($6,234.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/17/2013            100     $31.3000   $3,130.00       Sale             9/17/2013       (200)    $31.1700    ($6,234.00)
Purchase                9/17/2013            200     $31.2700   $6,254.00       Sale             9/17/2013       (200)    $30.9800    ($6,196.00)
Purchase                9/17/2013            200     $31.1900   $6,238.00       Sale             9/17/2013       (200)    $30.8900    ($6,178.00)
Purchase                9/17/2013            100     $31.1900   $3,119.00       Sale             9/17/2013        (50)    $30.8100    ($1,540.50)
Purchase                9/17/2013            200     $30.9100   $6,182.00       Sale             9/17/2013       (200)    $30.7400    ($6,148.00)
Purchase                9/17/2013            200     $30.9100   $6,182.00       Sale             9/17/2013       (200)    $30.7900    ($6,158.00)
Purchase                9/17/2013            100     $30.8600   $3,086.00       Sale             9/17/2013       (100)    $30.5900    ($3,059.00)
Purchase                9/17/2013            120     $30.7600   $3,691.20       Sale             9/17/2013       (200)    $30.5600    ($6,112.00)
Purchase                9/17/2013             82     $30.5600   $2,505.92       Sale             9/17/2013       (200)    $30.5900    ($6,118.00)
Purchase                9/18/2013            100     $30.9000   $3,090.00       Sale             9/17/2013       (100)    $30.6000    ($3,060.00)
Purchase                9/18/2013            100     $30.8300   $3,083.00       Sale             9/17/2013       (100)    $30.6000    ($3,060.00)
Purchase                9/18/2013            100     $30.8300   $3,083.00       Sale             9/17/2013       (200)    $30.6200    ($6,124.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.6200    ($6,124.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.7400    ($6,148.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.7000    ($6,140.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (100)    $30.6900    ($3,069.00)
Purchase                9/18/2013            100     $30.8600   $3,086.00       Sale             9/17/2013       (100)    $30.6900    ($3,069.00)
Purchase                9/18/2013            100     $30.8600   $3,086.00       Sale             9/18/2013       (100)    $30.7200    ($3,072.00)
Purchase                9/18/2013            100     $31.1300   $3,113.00       Sale             9/18/2013       (100)    $30.7800    ($3,078.00)
Purchase                9/18/2013             94     $31.1300   $2,926.22       Sale             9/18/2013       (100)    $30.7000    ($3,070.00)
Purchase                9/18/2013            100     $31.0900   $3,109.00       Sale             9/18/2013       (100)    $30.7000    ($3,070.00)
Purchase                9/18/2013             96     $31.0900   $2,984.64       Sale             9/18/2013       (100)    $30.8100    ($3,081.00)
Purchase                9/18/2013              4     $31.0900     $124.36       Sale             9/18/2013       (100)    $31.1700    ($3,117.00)
Purchase                9/18/2013            100     $31.0600   $3,106.00       Sale             9/18/2013       (200)    $31.1600    ($6,232.00)
Purchase                9/18/2013            100     $31.1100   $3,111.00       Sale             9/18/2013       (100)    $31.2400    ($3,124.00)
Purchase                9/18/2013            200     $31.1200   $6,224.00       Sale             9/18/2013       (100)    $31.2400    ($3,124.00)
Purchase                9/18/2013            200     $31.3300   $6,266.00       Sale             9/19/2013       (100)    $31.2700    ($3,127.00)
Purchase                9/18/2013            100     $31.3200   $3,132.00       Sale             9/19/2013       (200)    $31.1500    ($6,230.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/19/2013       (200)    $31.1900    ($6,238.00)
Purchase                9/19/2013            100     $31.0800   $3,108.00       Sale             9/19/2013       (100)    $31.1900    ($3,119.00)
Purchase                9/19/2013            100     $31.2300   $3,123.00       Sale             9/19/2013       (100)    $31.1600    ($3,116.00)
Purchase                9/19/2013            100     $31.1200   $3,112.00       Sale             9/19/2013        (15)    $31.1600      ($467.40)
Purchase                9/19/2013            100     $31.1200   $3,112.00       Sale             9/20/2013       (100)    $31.3100    ($3,131.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/20/2013       (100)    $31.3100    ($3,131.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/20/2013       (200)    $31.3100    ($6,262.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/19/2013            100     $31.1700   $3,117.00       Sale             9/20/2013       (200)    $31.3100    ($6,262.00)
Purchase                9/20/2013            100     $31.1600   $3,116.00       Sale             9/20/2013       (200)    $31.3100    ($6,262.00)
Purchase                9/20/2013            100     $31.1200   $3,112.00       Sale             9/20/2013       (300)    $31.3100    ($9,393.00)
Purchase                9/20/2013            100     $31.0800   $3,108.00       Sale             9/20/2013       (100)    $31.3100    ($3,131.00)
Purchase                9/20/2013            100     $31.0700   $3,107.00       Sale             9/20/2013       (200)    $31.3100    ($6,262.00)
Purchase                9/20/2013            100     $30.9800   $3,098.00       Sale             9/20/2013       (200)    $30.9100    ($6,182.00)
Purchase                9/20/2013            100     $30.8500   $3,085.00       Sale             9/20/2013       (200)    $30.9100    ($6,182.00)
Purchase                9/20/2013            100     $30.8400   $3,084.00       Sale             9/23/2013       (100)    $30.8000    ($3,080.00)
Purchase                9/20/2013            100     $30.7500   $3,075.00       Sale             9/23/2013       (100)    $30.6800    ($3,068.00)
Purchase                9/20/2013            100     $30.8500   $3,085.00       Sale             9/23/2013       (100)    $30.6800    ($3,068.00)
Purchase                9/20/2013            100     $30.9400   $3,094.00       Sale             9/23/2013       (100)    $30.7000    ($3,070.00)
Purchase                9/20/2013            200     $30.9400   $6,188.00       Sale             9/23/2013       (100)    $30.5800    ($3,058.00)
Purchase                9/20/2013            200     $30.8900   $6,178.00       Sale             9/23/2013       (200)    $30.4900    ($6,098.00)
Purchase                9/20/2013            100     $30.8900   $3,089.00       Sale             9/23/2013       (200)    $30.4900    ($6,098.00)
Purchase                9/20/2013              3     $30.8900      $92.67       Sale             9/23/2013       (200)    $30.1700    ($6,034.00)
Purchase                9/20/2013            200     $30.9200   $6,184.00       Sale             9/23/2013       (200)    $30.1700    ($6,034.00)
Purchase                9/23/2013            100     $30.7400   $3,074.00       Sale             9/23/2013       (100)    $29.9900    ($2,999.00)
Purchase                9/23/2013            100     $30.7400   $3,074.00       Sale             9/23/2013       (200)    $29.9900    ($5,998.00)
Purchase                9/23/2013            100     $30.7700   $3,077.00       Sale             9/23/2013       (100)    $29.9900    ($2,999.00)
Purchase                9/23/2013            100     $30.7200   $3,072.00       Sale             9/23/2013       (100)    $30.0100    ($3,001.00)
Purchase                9/23/2013            100     $30.7000   $3,070.00       Sale             9/23/2013       (200)    $29.9900    ($5,998.00)
Purchase                9/23/2013            100     $30.7100   $3,071.00       Sale             9/23/2013       (200)    $29.8100    ($5,962.00)
Purchase                9/23/2013            100     $30.7300   $3,073.00       Sale             9/23/2013       (100)    $29.9500    ($2,995.00)
Purchase                9/23/2013            100     $30.7400   $3,074.00       Sale             9/23/2013       (200)    $29.9000    ($5,980.00)
Purchase                9/23/2013            100     $30.5900   $3,059.00       Sale             9/23/2013       (100)    $29.9400    ($2,994.00)
Purchase                9/23/2013            200     $30.5000   $6,100.00       Sale             9/23/2013       (100)    $29.8000    ($2,980.00)
Purchase                9/23/2013            100     $30.5000   $3,050.00       Sale             9/23/2013       (200)    $29.5500    ($5,910.00)
Purchase                9/23/2013            100     $30.5000   $3,050.00       Sale             9/23/2013       (200)    $29.4800    ($5,896.00)
Purchase                9/23/2013            200     $30.1600   $6,032.00       Sale             9/23/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/23/2013            200     $30.1500   $6,030.00       Sale             9/23/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/23/2013            100     $30.1600   $3,016.00       Sale             9/23/2013       (200)    $29.1300    ($5,826.00)
Purchase                9/23/2013            200     $30.1500   $6,030.00       Sale             9/23/2013       (200)    $29.1300    ($5,826.00)
Purchase                9/23/2013            200     $29.9600   $5,992.00       Sale             9/23/2013       (200)    $28.8200    ($5,764.00)
Purchase                9/23/2013            200     $29.9000   $5,980.00       Sale             9/23/2013       (200)    $28.9000    ($5,780.00)
Purchase                9/23/2013            200     $29.8700   $5,974.00       Sale             9/23/2013       (200)    $29.0500    ($5,810.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                9/23/2013            200     $29.4900    $5,898.00       Sale             9/23/2013       (100)    $29.1900    ($2,919.00)
Purchase                9/23/2013            100     $29.3700    $2,937.00       Sale             9/23/2013       (200)    $29.1800    ($5,836.00)
Purchase                9/23/2013            100     $29.1100    $2,911.00       Sale             9/23/2013       (200)    $29.1800    ($5,836.00)
Purchase                9/23/2013            100     $29.1100    $2,911.00       Sale             9/23/2013       (100)    $29.1900    ($2,919.00)
Purchase                9/23/2013            200     $29.0200    $5,804.00       Sale             9/23/2013       (200)    $29.2000    ($5,840.00)
Purchase                9/23/2013            200     $28.8700    $5,774.00       Sale             9/23/2013       (200)    $29.0800    ($5,816.00)
Purchase                9/23/2013            200     $29.1100    $5,822.00       Sale             9/24/2013       (100)    $28.7500    ($2,875.00)
Purchase                9/23/2013            100     $29.1000    $2,910.00       Sale             9/24/2013       (100)    $28.8000    ($2,880.00)
Purchase                9/23/2013          1,308     $28.8500   $37,735.80       Sale             9/24/2013       (100)    $28.8200    ($2,882.00)
Purchase                9/24/2013            100     $29.2900    $2,929.00       Sale             9/24/2013       (100)    $28.8200    ($2,882.00)
Purchase                9/24/2013            100     $29.3500    $2,935.00       Sale             9/24/2013       (100)    $28.9500    ($2,895.00)
Purchase                9/24/2013            100     $29.3500    $2,935.00       Sale             9/24/2013       (100)    $28.9900    ($2,899.00)
Purchase                9/24/2013            100     $29.4400    $2,944.00       Sale             9/24/2013       (100)    $29.0000    ($2,900.00)
Purchase                9/24/2013            100     $29.4000    $2,940.00       Sale             9/24/2013       (100)    $29.0900    ($2,909.00)
Purchase                9/24/2013             99     $29.3900    $2,909.61       Sale             9/24/2013       (100)    $29.1900    ($2,919.00)
Purchase                9/24/2013            100     $29.5300    $2,953.00       Sale             9/24/2013       (100)    $29.8500    ($2,985.00)
Purchase                9/24/2013            100     $29.6500    $2,965.00       Sale             9/24/2013       (100)    $29.6000    ($2,960.00)
Purchase                9/24/2013             52     $29.6000    $1,539.20       Sale             9/24/2013       (100)    $29.5900    ($2,959.00)
Purchase                9/24/2013            100     $29.6500    $2,965.00       Sale             9/24/2013       (100)    $29.6400    ($2,964.00)
Purchase                9/24/2013             48     $29.6000    $1,420.80       Sale             9/24/2013       (100)    $29.6900    ($2,969.00)
Purchase                9/24/2013            100     $29.6000    $2,960.00       Sale             9/24/2013       (100)    $29.6800    ($2,968.00)
Purchase                9/24/2013            100     $29.5400    $2,954.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013            100     $29.5900    $2,959.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013            100     $29.5900    $2,959.00       Sale             9/24/2013       (100)    $29.4200    ($2,942.00)
Purchase                9/24/2013            100     $29.7500    $2,975.00       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013             99     $29.8300    $2,953.17       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013            100     $29.8900    $2,989.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013             50     $29.7600    $1,488.00       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013             50     $29.7400    $1,487.00       Sale             9/24/2013       (100)    $29.3600    ($2,936.00)
Purchase                9/24/2013            100     $29.7200    $2,972.00       Sale             9/24/2013       (200)    $29.3600    ($5,872.00)
Purchase                9/24/2013             50     $29.7200    $1,486.00       Sale             9/24/2013       (200)    $29.3600    ($5,872.00)
Purchase                9/24/2013            100     $29.6100    $2,961.00       Sale             9/25/2013       (200)    $29.4700    ($5,894.00)
Purchase                9/24/2013             99     $29.6300    $2,933.37       Sale             9/25/2013       (200)    $29.4800    ($5,896.00)
Purchase                9/24/2013            200     $29.4200    $5,884.00       Sale             9/25/2013       (200)    $29.5600    ($5,912.00)
Purchase                9/24/2013            200     $29.4800    $5,896.00       Sale             9/25/2013       (793)    $29.6700   ($23,528.31)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/24/2013            100     $29.4900   $2,949.00       Sale             9/26/2013       (100)    $29.6600    ($2,966.00)
Purchase                9/24/2013            100     $29.4600   $2,946.00       Sale             9/26/2013       (100)    $29.6600    ($2,966.00)
Purchase                9/24/2013            100     $29.4700   $2,947.00       Sale             9/26/2013       (100)    $29.7200    ($2,972.00)
Purchase                9/24/2013            200     $29.4700   $5,894.00       Sale             9/26/2013       (200)    $29.7300    ($5,946.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013       (200)    $29.7300    ($5,946.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013        (35)    $29.7300    ($1,040.55)
Purchase                9/25/2013            100     $29.3800   $2,938.00       Sale             9/26/2013       (200)    $29.7400    ($5,948.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013       (200)    $29.7400    ($5,948.00)
Purchase                9/25/2013            100     $29.3700   $2,937.00       Sale             9/26/2013       (100)    $29.8000    ($2,980.00)
Purchase                9/25/2013            100     $29.3700   $2,937.00       Sale             9/26/2013       (114)    $29.8000    ($3,397.20)
Purchase                9/25/2013             49     $29.6600   $1,453.34       Sale             9/26/2013       (200)    $29.8000    ($5,960.00)
Purchase                9/25/2013            100     $29.6900   $2,969.00       Sale             9/27/2013       (100)    $29.5900    ($2,959.00)
Purchase                9/25/2013            200     $29.6300   $5,926.00       Sale             9/27/2013         (3)    $29.5900       ($88.77)
Purchase                9/25/2013            200     $29.4100   $5,882.00       Sale             9/27/2013        (97)    $29.5900    ($2,870.23)
Purchase                9/26/2013             10     $29.6100     $296.10       Sale             9/27/2013       (100)    $29.7300    ($2,973.00)
Purchase                9/26/2013            100     $29.6100   $2,961.00       Sale             9/27/2013       (100)    $30.1300    ($3,013.00)
Purchase                9/26/2013             55     $29.7500   $1,636.25       Sale             9/27/2013       (100)    $30.2200    ($3,022.00)
Purchase                9/26/2013             45     $29.7500   $1,338.75       Sale             9/27/2013       (100)    $30.4200    ($3,042.00)
Purchase                9/26/2013            100     $29.7300   $2,973.00       Sale             9/27/2013       (200)    $30.3700    ($6,074.00)
Purchase                9/26/2013            100     $29.7900   $2,979.00       Sale             9/27/2013       (200)    $30.3000    ($6,060.00)
Purchase                9/26/2013            200     $29.7400   $5,948.00       Sale             9/27/2013       (100)    $30.6600    ($3,066.00)
Purchase                9/26/2013            200     $29.8700   $5,974.00       Sale             9/27/2013       (181)    $30.7500    ($5,565.75)
Purchase                9/26/2013            200     $29.8100   $5,962.00       Sale             9/27/2013       (200)    $30.7500    ($6,150.00)
Purchase                9/26/2013            200     $29.8100   $5,962.00       Sale             9/30/2013       (100)    $30.6800    ($3,068.00)
Purchase                9/26/2013            200     $29.8000   $5,960.00       Sale             9/30/2013       (100)    $30.7400    ($3,074.00)
Purchase                9/26/2013            200     $29.8000   $5,960.00       Sale             9/30/2013       (100)    $31.1100    ($3,111.00)
Purchase                9/27/2013            100     $29.9300   $2,993.00       Sale             9/30/2013       (100)    $31.1500    ($3,115.00)
Purchase                9/27/2013            100     $29.8900   $2,989.00       Sale             9/30/2013       (100)    $31.0400    ($3,104.00)
Purchase                9/27/2013             79     $29.8700   $2,359.73       Sale             9/30/2013       (100)    $30.4300    ($3,043.00)
Purchase                9/27/2013             21     $29.8700     $627.27       Sale             9/30/2013       (194)    $30.4200    ($5,901.48)
Purchase                9/27/2013             99     $30.4100   $3,010.59       Sale             9/30/2013       (100)    $30.5200    ($3,052.00)
Purchase                9/27/2013            100     $30.4000   $3,040.00       Sale             9/30/2013       (200)    $30.5900    ($6,118.00)
Purchase                9/27/2013            100     $30.4000   $3,040.00       Sale             10/1/2013       (100)    $31.0000    ($3,100.00)
Purchase                9/27/2013            100     $30.3700   $3,037.00       Sale             10/1/2013       (100)    $31.0400    ($3,104.00)
Purchase                9/27/2013             17     $30.2800     $514.76       Sale             10/1/2013       (100)    $31.0900    ($3,109.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/27/2013            200     $30.3300   $6,066.00       Sale             10/1/2013       (100)    $31.0500    ($3,105.00)
Purchase                9/27/2013            200     $30.5100   $6,102.00       Sale             10/1/2013       (100)    $31.0600    ($3,106.00)
Purchase                9/27/2013            191     $30.5600   $5,836.96       Sale             10/1/2013       (100)    $31.0900    ($3,109.00)
Purchase                9/27/2013            200     $30.5600   $6,112.00       Sale             10/1/2013       (100)    $31.0900    ($3,109.00)
Purchase                9/27/2013            200     $30.7200   $6,144.00       Sale             10/1/2013        (79)    $31.1300    ($2,459.27)
Purchase                9/27/2013             79     $30.7800   $2,431.62       Sale             10/1/2013       (200)    $31.1400    ($6,228.00)
Purchase                9/27/2013            200     $30.7600   $6,152.00       Sale             10/1/2013       (200)    $31.0600    ($6,212.00)
Purchase                9/27/2013            100     $30.6700   $3,067.00       Sale             10/2/2013       (100)    $30.7700    ($3,077.00)
Purchase                9/27/2013             63     $30.6700   $1,932.21       Sale             10/2/2013       (100)    $30.8100    ($3,081.00)
Purchase                9/27/2013            100     $30.6700   $3,067.00       Sale             10/2/2013       (100)    $31.0100    ($3,101.00)
Purchase                9/27/2013            100     $30.6700   $3,067.00       Sale             10/2/2013       (100)    $31.0000    ($3,100.00)
Purchase                9/27/2013             37     $30.6700   $1,134.79       Sale             10/2/2013       (100)    $31.1000    ($3,110.00)
Purchase                9/30/2013            100     $30.6300   $3,063.00       Sale             10/2/2013       (100)    $31.2800    ($3,128.00)
Purchase                9/30/2013            100     $30.7100   $3,071.00       Sale             10/2/2013       (200)    $31.2900    ($6,258.00)
Purchase                9/30/2013            100     $30.7100   $3,071.00       Sale             10/3/2013       (100)    $31.3300    ($3,133.00)
Purchase                9/30/2013            100     $31.0000   $3,100.00       Sale             10/3/2013       (100)    $31.2800    ($3,128.00)
Purchase                9/30/2013            100     $31.1500   $3,115.00       Sale             10/3/2013       (100)    $31.0600    ($3,106.00)
Purchase                9/30/2013            100     $31.1500   $3,115.00       Sale             10/3/2013       (100)    $31.1700    ($3,117.00)
Purchase                9/30/2013            100     $31.1700   $3,117.00       Sale             10/3/2013       (200)    $31.1800    ($6,236.00)
Purchase                9/30/2013            100     $30.9300   $3,093.00       Sale             10/3/2013       (200)    $31.1700    ($6,234.00)
Purchase                9/30/2013            100     $30.8600   $3,086.00       Sale             10/4/2013       (100)    $31.4200    ($3,142.00)
Purchase                9/30/2013            200     $30.7000   $6,140.00       Sale             10/4/2013        (55)    $31.4400    ($1,729.20)
Purchase                9/30/2013            200     $30.7000   $6,140.00       Sale             10/4/2013       (100)    $31.3500    ($3,135.00)
Purchase                9/30/2013             47     $30.8000   $1,447.60       Sale             10/4/2013       (100)    $31.3500    ($3,135.00)
Purchase                9/30/2013             42     $30.8000   $1,293.60       Sale             10/4/2013       (100)    $31.0900    ($3,109.00)
Purchase                9/30/2013             11     $30.8000     $338.80       Sale             10/4/2013       (100)    $30.9000    ($3,090.00)
Purchase                10/1/2013            100     $31.0000   $3,100.00       Sale             10/4/2013       (100)    $30.7400    ($3,074.00)
Purchase                10/1/2013            100     $31.0300   $3,103.00       Sale             10/4/2013        (78)    $30.7000    ($2,394.60)
Purchase                10/1/2013            100     $31.0400   $3,104.00       Sale             10/4/2013       (100)    $30.2700    ($3,027.00)
Purchase                10/1/2013            100     $31.0400   $3,104.00       Sale             10/4/2013       (100)    $30.3000    ($3,030.00)
Purchase                10/1/2013            100     $31.0600   $3,106.00       Sale             10/4/2013       (100)    $30.3900    ($3,039.00)
Purchase                10/1/2013            100     $31.1100   $3,111.00       Sale             10/4/2013       (199)    $29.6300    ($5,896.37)
Purchase                10/1/2013            100     $31.1700   $3,117.00       Sale             10/4/2013       (200)    $29.6200    ($5,924.00)
Purchase                10/1/2013            100     $31.1700   $3,117.00       Sale             10/4/2013       (100)    $29.4500    ($2,945.00)
Purchase                10/1/2013            100     $31.1600   $3,116.00       Sale             10/4/2013       (200)    $29.6000    ($5,920.00)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                10/1/2013          1,352     $31.1300   $42,087.76       Sale             10/4/2013       (200)    $29.6800    ($5,936.00)
Purchase                10/2/2013            100     $31.2200    $3,122.00       Sale             10/4/2013       (200)    $29.6300    ($5,926.00)
Purchase                10/2/2013            100     $31.2600    $3,126.00       Sale             10/4/2013       (100)    $29.6000    ($2,960.00)
Purchase                10/2/2013            200     $31.3900    $6,278.00       Sale             10/4/2013       (100)    $29.6000    ($2,960.00)
Purchase                10/3/2013            200     $31.3200    $6,264.00       Sale             10/4/2013        (99)    $29.4100    ($2,911.59)
Purchase                10/3/2013            200     $31.3200    $6,264.00       Sale             10/4/2013       (200)    $29.4200    ($5,884.00)
Purchase                10/4/2013            100     $31.2400    $3,124.00       Sale             10/4/2013       (200)    $29.4700    ($5,894.00)
Purchase                10/4/2013            100     $31.2400    $3,124.00       Sale             10/4/2013        (99)    $29.5500    ($2,925.45)
Purchase                10/4/2013            100     $31.3400    $3,134.00       Sale             10/4/2013       (200)    $29.6100    ($5,922.00)
Purchase                10/4/2013            100     $29.6500    $2,965.00       Sale             10/4/2013        (87)    $29.7500    ($2,588.25)
Purchase                10/4/2013            200     $29.6000    $5,920.00       Sale             10/4/2013       (200)    $29.4600    ($5,892.00)
Purchase                10/4/2013            200     $29.6000    $5,920.00       Sale             10/4/2013       (200)    $29.4200    ($5,884.00)
Purchase                10/4/2013            200     $29.6100    $5,922.00       Sale             10/4/2013       (200)    $29.4700    ($5,894.00)
Purchase                10/4/2013            200     $29.5400    $5,908.00       Sale             10/4/2013       (200)    $29.5000    ($5,900.00)
Purchase                10/4/2013            200     $29.5500    $5,910.00       Sale             10/4/2013       (200)    $29.5300    ($5,906.00)
Purchase                10/4/2013            200     $29.5600    $5,912.00       Sale             10/4/2013       (200)    $29.5300    ($5,906.00)
Purchase                10/4/2013            200     $29.7000    $5,940.00       Sale             10/4/2013        (99)    $29.4800    ($2,918.52)
Purchase                10/4/2013            200     $29.7000    $5,940.00       Sale             10/4/2013       (200)    $29.3600    ($5,872.00)
Purchase                10/4/2013            200     $29.4900    $5,898.00       Sale             10/4/2013       (200)    $29.3600    ($5,872.00)
Purchase                10/4/2013            200     $29.4900    $5,898.00       Sale             10/4/2013       (100)    $28.8200    ($2,882.00)
Purchase                10/4/2013            100     $29.5100    $2,951.00       Sale             10/4/2013       (200)    $28.8500    ($5,770.00)
Purchase                10/4/2013            200     $29.5000    $5,900.00       Sale             10/4/2013       (200)    $29.0000    ($5,800.00)
Purchase                10/4/2013            200     $29.5000    $5,900.00       Sale             10/4/2013       (100)    $29.1000    ($2,910.00)
Purchase                10/4/2013            200     $29.4900    $5,898.00       Sale             10/4/2013       (200)    $29.1000    ($5,820.00)
Purchase                10/4/2013            200     $29.1400    $5,828.00       Sale             10/4/2013       (100)    $29.0800    ($2,908.00)
Purchase                10/4/2013             25     $29.0300      $725.75       Sale             10/4/2013       (200)    $29.1800    ($5,836.00)
Purchase                10/4/2013            200     $29.0300    $5,806.00       Sale             10/4/2013       (200)    $29.1800    ($5,836.00)
Purchase                10/4/2013            200     $29.0600    $5,812.00       Sale             10/4/2013       (200)    $29.1400    ($5,828.00)
Purchase                10/4/2013            100     $29.0600    $2,906.00       Sale             10/4/2013       (200)    $29.1400    ($5,828.00)
Purchase                10/4/2013            200     $29.1100    $5,822.00       Sale             10/4/2013       (200)    $29.1400    ($5,828.00)
Purchase                10/4/2013            200     $29.1100    $5,822.00       Sale             10/4/2013       (200)    $29.2100    ($5,842.00)
Purchase                10/4/2013            200     $29.1400    $5,828.00       Sale             10/4/2013       (200)    $29.3700    ($5,874.00)
Purchase                10/4/2013            100     $29.1400    $2,914.00       Sale             10/4/2013       (200)    $29.5000    ($5,900.00)
Purchase                10/4/2013            100     $29.2300    $2,923.00       Sale             10/4/2013        (65)    $29.5500    ($1,920.75)
Purchase                10/4/2013            200     $29.4100    $5,882.00       Sale             10/4/2013        (69)    $29.5500    ($2,038.95)

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Timber Hill LLC
FIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price         Cost                Transaction   Date        Shares          Price         Proceeds

Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013        (48)        $29.5100       ($1,416.48)
Purchase                10/4/2013            200     $29.5000       $5,900.00       Sale             10/4/2013       (100)        $29.5000       ($2,950.00)
Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013       (163)        $29.5000       ($4,808.50)
Purchase                10/4/2013            200     $29.5300       $5,906.00       Sale             10/4/2013       (200)        $29.5000       ($5,900.00)
Purchase                10/4/2013            200     $29.5300       $5,906.00
Purchase                10/4/2013          1,014     $29.5100      $29,923.14       Retained                      (18,630)        $23.6617     ($440,817.47)
                                         307,447                $9,990,569.72                                    (307,447)                   ($9,592,146.18)

                                                                                                                             FIFO loss        ($398,423.54)




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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction           Date          Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

                 Pre-class holdings       22,909                                 Sale             8/16/2013        (63)    $25.0000     ($1,575.00)
                                                                                 Sale             8/16/2013     (1,000)    $30.0000    ($30,000.00)
                                                                                 Sale             8/16/2013       (200)    $35.0000     ($7,000.00)
                                                                                 Sale             8/23/2013       (996)    $32.5600    ($32,429.76)
                                                                                 Sale             8/26/2013       (150)    $31.5900     ($4,738.50)
                                                                                 Sale             8/26/2013       (200)    $31.5200     ($6,304.00)
                                                                                 Sale             8/26/2013       (200)    $31.5400     ($6,308.00)
                                                                                 Sale             8/26/2013       (100)    $31.5400     ($3,154.00)
                                                                                 Sale             8/26/2013       (100)    $31.5000     ($3,150.00)
                                                                                 Sale             8/26/2013        (53)    $31.5000     ($1,669.50)
                                                                                 Sale             8/26/2013        (89)    $31.5000     ($2,803.50)
                                                                                 Sale             8/26/2013       (100)    $31.5000     ($3,150.00)
                                                                                 Sale             8/26/2013        (58)    $31.5000     ($1,827.00)
                                                                                 Sale             8/27/2013        (82)    $30.9900     ($2,541.18)
                                                                                 Sale             8/27/2013       (200)    $30.9900     ($6,198.00)
                                                                                 Sale             8/27/2013       (200)    $30.9400     ($6,188.00)
                                                                                 Sale             8/27/2013       (156)    $30.9500     ($4,828.20)
                                                                                 Sale             8/27/2013        (93)    $30.9800     ($2,881.14)
                                                                                 Sale             8/29/2013        (12)    $31.0100       ($372.12)
                                                                                 Sale             8/29/2013       (200)    $31.0100     ($6,202.00)
                                                                                 Sale             8/29/2013       (200)    $31.0100     ($6,202.00)
                                                                                 Sale             8/30/2013     (1,124)    $31.9300    ($35,889.32)
                                                                                 Sale              9/3/2013        (13)    $31.6500       ($411.45)
                                                                                 Sale              9/3/2013       (200)    $31.6500     ($6,330.00)
                                                                                 Sale              9/3/2013        (55)    $31.6500     ($1,740.75)
                                                                                 Sale              9/3/2013       (200)    $31.6600     ($6,332.00)
                                                                                 Sale              9/3/2013       (200)    $31.6600     ($6,332.00)
                                                                                                                (6,244)               ($196,557.42)

Purchase                6/12/2013            300     $34.6600   $10,398.00
Purchase                6/12/2013            300     $34.6600   $10,398.00
Purchase                6/12/2013            199     $34.6200    $6,889.38
Purchase                6/12/2013              1     $34.6200       $34.62
Purchase                6/12/2013            200     $34.6400    $6,928.00
Purchase                6/12/2013            400     $34.6400   $13,856.00

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date   Shares   Price   Proceeds

Purchase                6/12/2013            200     $34.6200    $6,924.00
Purchase                6/12/2013            300     $34.6000   $10,380.00
Purchase                6/12/2013            200     $34.5900    $6,918.00
Purchase                6/12/2013            200     $34.5900    $6,918.00
Purchase                6/12/2013            100     $34.5800    $3,458.00
Purchase                6/12/2013             27     $34.5800      $933.66
Purchase                6/12/2013            473     $34.5800   $16,356.34
Purchase                6/12/2013            100     $34.5800    $3,458.00
Purchase                6/12/2013            500     $34.5800   $17,290.00
Purchase                6/12/2013            400     $34.5700   $13,828.00
Purchase                6/12/2013            500     $34.5600   $17,280.00
Purchase                6/12/2013            600     $34.5600   $20,736.00
Purchase                6/12/2013            400     $34.5700   $13,828.00
Purchase                6/12/2013            700     $34.5600   $24,192.00
Purchase                6/12/2013            400     $34.5600   $13,824.00
Purchase                6/12/2013            100     $34.5600    $3,456.00
Purchase                6/12/2013            800     $34.5600   $27,648.00
Purchase                6/12/2013            600     $34.5600   $20,736.00
Purchase                6/12/2013            300     $34.5400   $10,362.00
Purchase                6/12/2013            300     $34.5400   $10,362.00
Purchase                6/12/2013            500     $34.5300   $17,265.00
Purchase                6/12/2013            200     $34.5300    $6,906.00
Purchase                6/12/2013            100     $34.5300    $3,453.00
Purchase                6/12/2013            371     $34.5300   $12,810.63
Purchase                6/12/2013            329     $34.5300   $11,360.37
Purchase                6/12/2013            100     $34.5300    $3,453.00
Purchase                6/12/2013             56     $34.5300    $1,933.68
Purchase                6/12/2013            144     $34.5300    $4,972.32
Purchase                6/12/2013            700     $34.5000   $24,150.00
Purchase                6/12/2013            600     $34.5100   $20,706.00
Purchase                6/12/2013            181     $34.5200    $6,248.12
Purchase                6/12/2013            219     $34.5200    $7,559.88
Purchase                6/12/2013            500     $34.5200   $17,260.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            200     $34.5100    $6,902.00

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date   Shares   Price   Proceeds

Purchase                6/12/2013            400     $34.5200   $13,808.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            200     $34.5200    $6,904.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            400     $34.5200   $13,808.00
Purchase                6/12/2013            600     $34.5200   $20,712.00
Purchase                6/12/2013            276     $34.5200    $9,527.52
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013             24     $34.5200      $828.48
Purchase                6/12/2013            700     $34.5200   $24,164.00
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013            100     $34.5200    $3,452.00
Purchase                6/12/2013            412     $34.5200   $14,222.24
Purchase                6/12/2013             88     $34.5200    $3,037.76
Purchase                6/12/2013            500     $34.5200   $17,260.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            400     $34.5100   $13,804.00
Purchase                6/12/2013            700     $34.5100   $24,157.00
Purchase                6/12/2013            200     $34.5000    $6,900.00
Purchase                6/12/2013            300     $34.5000   $10,350.00
Purchase                6/12/2013            500     $34.5000   $17,250.00
Purchase                6/12/2013            300     $34.4800   $10,344.00
Purchase                6/12/2013            800     $34.4400   $27,552.00
Purchase                6/12/2013            500     $34.4300   $17,215.00
Purchase                6/12/2013            300     $34.4300   $10,329.00
Purchase                6/12/2013             15     $34.4700      $517.05
Purchase                6/12/2013            285     $34.4700    $9,823.95
Purchase                6/12/2013             80     $34.4700    $2,757.60
Purchase                6/12/2013            520     $34.4700   $17,924.40
Purchase                6/12/2013            400     $34.5000   $13,800.00

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/12/2013            400     $34.5000   $13,800.00
Purchase                6/12/2013            700     $34.5000   $24,150.00
Purchase                6/12/2013            300     $34.5100   $10,353.00
Purchase                6/12/2013            200     $34.5100    $6,902.00
Purchase                6/12/2013            300     $34.5100   $10,353.00
Purchase                6/12/2013            600     $34.5000   $20,700.00
Purchase                6/12/2013            200     $34.4800    $6,896.00
Purchase                6/12/2013            500     $34.5000   $17,250.00
Purchase                6/12/2013            100     $34.5000    $3,450.00       Sale             6/12/2013     (2,500)    $25.0000    ($62,500.00)
Purchase                6/13/2013            200     $34.2500    $6,850.00       Sale             6/12/2013     (5,000)    $30.0000   ($150,000.00)
Purchase                6/13/2013            200     $34.2500    $6,850.00       Sale             6/12/2013       (300)    $30.0000     ($9,000.00)
Purchase                6/13/2013            100     $34.2400    $3,424.00       Sale             6/13/2013       (200)    $34.1400     ($6,828.00)
Purchase                6/13/2013            100     $34.2400    $3,424.00       Sale             6/13/2013       (102)    $33.8300     ($3,450.66)
Purchase                6/13/2013            200     $34.2400    $6,848.00       Sale             6/13/2013       (200)    $33.8200     ($6,764.00)
Purchase                6/13/2013            200     $34.2400    $6,848.00       Sale             6/13/2013       (200)    $33.8300     ($6,766.00)
Purchase                6/13/2013            200     $34.2400    $6,848.00       Sale             6/13/2013       (200)    $33.8200     ($6,764.00)
Purchase                6/13/2013            200     $34.2200    $6,844.00       Sale             6/13/2013       (200)    $33.9800     ($6,796.00)
Purchase                6/13/2013            200     $34.2200    $6,844.00       Sale             6/13/2013       (106)    $33.9900     ($3,602.94)
Purchase                6/13/2013            124     $34.2100    $4,242.04       Sale             6/13/2013       (100)    $34.0500     ($3,405.00)
Purchase                6/13/2013            200     $34.1800    $6,836.00       Sale             6/13/2013       (200)    $34.0100     ($6,802.00)
Purchase                6/13/2013            200     $34.1100    $6,822.00       Sale             6/13/2013       (200)    $34.0200     ($6,804.00)
Purchase                6/13/2013            100     $34.1700    $3,417.00       Sale             6/13/2013       (200)    $34.1000     ($6,820.00)
Purchase                6/13/2013            200     $34.1700    $6,834.00       Sale             6/13/2013       (200)    $34.0600     ($6,812.00)
Purchase                6/13/2013              3     $34.1100      $102.33       Sale             6/13/2013       (200)    $34.1400     ($6,828.00)
Purchase                6/13/2013            200     $34.0400    $6,808.00       Sale             6/13/2013       (200)    $34.1800     ($6,836.00)
Purchase                6/13/2013            200     $34.0400    $6,808.00       Sale             6/13/2013       (100)    $34.2000     ($3,420.00)
Purchase                6/13/2013            198     $33.9700    $6,726.06       Sale             6/13/2013       (100)    $34.1800     ($3,418.00)
Purchase                6/13/2013            200     $33.9600    $6,792.00       Sale             6/13/2013       (100)    $34.1700     ($3,417.00)
Purchase                6/13/2013              2     $33.9700       $67.94       Sale             6/13/2013       (100)    $34.1000     ($3,410.00)
Purchase                6/13/2013            200     $33.9600    $6,792.00       Sale             6/13/2013       (200)    $34.1000     ($6,820.00)
Purchase                6/13/2013             44     $34.0100    $1,496.44       Sale             6/13/2013       (200)    $34.0800     ($6,816.00)
Purchase                6/13/2013            200     $34.0100    $6,802.00       Sale             6/13/2013       (300)    $34.1000    ($10,230.00)
Purchase                6/13/2013            141     $33.9900    $4,792.59       Sale             6/13/2013       (299)    $34.0800    ($10,189.92)
Purchase                6/13/2013            200     $34.0000    $6,800.00       Sale             6/13/2013       (300)    $34.0500    ($10,215.00)
Purchase                6/13/2013            200     $34.0000    $6,800.00       Sale             6/13/2013       (300)    $34.0400    ($10,212.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/13/2013             34     $34.0000    $1,156.00       Sale             6/13/2013       (300)    $34.0400   ($10,212.00)
Purchase                6/13/2013            200     $34.0000    $6,800.00       Sale             6/13/2013       (300)    $34.0400   ($10,212.00)
Purchase                6/13/2013            200     $34.2100    $6,842.00       Sale             6/13/2013       (300)    $34.0400   ($10,212.00)
Purchase                6/13/2013            100     $34.1900    $3,419.00       Sale             6/13/2013       (300)    $33.9900   ($10,197.00)
Purchase                6/13/2013            200     $34.2200    $6,844.00       Sale             6/13/2013       (100)    $34.0100    ($3,401.00)
Purchase                6/13/2013            200     $34.1600    $6,832.00       Sale             6/13/2013       (200)    $33.8600    ($6,772.00)
Purchase                6/13/2013            200     $34.1700    $6,834.00       Sale             6/13/2013       (300)    $33.8700   ($10,161.00)
Purchase                6/13/2013            200     $34.1600    $6,832.00       Sale             6/13/2013       (300)    $33.9400   ($10,182.00)
Purchase                6/13/2013             81     $34.1500    $2,766.15       Sale             6/13/2013       (100)    $33.9300    ($3,393.00)
Purchase                6/13/2013            200     $34.1400    $6,828.00       Sale             6/13/2013       (300)    $33.9000   ($10,170.00)
Purchase                6/13/2013            200     $34.1400    $6,828.00       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013            100     $34.0800    $3,408.00       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013            100     $34.0900    $3,409.00       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013             11     $34.0900      $374.99       Sale             6/13/2013       (300)    $33.9500   ($10,185.00)
Purchase                6/13/2013            200     $34.0900    $6,818.00       Sale             6/13/2013       (235)    $33.9600    ($7,980.60)
Purchase                6/13/2013            300     $34.0100   $10,203.00       Sale             6/13/2013       (300)    $33.9800   ($10,194.00)
Purchase                6/13/2013            300     $34.0200   $10,206.00       Sale             6/13/2013       (300)    $33.9900   ($10,197.00)
Purchase                6/13/2013            200     $34.1200    $6,824.00       Sale             6/13/2013       (100)    $33.9600    ($3,396.00)
Purchase                6/13/2013             19     $34.1000      $647.90       Sale             6/13/2013       (300)    $33.9900   ($10,197.00)
Purchase                6/13/2013            300     $34.0800   $10,224.00       Sale             6/13/2013       (400)    $33.9000   ($13,560.00)
Purchase                6/13/2013            300     $34.0800   $10,224.00       Sale             6/13/2013       (100)    $33.8700    ($3,387.00)
Purchase                6/13/2013            298     $34.0100   $10,134.98       Sale             6/13/2013       (400)    $33.8800   ($13,552.00)
Purchase                6/13/2013            300     $33.9300   $10,179.00       Sale             6/13/2013        (85)    $33.8900    ($2,880.65)
Purchase                6/13/2013            300     $33.9300   $10,179.00       Sale             6/13/2013        (99)    $33.9000    ($3,356.10)
Purchase                6/13/2013            100     $33.9200    $3,392.00       Sale             6/13/2013       (300)    $33.9000   ($10,170.00)
Purchase                6/13/2013            300     $33.9100   $10,173.00       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013             52     $33.9200    $1,763.84       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            100     $33.9200    $3,392.00       Sale             6/13/2013       (395)    $33.9100   ($13,394.45)
Purchase                6/13/2013            300     $33.9600   $10,188.00       Sale             6/13/2013       (400)    $33.9000   ($13,560.00)
Purchase                6/13/2013            297     $33.9500   $10,083.15       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            300     $33.9500   $10,185.00       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            300     $33.9600   $10,188.00       Sale             6/13/2013       (100)    $33.9100    ($3,391.00)
Purchase                6/13/2013            200     $33.9600    $6,792.00       Sale             6/13/2013       (400)    $33.9100   ($13,564.00)
Purchase                6/13/2013            100     $33.9800    $3,398.00       Sale             6/13/2013        (75)    $33.8700    ($2,540.25)
Purchase                6/13/2013            300     $33.9900   $10,197.00       Sale             6/13/2013       (200)    $33.8700    ($6,774.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/13/2013            100     $33.9900    $3,399.00       Sale             6/13/2013       (102)    $33.8700     ($3,454.74)
Purchase                6/13/2013            300     $33.9900   $10,197.00       Sale             6/13/2013       (142)    $33.8700     ($4,809.54)
Purchase                6/13/2013             91     $33.9900    $3,093.09       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            300     $33.9500   $10,185.00       Sale             6/13/2013        (79)    $33.7400     ($2,665.46)
Purchase                6/13/2013            100     $33.9300    $3,393.00       Sale             6/13/2013       (200)    $33.7500     ($6,750.00)
Purchase                6/13/2013            400     $33.9100   $13,564.00       Sale             6/13/2013       (400)    $33.7000    ($13,480.00)
Purchase                6/13/2013            400     $33.9100   $13,564.00       Sale             6/13/2013       (100)    $33.8000     ($3,380.00)
Purchase                6/13/2013            400     $33.9000   $13,560.00       Sale             6/13/2013       (390)    $33.8000    ($13,182.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            200     $33.9000    $6,780.00       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/13/2013       (400)    $33.8700    ($13,548.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            400     $33.9000   $13,560.00       Sale             6/13/2013       (100)    $33.8200     ($3,382.00)
Purchase                6/13/2013            114     $33.9000    $3,864.60       Sale             6/13/2013       (700)    $30.0000    ($21,000.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/13/2013     (5,000)    $30.0000   ($150,000.00)
Purchase                6/13/2013            100     $33.8900    $3,389.00       Sale             6/14/2013       (200)    $33.6800     ($6,736.00)
Purchase                6/13/2013            100     $33.8900    $3,389.00       Sale             6/14/2013       (159)    $33.6700     ($5,353.53)
Purchase                6/13/2013             67     $33.8900    $2,270.63       Sale             6/14/2013        (41)    $33.6700     ($1,380.47)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/14/2013       (200)    $33.6900     ($6,738.00)
Purchase                6/13/2013             33     $33.8900    $1,118.37       Sale             6/14/2013       (100)    $33.6900     ($3,369.00)
Purchase                6/13/2013            200     $33.8900    $6,778.00       Sale             6/14/2013       (100)    $33.6900     ($3,369.00)
Purchase                6/13/2013            400     $33.8900   $13,556.00       Sale             6/14/2013       (200)    $33.6900     ($6,738.00)
Purchase                6/13/2013            400     $33.8500   $13,540.00       Sale             6/14/2013       (200)    $33.7500     ($6,750.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (100)    $33.6500     ($3,365.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (200)    $33.6700     ($6,734.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (200)    $33.6700     ($6,734.00)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013        (94)    $33.6700     ($3,164.98)
Purchase                6/14/2013            100     $33.5400    $3,354.00       Sale             6/14/2013       (100)    $33.6300     ($3,363.00)
Purchase                6/14/2013            200     $33.7100    $6,742.00       Sale             6/14/2013       (197)    $33.6300     ($6,625.11)
Purchase                6/14/2013            100     $33.6600    $3,366.00       Sale             6/14/2013       (159)    $33.6300     ($5,347.17)
Purchase                6/14/2013            200     $33.6200    $6,724.00       Sale             6/14/2013       (170)    $33.5700     ($5,706.90)
Purchase                6/14/2013            200     $33.6000    $6,720.00       Sale             6/14/2013       (130)    $33.5700     ($4,364.10)
Purchase                6/14/2013            100     $33.6000    $3,360.00       Sale             6/14/2013        (21)    $33.4800       ($703.08)
Purchase                6/14/2013            204     $33.7000    $6,874.80       Sale             6/14/2013       (376)    $33.4600    ($12,580.96)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/14/2013             60     $33.7000    $2,022.00       Sale             6/14/2013       (400)    $33.4600   ($13,384.00)
Purchase                6/14/2013            300     $33.6200   $10,086.00       Sale             6/14/2013        (24)    $33.4600      ($803.04)
Purchase                6/14/2013            296     $33.5800    $9,939.68       Sale             6/14/2013       (100)    $33.4300    ($3,343.00)
Purchase                6/14/2013            300     $33.4600   $10,038.00       Sale             6/14/2013       (100)    $33.4300    ($3,343.00)
Purchase                6/14/2013            100     $33.4600    $3,346.00       Sale             6/14/2013       (129)    $33.4300    ($4,312.47)
Purchase                6/14/2013            104     $33.5100    $3,485.04       Sale             6/14/2013       (100)    $33.4400    ($3,344.00)
Purchase                6/14/2013            400     $33.5100   $13,404.00       Sale             6/14/2013       (200)    $33.4400    ($6,688.00)
Purchase                6/14/2013            101     $33.4800    $3,381.48       Sale             6/14/2013       (400)    $33.4100   ($13,364.00)
Purchase                6/14/2013            400     $33.4800   $13,392.00       Sale             6/14/2013       (400)    $33.4100   ($13,364.00)
Purchase                6/14/2013            390     $33.4800   $13,057.20       Sale             6/14/2013       (400)    $33.3300   ($13,332.00)
Purchase                6/14/2013            100     $33.4100    $3,341.00       Sale             6/14/2013       (400)    $33.3100   ($13,324.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4100   $13,364.00       Sale             6/14/2013       (300)    $33.4400   ($10,032.00)
Purchase                6/14/2013             26     $33.3500      $867.10       Sale             6/14/2013       (221)    $33.3600    ($7,372.56)
Purchase                6/14/2013            100     $33.4200    $3,342.00       Sale             6/14/2013       (100)    $33.3600    ($3,336.00)
Purchase                6/14/2013            100     $33.4200    $3,342.00       Sale             6/14/2013       (132)    $33.3600    ($4,403.52)
Purchase                6/14/2013            400     $33.4200   $13,368.00       Sale             6/14/2013        (79)    $33.3600    ($2,635.44)
Purchase                6/14/2013            100     $33.4300    $3,343.00       Sale             6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            100     $33.4400    $3,344.00       Sale             6/14/2013       (400)    $33.3000   ($13,320.00)
Purchase                6/14/2013            400     $33.3500   $13,340.00       Sale             6/14/2013       (400)    $33.3000   ($13,320.00)
Purchase                6/14/2013            400     $33.3500   $13,340.00       Sale             6/14/2013       (400)    $33.3400   ($13,336.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.3400   ($13,336.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.3500   ($13,340.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.3400   $13,336.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (100)    $33.4000    ($3,340.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            400     $33.4000   $13,360.00       Sale             6/14/2013       (400)    $33.4000   ($13,360.00)
Purchase                6/14/2013            300     $33.3900   $10,017.00       Sale             6/17/2013       (200)    $33.3700    ($6,674.00)
Purchase                6/14/2013              1     $33.3900       $33.39       Sale             6/17/2013        (58)    $33.3400    ($1,933.72)
Purchase                6/14/2013             25     $33.3600      $834.00       Sale             6/17/2013       (300)    $33.3400   ($10,002.00)
Purchase                6/14/2013            200     $33.3300    $6,666.00       Sale             6/17/2013       (300)    $33.3400   ($10,002.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/14/2013            400     $33.3600   $13,344.00       Sale             6/17/2013       (300)    $33.3300     ($9,999.00)
Purchase                6/14/2013            400     $33.3600   $13,344.00       Sale             6/17/2013       (100)    $33.3500     ($3,335.00)
Purchase                6/17/2013             24     $33.3000      $799.20       Sale             6/17/2013       (200)    $33.3500     ($6,670.00)
Purchase                6/17/2013            200     $33.3200    $6,664.00       Sale             6/17/2013       (100)    $33.2400     ($3,324.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (100)    $33.2400     ($3,324.00)
Purchase                6/17/2013            200     $33.3200    $6,664.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (300)    $33.3000     ($9,990.00)
Purchase                6/17/2013            100     $33.3400    $3,334.00       Sale             6/17/2013       (300)    $33.3000     ($9,990.00)
Purchase                6/17/2013            200     $33.3500    $6,670.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3400    $6,668.00       Sale             6/17/2013       (300)    $33.2400     ($9,972.00)
Purchase                6/17/2013            200     $33.3800    $6,676.00       Sale             6/17/2013        (73)    $33.2400     ($2,426.52)
Purchase                6/17/2013            200     $33.3800    $6,676.00       Sale             6/17/2013       (400)    $33.1900    ($13,276.00)
Purchase                6/17/2013            200     $33.3900    $6,678.00       Sale             6/17/2013       (400)    $33.1900    ($13,276.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00       Sale             6/17/2013       (100)    $33.1100     ($3,311.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00       Sale             6/17/2013       (400)    $33.1100    ($13,244.00)
Purchase                6/17/2013            100     $33.3800    $3,338.00       Sale             6/17/2013       (200)    $33.1100     ($6,622.00)
Purchase                6/17/2013            200     $33.3500    $6,670.00       Sale             6/17/2013        (52)    $33.1100     ($1,721.72)
Purchase                6/17/2013            100     $33.3700    $3,337.00       Sale             6/17/2013       (200)    $33.2000     ($6,640.00)
Purchase                6/17/2013            100     $33.3700    $3,337.00       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013            121     $33.3700    $4,037.77       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013            200     $33.3700    $6,674.00       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013             20     $33.3200      $666.40       Sale             6/17/2013       (400)    $33.2000    ($13,280.00)
Purchase                6/17/2013            300     $33.3300    $9,999.00       Sale             6/17/2013       (300)    $33.2000     ($9,960.00)
Purchase                6/17/2013            300     $33.3200    $9,996.00       Sale             6/17/2013       (400)    $33.0800    ($13,232.00)
Purchase                6/17/2013            247     $33.3200    $8,230.04       Sale             6/17/2013       (400)    $33.0800    ($13,232.00)
Purchase                6/17/2013            100     $33.3500    $3,335.00       Sale             6/17/2013       (200)    $33.2000     ($6,640.00)
Purchase                6/17/2013            300     $33.3300    $9,999.00       Sale             6/17/2013       (136)    $33.2000     ($4,515.20)
Purchase                6/17/2013            300     $33.2300    $9,969.00       Sale             6/17/2013       (400)    $33.2100    ($13,284.00)
Purchase                6/17/2013            300     $33.2500    $9,975.00       Sale             6/17/2013     (3,080)    $33.2000   ($102,256.00)
Purchase                6/17/2013            300     $33.3000    $9,990.00       Sale             6/18/2013       (100)    $33.1700     ($3,317.00)
Purchase                6/17/2013            300     $33.3000    $9,990.00       Sale             6/18/2013       (200)    $33.1700     ($6,634.00)
Purchase                6/17/2013            163     $33.2300    $5,416.49       Sale             6/18/2013       (200)    $33.1600     ($6,632.00)
Purchase                6/17/2013            200     $33.2300    $6,646.00       Sale             6/18/2013       (100)    $33.1600     ($3,316.00)
Purchase                6/17/2013            400     $33.2300   $13,292.00       Sale             6/18/2013       (100)    $33.1600     ($3,316.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/17/2013            400     $33.2300   $13,292.00       Sale             6/18/2013       (200)    $33.1700    ($6,634.00)
Purchase                6/17/2013            400     $33.1800   $13,272.00       Sale             6/18/2013       (200)    $33.1700    ($6,634.00)
Purchase                6/17/2013            209     $33.1100    $6,919.99       Sale             6/18/2013         (3)    $33.1700       ($99.51)
Purchase                6/17/2013            101     $33.2200    $3,355.22       Sale             6/18/2013        (29)    $33.1700      ($961.93)
Purchase                6/17/2013            100     $33.2200    $3,322.00       Sale             6/18/2013       (100)    $33.1700    ($3,317.00)
Purchase                6/17/2013             19     $33.2200      $631.18       Sale             6/18/2013       (300)    $33.1600    ($9,948.00)
Purchase                6/17/2013            400     $33.2100   $13,284.00       Sale             6/18/2013        (89)    $33.1600    ($2,951.24)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013        (45)    $33.1600    ($1,492.20)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (300)    $33.1600    ($9,948.00)
Purchase                6/17/2013            240     $33.2300    $7,975.20       Sale             6/18/2013       (100)    $33.0400    ($3,304.00)
Purchase                6/17/2013            100     $33.2100    $3,321.00       Sale             6/18/2013       (100)    $33.0400    ($3,304.00)
Purchase                6/17/2013            109     $33.2000    $3,618.80       Sale             6/18/2013        (43)    $33.0400    ($1,420.72)
Purchase                6/17/2013            200     $33.2000    $6,640.00       Sale             6/18/2013       (400)    $33.1100   ($13,244.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (400)    $33.1100   ($13,244.00)
Purchase                6/17/2013            100     $33.1200    $3,312.00       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013             69     $33.2000    $2,290.80       Sale             6/18/2013       (400)    $33.0100   ($13,204.00)
Purchase                6/17/2013            400     $33.2000   $13,280.00       Sale             6/18/2013       (200)    $33.0700    ($6,614.00)
Purchase                6/17/2013            195     $33.2000    $6,474.00       Sale             6/18/2013       (100)    $33.0700    ($3,307.00)
Purchase                6/17/2013            103     $33.2300    $3,422.69       Sale             6/18/2013       (400)    $33.0700   ($13,228.00)
Purchase                6/17/2013            238     $33.2500    $7,913.50       Sale             6/19/2013       (200)    $33.1000    ($6,620.00)
Purchase                6/17/2013            400     $33.2500   $13,300.00       Sale             6/19/2013       (100)    $33.0500    ($3,305.00)
Purchase                6/17/2013            400     $33.2500   $13,300.00       Sale             6/19/2013       (149)    $33.0500    ($4,924.45)
Purchase                6/17/2013            400     $33.2400   $13,296.00       Sale             6/19/2013        (20)    $33.0400      ($660.80)
Purchase                6/17/2013            400     $33.2400   $13,296.00       Sale             6/19/2013       (300)    $33.0400    ($9,912.00)
Purchase                6/17/2013            260     $33.2000    $8,632.00       Sale             6/19/2013       (300)    $33.0400    ($9,912.00)
Purchase                6/18/2013            100     $33.1600    $3,316.00       Sale             6/19/2013       (300)    $32.6600    ($9,798.00)
Purchase                6/18/2013            100     $33.1600    $3,316.00       Sale             6/19/2013       (300)    $32.6600    ($9,798.00)
Purchase                6/18/2013            200     $33.1600    $6,632.00       Sale             6/19/2013       (300)    $32.8100    ($9,843.00)
Purchase                6/18/2013            200     $33.1800    $6,636.00       Sale             6/19/2013       (300)    $32.8100    ($9,843.00)
Purchase                6/18/2013            128     $33.1800    $4,247.04       Sale             6/19/2013        (75)    $32.7600    ($2,457.00)
Purchase                6/18/2013            300     $33.1700    $9,951.00       Sale             6/19/2013        (25)    $32.7600      ($819.00)
Purchase                6/18/2013            300     $33.1500    $9,945.00       Sale             6/19/2013        (48)    $32.7700    ($1,572.96)
Purchase                6/18/2013            200     $33.1500    $6,630.00       Sale             6/19/2013       (300)    $32.6800    ($9,804.00)
Purchase                6/18/2013            400     $33.1700   $13,268.00       Sale             6/19/2013       (300)    $32.7300    ($9,819.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/18/2013            104     $33.1300    $3,445.52       Sale             6/19/2013       (100)    $32.7200     ($3,272.00)
Purchase                6/18/2013            400     $33.1100   $13,244.00       Sale             6/19/2013       (200)    $32.7200     ($6,544.00)
Purchase                6/18/2013            400     $33.1000   $13,240.00       Sale             6/19/2013       (128)    $32.7200     ($4,188.16)
Purchase                6/18/2013            310     $33.0500   $10,245.50       Sale             6/19/2013       (172)    $32.7200     ($5,627.84)
Purchase                6/18/2013            400     $33.0500   $13,220.00       Sale             6/19/2013       (300)    $32.7100     ($9,813.00)
Purchase                6/18/2013             90     $33.0500    $2,974.50       Sale             6/19/2013       (300)    $32.6700     ($9,801.00)
Purchase                6/19/2013            200     $33.0200    $6,604.00       Sale             6/19/2013       (300)    $32.6900     ($9,807.00)
Purchase                6/19/2013            200     $33.0200    $6,604.00       Sale             6/19/2013        (98)    $32.5800     ($3,192.84)
Purchase                6/19/2013            100     $33.1200    $3,312.00       Sale             6/19/2013       (300)    $32.6300     ($9,789.00)
Purchase                6/19/2013            100     $33.1200    $3,312.00       Sale             6/19/2013       (300)    $32.6000     ($9,780.00)
Purchase                6/19/2013            200     $33.1000    $6,620.00       Sale             6/19/2013       (300)    $32.5800     ($9,774.00)
Purchase                6/19/2013            200     $33.1000    $6,620.00       Sale             6/19/2013       (143)    $32.5900     ($4,660.37)
Purchase                6/19/2013            201     $33.0300    $6,639.03       Sale             6/19/2013       (300)    $32.6000     ($9,780.00)
Purchase                6/19/2013             99     $33.0300    $3,269.97       Sale             6/19/2013       (300)    $32.6900     ($9,807.00)
Purchase                6/19/2013            300     $33.0300    $9,909.00       Sale             6/19/2013       (150)    $32.7100     ($4,906.50)
Purchase                6/19/2013            300     $32.7700    $9,831.00       Sale             6/19/2013       (150)    $32.6900     ($4,903.50)
Purchase                6/19/2013            300     $32.8300    $9,849.00       Sale             6/19/2013       (300)    $32.7300     ($9,819.00)
Purchase                6/19/2013            190     $32.8300    $6,237.70       Sale             6/19/2013       (200)    $32.6800     ($6,536.00)
Purchase                6/19/2013            110     $32.8300    $3,611.30       Sale             6/19/2013       (300)    $32.6500     ($9,795.00)
Purchase                6/19/2013            300     $32.7500    $9,825.00       Sale             6/19/2013       (300)    $32.7200     ($9,816.00)
Purchase                6/19/2013            199     $32.7500    $6,517.25       Sale             6/19/2013       (300)    $32.7000     ($9,810.00)
Purchase                6/19/2013            100     $32.7400    $3,274.00       Sale             6/19/2013       (300)    $32.7000     ($9,810.00)
Purchase                6/19/2013            300     $32.7400    $9,822.00       Sale             6/19/2013       (300)    $32.7000     ($9,810.00)
Purchase                6/19/2013             12     $32.7400      $392.88       Sale             6/19/2013       (300)    $32.5100     ($9,753.00)
Purchase                6/19/2013            300     $32.7200    $9,816.00       Sale             6/19/2013       (300)    $32.5500     ($9,765.00)
Purchase                6/19/2013            300     $32.7100    $9,813.00       Sale             6/19/2013       (300)    $32.3700     ($9,711.00)
Purchase                6/19/2013            300     $32.6200    $9,786.00       Sale             6/19/2013       (200)    $32.2900     ($6,458.00)
Purchase                6/19/2013            300     $32.6700    $9,801.00       Sale             6/19/2013       (300)    $32.3000     ($9,690.00)
Purchase                6/19/2013            300     $32.6100    $9,783.00       Sale             6/19/2013       (299)    $32.2200     ($9,633.78)
Purchase                6/19/2013            300     $32.5800    $9,774.00       Sale             6/19/2013       (300)    $32.1700     ($9,651.00)
Purchase                6/19/2013            300     $32.5800    $9,774.00       Sale             6/19/2013       (300)    $32.2300     ($9,669.00)
Purchase                6/19/2013            300     $32.6700    $9,801.00       Sale             6/19/2013       (300)    $32.2300     ($9,669.00)
Purchase                6/19/2013            300     $32.6700    $9,801.00       Sale             6/19/2013       (300)    $32.2300     ($9,669.00)
Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/19/2013       (300)    $32.2100     ($9,663.00)
Purchase                6/19/2013            100     $32.6400    $3,264.00       Sale             6/19/2013       (300)    $32.2100     ($9,663.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (283)    $32.2600    ($9,129.58)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (125)    $32.3000    ($4,037.50)
Purchase                6/19/2013            300     $32.6700   $9,801.00       Sale             6/19/2013       (300)    $32.3000    ($9,690.00)
Purchase                6/19/2013            100     $32.6500   $3,265.00       Sale             6/19/2013        (73)    $32.3000    ($2,357.90)
Purchase                6/19/2013            300     $32.6900   $9,807.00       Sale             6/19/2013       (100)    $32.2900    ($3,229.00)
Purchase                6/19/2013            300     $32.7200   $9,816.00       Sale             6/19/2013       (300)    $32.2900    ($9,687.00)
Purchase                6/19/2013            300     $32.7000   $9,810.00       Sale             6/19/2013       (199)    $32.3400    ($6,435.66)
Purchase                6/19/2013             52     $32.6900   $1,699.88       Sale             6/19/2013       (200)    $32.3700    ($6,474.00)
Purchase                6/19/2013             26     $32.6900     $849.94       Sale             6/19/2013       (300)    $32.5500    ($9,765.00)
Purchase                6/19/2013             50     $32.6900   $1,634.50       Sale             6/19/2013       (300)    $32.6300    ($9,789.00)
Purchase                6/19/2013            200     $32.6600   $6,532.00       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013             67     $32.6900   $2,190.23       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013            200     $32.5400   $6,508.00       Sale             6/19/2013       (300)    $32.6700    ($9,801.00)
Purchase                6/19/2013            300     $32.5400   $9,762.00       Sale             6/19/2013       (199)    $32.5900    ($6,485.41)
Purchase                6/19/2013            100     $32.4700   $3,247.00       Sale             6/19/2013       (200)    $32.5900    ($6,518.00)
Purchase                6/19/2013            100     $32.4700   $3,247.00       Sale             6/19/2013       (200)    $32.5200    ($6,504.00)
Purchase                6/19/2013            300     $32.4300   $9,729.00       Sale             6/19/2013       (200)    $32.5200    ($6,504.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (100)    $32.4600    ($3,246.00)
Purchase                6/19/2013            300     $32.1500   $9,645.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            100     $32.2100   $3,221.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            200     $32.2100   $6,442.00       Sale             6/19/2013       (400)    $32.4800   ($12,992.00)
Purchase                6/19/2013            300     $32.2000   $9,660.00       Sale             6/19/2013       (400)    $32.5100   ($13,004.00)
Purchase                6/19/2013            300     $32.1800   $9,654.00       Sale             6/19/2013        (57)    $32.5300    ($1,854.21)
Purchase                6/19/2013            300     $32.2100   $9,663.00       Sale             6/19/2013       (400)    $32.5800   ($13,032.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (400)    $32.5800   ($13,032.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (100)    $32.5000    ($3,250.00)
Purchase                6/19/2013            300     $32.3000   $9,690.00       Sale             6/19/2013       (400)    $32.6600   ($13,064.00)
Purchase                6/19/2013            300     $32.3000   $9,690.00       Sale             6/19/2013       (400)    $32.6800   ($13,072.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (400)    $32.6200   ($13,048.00)
Purchase                6/19/2013            300     $32.2600   $9,678.00       Sale             6/19/2013       (400)    $32.6600   ($13,064.00)
Purchase                6/19/2013            300     $32.5400   $9,762.00       Sale             6/19/2013       (100)    $32.6400    ($3,264.00)
Purchase                6/19/2013            100     $32.6100   $3,261.00       Sale             6/19/2013       (400)    $32.6400   ($13,056.00)
Purchase                6/19/2013            100     $32.6300   $3,263.00       Sale             6/20/2013       (200)    $31.6200    ($6,324.00)
Purchase                6/19/2013            200     $32.6300   $6,526.00       Sale             6/20/2013       (200)    $31.6200    ($6,324.00)
Purchase                6/19/2013            300     $32.5800   $9,774.00       Sale             6/20/2013       (200)    $31.7000    ($6,340.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/20/2013       (100)    $31.7000     ($3,170.00)
Purchase                6/19/2013            300     $32.6400    $9,792.00       Sale             6/20/2013       (200)    $31.6800     ($6,336.00)
Purchase                6/19/2013            300     $32.6300    $9,789.00       Sale             6/20/2013       (200)    $31.6700     ($6,334.00)
Purchase                6/19/2013            300     $32.5300    $9,759.00       Sale             6/20/2013       (200)    $31.5800     ($6,316.00)
Purchase                6/19/2013            100     $32.5300    $3,253.00       Sale             6/20/2013       (200)    $31.5900     ($6,318.00)
Purchase                6/19/2013            400     $32.4600   $12,984.00       Sale             6/20/2013       (200)    $31.6000     ($6,320.00)
Purchase                6/19/2013            137     $32.4500    $4,445.65       Sale             6/20/2013       (200)    $31.6000     ($6,320.00)
Purchase                6/19/2013            400     $32.4500   $12,980.00       Sale             6/20/2013       (200)    $31.5900     ($6,318.00)
Purchase                6/19/2013            400     $32.5200   $13,008.00       Sale             6/20/2013        (82)    $31.7300     ($2,601.86)
Purchase                6/19/2013            383     $32.5200   $12,455.16       Sale             6/20/2013       (100)    $31.8000     ($3,180.00)
Purchase                6/19/2013            400     $32.5200   $13,008.00       Sale             6/20/2013       (100)    $31.6700     ($3,167.00)
Purchase                6/19/2013            100     $32.5300    $3,253.00       Sale             6/20/2013       (100)    $31.6100     ($3,161.00)
Purchase                6/19/2013            300     $32.5100    $9,753.00       Sale             6/20/2013       (100)    $31.6600     ($3,166.00)
Purchase                6/19/2013            400     $32.6900   $13,076.00       Sale             6/20/2013        (65)    $31.6300     ($2,055.95)
Purchase                6/19/2013            116     $32.7100    $3,794.36       Sale             6/20/2013       (300)    $31.6500     ($9,495.00)
Purchase                6/19/2013            129     $32.7100    $4,219.59       Sale             6/20/2013       (100)    $31.6300     ($3,163.00)
Purchase                6/19/2013            139     $32.7100    $4,546.69       Sale             6/20/2013       (100)    $31.4500     ($3,145.00)
Purchase                6/19/2013            200     $32.6800    $6,536.00       Sale             6/20/2013       (200)    $31.4400     ($6,288.00)
Purchase                6/19/2013             32     $32.6800    $1,045.76       Sale             6/20/2013       (300)    $31.3300     ($9,399.00)
Purchase                6/19/2013             14     $32.6500      $457.10       Sale             6/20/2013       (300)    $31.1600     ($9,348.00)
Purchase                6/19/2013             14     $32.6500      $457.10       Sale             6/20/2013       (100)    $31.2800     ($3,128.00)
Purchase                6/19/2013            100     $32.6300    $3,263.00       Sale             6/20/2013       (253)    $31.2500     ($7,906.25)
Purchase                6/19/2013            300     $32.6200    $9,786.00       Sale             6/20/2013       (200)    $31.2200     ($6,244.00)
Purchase                6/19/2013            100     $32.6500    $3,265.00       Sale             6/20/2013       (300)    $31.1600     ($9,348.00)
Purchase                6/19/2013             30     $32.6400      $979.20       Sale             6/20/2013       (300)    $31.2100     ($9,363.00)
Purchase                6/19/2013            100     $32.6900    $3,269.00       Sale             6/20/2013        (95)    $31.5700     ($2,999.15)
Purchase                6/19/2013            300     $32.6900    $9,807.00       Sale             6/20/2013       (300)    $31.3900     ($9,417.00)
Purchase                6/19/2013            100     $32.6600    $3,266.00       Sale             6/20/2013       (300)    $31.4100     ($9,423.00)
Purchase                6/20/2013            200     $31.6100    $6,322.00       Sale             6/20/2013       (300)    $31.4100     ($9,423.00)
Purchase                6/20/2013            200     $31.6100    $6,322.00       Sale             6/20/2013       (233)    $31.4000     ($7,316.20)
Purchase                6/20/2013            100     $31.6400    $3,164.00       Sale             6/20/2013       (294)    $31.3000     ($9,202.20)
Purchase                6/20/2013            200     $31.5900    $6,318.00       Sale             6/20/2013       (300)    $31.2700     ($9,381.00)
Purchase                6/20/2013              2     $31.6400       $63.28       Sale             6/20/2013       (100)    $31.3200     ($3,132.00)
Purchase                6/20/2013            100     $31.6000    $3,160.00       Sale             6/20/2013       (200)    $31.0700     ($6,214.00)
Purchase                6/20/2013            100     $31.5900    $3,159.00       Sale             6/20/2013       (200)    $31.0500     ($6,210.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/20/2013            200     $31.5900    $6,318.00       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/20/2013            300     $31.5900    $9,477.00       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013       (100)    $31.0800    ($3,108.00)
Purchase                6/20/2013            300     $31.2600    $9,378.00       Sale             6/20/2013       (117)    $31.0700    ($3,635.19)
Purchase                6/20/2013            300     $31.2600    $9,378.00       Sale             6/20/2013       (100)    $31.0700    ($3,107.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/20/2013            100     $31.3000    $3,130.00       Sale             6/20/2013        (40)    $31.0700    ($1,242.80)
Purchase                6/20/2013            300     $31.2000    $9,360.00       Sale             6/20/2013       (360)    $31.0700   ($11,185.20)
Purchase                6/20/2013            100     $31.4300    $3,143.00       Sale             6/20/2013       (100)    $31.0700    ($3,107.00)
Purchase                6/20/2013            100     $31.5200    $3,152.00       Sale             6/20/2013       (300)    $31.0700    ($9,321.00)
Purchase                6/20/2013            100     $31.5200    $3,152.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/20/2013            300     $31.4000    $9,420.00       Sale             6/20/2013       (400)    $31.0700   ($12,428.00)
Purchase                6/20/2013             34     $31.4200    $1,068.28       Sale             6/20/2013       (400)    $31.1200   ($12,448.00)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/20/2013         (3)    $31.1600       ($93.48)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/20/2013       (400)    $31.0800   ($12,432.00)
Purchase                6/20/2013            300     $31.4300    $9,429.00       Sale             6/20/2013       (161)    $31.0700    ($5,002.27)
Purchase                6/20/2013              3     $31.2700       $93.81       Sale             6/20/2013       (400)    $31.0600   ($12,424.00)
Purchase                6/20/2013            300     $31.2700    $9,381.00       Sale             6/20/2013       (192)    $31.0700    ($5,965.44)
Purchase                6/20/2013            300     $31.2100    $9,363.00       Sale             6/20/2013       (388)    $31.0700   ($12,055.16)
Purchase                6/20/2013            150     $31.0700    $4,660.50       Sale             6/20/2013       (400)    $31.0300   ($12,412.00)
Purchase                6/20/2013            200     $31.0700    $6,214.00       Sale             6/20/2013        (17)    $31.0500      ($527.85)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/20/2013       (100)    $31.1000    ($3,110.00)
Purchase                6/20/2013            400     $31.1000   $12,440.00       Sale             6/20/2013       (400)    $31.1000   ($12,440.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/20/2013       (400)    $31.1000   ($12,440.00)
Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/20/2013       (400)    $31.0400   ($12,416.00)
Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/20/2013        (11)    $30.9600      ($340.56)
Purchase                6/20/2013            400     $31.0600   $12,424.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            100     $31.1500    $3,115.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            200     $31.1500    $6,230.00       Sale             6/20/2013        (80)    $30.9100    ($2,472.80)
Purchase                6/20/2013            400     $31.1300   $12,452.00       Sale             6/20/2013        (66)    $30.9500    ($2,042.70)
Purchase                6/20/2013            200     $31.1200    $6,224.00       Sale             6/20/2013       (400)    $30.9600   ($12,384.00)
Purchase                6/20/2013            400     $31.1200   $12,448.00       Sale             6/20/2013       (400)    $30.9700   ($12,388.00)
Purchase                6/20/2013            100     $31.0700    $3,107.00       Sale             6/21/2013       (199)    $30.7000    ($6,109.30)
Purchase                6/20/2013            400     $31.0900   $12,436.00       Sale             6/21/2013       (100)    $30.6400    ($3,064.00)
Purchase                6/20/2013            400     $31.0500   $12,420.00       Sale             6/21/2013       (200)    $30.7000    ($6,140.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/20/2013            400     $31.0800   $12,432.00       Sale             6/21/2013       (100)    $30.6400     ($3,064.00)
Purchase                6/20/2013            400     $31.0300   $12,412.00       Sale             6/21/2013       (200)    $30.7000     ($6,140.00)
Purchase                6/20/2013            400     $31.0500   $12,420.00       Sale             6/21/2013       (200)    $30.7800     ($6,156.00)
Purchase                6/20/2013            200     $31.0600    $6,212.00       Sale             6/21/2013       (100)    $30.8000     ($3,080.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            200     $31.1000    $6,220.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            100     $31.0200    $3,102.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            100     $31.0200    $3,102.00       Sale             6/21/2013       (100)    $30.5600     ($3,056.00)
Purchase                6/20/2013            208     $31.0100    $6,450.08       Sale             6/21/2013       (200)    $30.5600     ($6,112.00)
Purchase                6/20/2013            100     $31.0000    $3,100.00       Sale             6/21/2013       (200)    $30.5600     ($6,112.00)
Purchase                6/20/2013            200     $31.0000    $6,200.00       Sale             6/21/2013       (200)    $30.6500     ($6,130.00)
Purchase                6/20/2013            400     $30.9200   $12,368.00       Sale             6/21/2013       (200)    $30.5600     ($6,112.00)
Purchase                6/20/2013            400     $30.9600   $12,384.00       Sale             6/21/2013       (200)    $30.7400     ($6,148.00)
Purchase                6/20/2013             34     $30.9700    $1,052.98       Sale             6/21/2013       (200)    $30.6500     ($6,130.00)
Purchase                6/20/2013             66     $30.9700    $2,044.02       Sale             6/21/2013       (198)    $30.7400     ($6,086.52)
Purchase                6/21/2013          1,500     $30.9100   $46,365.00       Sale             6/21/2013         (2)    $30.7400        ($61.48)
Purchase                6/21/2013            300     $30.9100    $9,273.00       Sale             6/21/2013       (100)    $30.9000     ($3,090.00)
Purchase                6/21/2013            900     $30.9100   $27,819.00       Sale             6/21/2013       (200)    $30.8500     ($6,170.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (200)    $30.8500     ($6,170.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (200)    $30.8800     ($6,176.00)
Purchase                6/21/2013             92     $30.7200    $2,826.24       Sale             6/21/2013        (98)    $31.0200     ($3,039.96)
Purchase                6/21/2013            200     $30.7900    $6,158.00       Sale             6/21/2013       (200)    $30.8400     ($6,168.00)
Purchase                6/21/2013            200     $30.7800    $6,156.00       Sale             6/21/2013       (200)    $30.8400     ($6,168.00)
Purchase                6/21/2013            100     $30.9500    $3,095.00       Sale             6/21/2013       (100)    $30.7400     ($3,074.00)
Purchase                6/21/2013            200     $30.8700    $6,174.00       Sale             6/21/2013       (200)    $30.7400     ($6,148.00)
Purchase                6/21/2013            100     $30.8800    $3,088.00       Sale             6/21/2013       (300)    $30.8300     ($9,249.00)
Purchase                6/21/2013            200     $31.0400    $6,208.00       Sale             6/21/2013        (50)    $30.8200     ($1,541.00)
Purchase                6/21/2013            199     $30.8900    $6,147.11       Sale             6/21/2013       (300)    $30.8700     ($9,261.00)
Purchase                6/21/2013             96     $30.8100    $2,957.76       Sale             6/21/2013       (300)    $30.8700     ($9,261.00)
Purchase                6/21/2013            200     $30.8400    $6,168.00       Sale             6/21/2013       (300)    $30.7100     ($9,213.00)
Purchase                6/21/2013              9     $30.8400      $277.56       Sale             6/21/2013       (100)    $30.7100     ($3,071.00)
Purchase                6/21/2013             27     $30.8400      $832.68       Sale             6/21/2013       (100)    $30.5900     ($3,059.00)
Purchase                6/21/2013            100     $30.8100    $3,081.00       Sale             6/21/2013       (200)    $30.6000     ($6,120.00)
Purchase                6/21/2013            100     $30.8300    $3,083.00       Sale             6/21/2013       (299)    $30.5500     ($9,134.45)
Purchase                6/21/2013            300     $30.8100    $9,243.00       Sale             6/21/2013       (300)    $30.5500     ($9,165.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/21/2013            300     $30.8100    $9,243.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            300     $30.8100    $9,243.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            100     $30.6900    $3,069.00       Sale             6/21/2013       (100)    $30.5200    ($3,052.00)
Purchase                6/21/2013            300     $30.6700    $9,201.00       Sale             6/21/2013       (100)    $30.5400    ($3,054.00)
Purchase                6/21/2013            300     $30.6700    $9,201.00       Sale             6/21/2013       (300)    $30.4100    ($9,123.00)
Purchase                6/21/2013            100     $30.5400    $3,054.00       Sale             6/21/2013       (200)    $30.4600    ($6,092.00)
Purchase                6/21/2013             87     $30.5500    $2,657.85       Sale             6/21/2013       (300)    $30.4400    ($9,132.00)
Purchase                6/21/2013            300     $30.5600    $9,168.00       Sale             6/21/2013       (300)    $30.4100    ($9,123.00)
Purchase                6/21/2013            300     $30.5600    $9,168.00       Sale             6/21/2013        (16)    $30.5200      ($488.32)
Purchase                6/21/2013            300     $30.5200    $9,156.00       Sale             6/21/2013       (300)    $30.5200    ($9,156.00)
Purchase                6/21/2013            300     $30.5200    $9,156.00       Sale             6/21/2013        (54)    $30.5200    ($1,648.08)
Purchase                6/21/2013            200     $30.4100    $6,082.00       Sale             6/21/2013       (100)    $30.6000    ($3,060.00)
Purchase                6/21/2013            100     $30.5300    $3,053.00       Sale             6/21/2013       (100)    $30.6200    ($3,062.00)
Purchase                6/21/2013            129     $30.5200    $3,937.08       Sale             6/21/2013       (100)    $30.6200    ($3,062.00)
Purchase                6/21/2013            200     $30.5200    $6,104.00       Sale             6/21/2013       (300)    $30.8600    ($9,258.00)
Purchase                6/21/2013            171     $30.5200    $5,218.92       Sale             6/21/2013        (12)    $30.9200      ($371.04)
Purchase                6/21/2013            300     $30.5200    $9,156.00       Sale             6/21/2013       (100)    $30.9300    ($3,093.00)
Purchase                6/21/2013            300     $30.8600    $9,258.00       Sale             6/21/2013       (100)    $30.9300    ($3,093.00)
Purchase                6/21/2013            300     $30.9900    $9,297.00       Sale             6/21/2013       (100)    $31.0500    ($3,105.00)
Purchase                6/21/2013            300     $30.9200    $9,276.00       Sale             6/21/2013       (400)    $31.0800   ($12,432.00)
Purchase                6/21/2013            200     $30.9100    $6,182.00       Sale             6/21/2013       (200)    $31.1000    ($6,220.00)
Purchase                6/21/2013            300     $30.9000    $9,270.00       Sale             6/21/2013       (400)    $31.1600   ($12,464.00)
Purchase                6/21/2013            300     $31.0900    $9,327.00       Sale             6/21/2013       (400)    $31.2100   ($12,484.00)
Purchase                6/21/2013            100     $31.0400    $3,104.00       Sale             6/21/2013       (400)    $31.2000   ($12,480.00)
Purchase                6/21/2013             92     $31.2400    $2,874.08       Sale             6/21/2013       (343)    $31.2600   ($10,722.18)
Purchase                6/21/2013            300     $31.2400    $9,372.00       Sale             6/21/2013        (57)    $31.2600    ($1,781.82)
Purchase                6/21/2013            100     $31.2400    $3,124.00       Sale             6/21/2013        (29)    $31.2700      ($906.83)
Purchase                6/21/2013            400     $31.2700   $12,508.00       Sale             6/21/2013       (100)    $31.0200    ($3,102.00)
Purchase                6/21/2013            400     $31.2700   $12,508.00       Sale             6/21/2013       (400)    $31.0500   ($12,420.00)
Purchase                6/21/2013            100     $31.2400    $3,124.00       Sale             6/21/2013       (400)    $31.1200   ($12,448.00)
Purchase                6/21/2013            114     $31.2400    $3,561.36       Sale             6/21/2013       (400)    $31.2700   ($12,508.00)
Purchase                6/21/2013            400     $31.2600   $12,504.00       Sale             6/21/2013       (400)    $31.2700   ($12,508.00)
Purchase                6/21/2013            400     $31.2600   $12,504.00       Sale             6/21/2013       (300)    $31.3000    ($9,390.00)
Purchase                6/21/2013            400     $31.3100   $12,524.00       Sale             6/21/2013       (400)    $31.3300   ($12,532.00)
Purchase                6/21/2013            400     $31.3000   $12,520.00       Sale             6/21/2013       (400)    $31.3300   ($12,532.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/21/2013             21     $31.3500       $658.35       Sale             6/21/2013       (162)    $31.3900     ($5,085.18)
Purchase                6/21/2013             10     $31.3500       $313.50       Sale             6/21/2013       (100)    $31.3500     ($3,135.00)
Purchase                6/21/2013            300     $31.3600     $9,408.00       Sale             6/21/2013       (800)    $22.5000    ($18,000.00)
Purchase                6/21/2013            400     $31.3600    $12,544.00       Sale             6/21/2013     (6,200)    $30.0000   ($186,000.00)
Purchase                6/21/2013          3,300     $31.3200   $103,356.00       Sale             6/21/2013       (800)    $30.0000    ($24,000.00)
Purchase                6/21/2013             52     $31.3200     $1,628.64       Sale             6/24/2013       (200)    $30.9800     ($6,196.00)
Purchase                6/21/2013          4,400     $25.0000   $110,000.00       Sale             6/24/2013       (187)    $31.0200     ($5,800.74)
Purchase                6/24/2013            300     $31.4900     $9,447.00       Sale             6/24/2013        (13)    $31.0200       ($403.26)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (200)    $31.0500     ($6,210.00)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (200)    $31.2500     ($6,250.00)
Purchase                6/24/2013            300     $31.1600     $9,348.00       Sale             6/24/2013       (200)    $31.1200     ($6,224.00)
Purchase                6/24/2013            300     $31.1200     $9,336.00       Sale             6/24/2013       (200)    $31.1200     ($6,224.00)
Purchase                6/24/2013            300     $31.1200     $9,336.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013             80     $31.2400     $2,499.20       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013            300     $31.2700     $9,381.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013            300     $31.2700     $9,381.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013             76     $31.5100     $2,394.76       Sale             6/24/2013       (123)    $31.2100     ($3,838.83)
Purchase                6/24/2013            300     $31.5800     $9,474.00       Sale             6/24/2013       (100)    $31.1200     ($3,112.00)
Purchase                6/24/2013            200     $31.5600     $6,312.00       Sale             6/24/2013       (300)    $31.1400     ($9,342.00)
Purchase                6/24/2013            200     $31.5600     $6,312.00       Sale             6/24/2013       (100)    $31.1400     ($3,114.00)
Purchase                6/24/2013            400     $32.0200    $12,808.00       Sale             6/24/2013       (100)    $31.1200     ($3,112.00)
Purchase                6/24/2013            400     $32.1700    $12,868.00       Sale             6/24/2013       (100)    $31.1100     ($3,111.00)
Purchase                6/24/2013             26     $32.2400       $838.24       Sale             6/24/2013       (100)    $31.1200     ($3,112.00)
Purchase                6/24/2013            100     $32.2400     $3,224.00       Sale             6/24/2013       (300)    $31.2500     ($9,375.00)
Purchase                6/24/2013            400     $32.1700    $12,868.00       Sale             6/24/2013       (100)    $31.3200     ($3,132.00)
Purchase                6/24/2013            400     $32.3100    $12,924.00       Sale             6/24/2013       (100)    $31.5000     ($3,150.00)
Purchase                6/24/2013            200     $32.4900     $6,498.00       Sale             6/24/2013       (200)    $31.6500     ($6,330.00)
Purchase                6/24/2013            400     $32.4900    $12,996.00       Sale             6/24/2013       (100)    $32.0300     ($3,203.00)
Purchase                6/24/2013            100     $32.4900     $3,249.00       Sale             6/24/2013       (322)    $32.1700    ($10,358.74)
Purchase                6/25/2013             64     $32.3400     $2,069.76       Sale             6/24/2013       (382)    $32.1700    ($12,288.94)
Purchase                6/25/2013             56     $32.2000     $1,803.20       Sale             6/24/2013       (392)    $32.3000    ($12,661.60)
Purchase                6/25/2013             99     $32.1400     $3,181.86       Sale             6/24/2013       (100)    $32.3500     ($3,235.00)
Purchase                6/25/2013            201     $32.1400     $6,460.14       Sale             6/24/2013       (100)    $32.3800     ($3,238.00)
Purchase                6/25/2013             40     $32.2500     $1,290.00       Sale             6/25/2013       (100)    $32.3600     ($3,236.00)
Purchase                6/25/2013             50     $32.2500     $1,612.50       Sale             6/25/2013       (100)    $32.3600     ($3,236.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/25/2013            200     $32.3500    $6,470.00       Sale             6/25/2013       (200)    $32.2800    ($6,456.00)
Purchase                6/25/2013            100     $32.3700    $3,237.00       Sale             6/25/2013       (200)    $32.4500    ($6,490.00)
Purchase                6/25/2013            400     $32.4100   $12,964.00       Sale             6/25/2013       (300)    $32.1500    ($9,645.00)
Purchase                6/26/2013            100     $32.6200    $3,262.00       Sale             6/25/2013       (400)    $32.2700   ($12,908.00)
Purchase                6/26/2013             68     $32.6200    $2,218.16       Sale             6/25/2013       (102)    $32.2300    ($3,287.46)
Purchase                6/26/2013            200     $32.5300    $6,506.00       Sale             6/25/2013       (114)    $32.2500    ($3,676.50)
Purchase                6/26/2013            300     $32.7500    $9,825.00       Sale             6/25/2013       (300)    $32.3100    ($9,693.00)
Purchase                6/26/2013            300     $32.7500    $9,825.00       Sale             6/25/2013       (400)    $32.3100   ($12,924.00)
Purchase                6/26/2013            300     $32.8500    $9,855.00       Sale             6/25/2013       (100)    $32.4000    ($3,240.00)
Purchase                6/26/2013            104     $32.8200    $3,413.28       Sale             6/26/2013       (200)    $32.6300    ($6,526.00)
Purchase                6/26/2013            400     $32.8000   $13,120.00       Sale             6/26/2013       (100)    $32.5300    ($3,253.00)
Purchase                6/27/2013             99     $32.9000    $3,257.10       Sale             6/26/2013       (100)    $32.5900    ($3,259.00)
Purchase                6/27/2013            100     $32.9000    $3,290.00       Sale             6/26/2013       (200)    $32.6000    ($6,520.00)
Purchase                6/27/2013            140     $32.8900    $4,604.60       Sale             6/26/2013       (100)    $32.7500    ($3,275.00)
Purchase                6/27/2013             60     $32.8900    $1,973.40       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/27/2013            200     $32.9400    $6,588.00       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/27/2013            100     $32.9400    $3,294.00       Sale             6/26/2013       (100)    $32.7600    ($3,276.00)
Purchase                6/27/2013             52     $32.8900    $1,710.28       Sale             6/26/2013       (300)    $32.8000    ($9,840.00)
Purchase                6/27/2013             97     $32.8900    $3,190.33       Sale             6/26/2013       (300)    $32.8500    ($9,855.00)
Purchase                6/27/2013            400     $32.9200   $13,168.00       Sale             6/26/2013       (400)    $32.7800   ($13,112.00)
Purchase                6/27/2013            400     $32.9200   $13,168.00       Sale             6/26/2013       (200)    $32.7500    ($6,550.00)
Purchase                6/27/2013            100     $32.8800    $3,288.00       Sale             6/26/2013       (400)    $32.8100   ($13,124.00)
Purchase                6/27/2013            200     $32.8700    $6,574.00       Sale             6/26/2013        (83)    $32.7900    ($2,721.57)
Purchase                6/27/2013            200     $32.8700    $6,574.00       Sale             6/26/2013        (17)    $32.7900      ($557.43)
Purchase                6/27/2013            345     $32.8700   $11,340.15       Sale             6/27/2013       (200)    $32.9900    ($6,598.00)
Purchase                6/27/2013          1,320     $32.9700   $43,520.40       Sale             6/27/2013       (100)    $32.8900    ($3,289.00)
Purchase                6/28/2013            100     $32.9900    $3,299.00       Sale             6/27/2013        (80)    $32.8000    ($2,624.00)
Purchase                6/28/2013            100     $32.9900    $3,299.00       Sale             6/27/2013       (100)    $32.8200    ($3,282.00)
Purchase                6/28/2013            100     $33.0700    $3,307.00       Sale             6/27/2013       (200)    $32.8200    ($6,564.00)
Purchase                6/28/2013            100     $33.1300    $3,313.00       Sale             6/27/2013       (100)    $32.8300    ($3,283.00)
Purchase                6/28/2013            400     $33.1300   $13,252.00       Sale             6/27/2013        (99)    $32.8600    ($3,253.14)
Purchase                6/28/2013            300     $33.1300    $9,939.00       Sale             6/27/2013         (9)    $32.8700      ($295.83)
Purchase                6/28/2013            200     $33.1100    $6,622.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/28/2013            100     $33.1100    $3,311.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/28/2013            400     $33.1100   $13,244.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                6/28/2013             26     $33.1000      $860.60       Sale             6/27/2013       (195)    $32.8800    ($6,411.60)
Purchase                6/28/2013            100     $33.1400    $3,314.00       Sale             6/27/2013       (205)    $32.8800    ($6,740.40)
Purchase                6/28/2013            263     $33.1700    $8,723.71       Sale             6/27/2013        (78)    $32.8900    ($2,565.42)
Purchase                6/28/2013            137     $33.1700    $4,544.29       Sale             6/27/2013       (322)    $32.8900   ($10,590.58)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013       (100)    $32.8700    ($3,287.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013        (36)    $32.8800    ($1,183.68)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013       (100)    $32.8900    ($3,289.00)
Purchase                6/28/2013            100     $33.1700    $3,317.00       Sale             6/27/2013       (300)    $32.9200    ($9,876.00)
Purchase                 7/1/2013            100     $33.2700    $3,327.00       Sale             6/27/2013       (400)    $32.9700   ($13,188.00)
Purchase                 7/1/2013            100     $33.2500    $3,325.00       Sale             6/27/2013       (100)    $32.9700    ($3,297.00)
Purchase                 7/1/2013            100     $33.2300    $3,323.00       Sale             6/27/2013       (824)    $32.9700   ($27,167.28)
Purchase                 7/1/2013            200     $33.2300    $6,646.00       Sale             6/28/2013       (200)    $32.9900    ($6,598.00)
Purchase                 7/1/2013            100     $33.2500    $3,325.00       Sale             6/28/2013       (100)    $33.0300    ($3,303.00)
Purchase                 7/1/2013            100     $33.2100    $3,321.00       Sale             6/28/2013       (300)    $33.0300    ($9,909.00)
Purchase                 7/1/2013            129     $33.2600    $4,290.54       Sale             6/28/2013       (256)    $33.0700    ($8,465.92)
Purchase                 7/1/2013            400     $33.2600   $13,304.00       Sale             6/28/2013        (87)    $33.0700    ($2,877.09)
Purchase                 7/1/2013            657     $33.2700   $21,858.39       Sale             6/28/2013       (313)    $33.0700   ($10,350.91)
Purchase                 7/2/2013            100     $33.2400    $3,324.00       Sale             6/28/2013         (1)    $33.1500       ($33.15)
Purchase                 7/2/2013            200     $33.1900    $6,638.00       Sale             6/28/2013       (100)    $33.1400    ($3,314.00)
Purchase                 7/2/2013            199     $33.2500    $6,616.75       Sale             6/28/2013       (143)    $33.1400    ($4,739.02)
Purchase                 7/2/2013             43     $33.2500    $1,429.75       Sale             6/28/2013       (257)    $33.1400    ($8,516.98)
Purchase                 7/2/2013            400     $33.2900   $13,316.00       Sale             6/28/2013       (400)    $33.1300   ($13,252.00)
Purchase                 7/2/2013            400     $33.2100   $13,284.00       Sale             6/28/2013       (100)    $33.1600    ($3,316.00)
Purchase                 7/2/2013            824     $33.2600   $27,406.24       Sale             6/28/2013       (400)    $33.1200   ($13,248.00)
Purchase                 7/3/2013            200     $33.1600    $6,632.00       Sale             6/28/2013       (400)    $33.1500   ($13,260.00)
Purchase                 7/3/2013            200     $33.2100    $6,642.00       Sale             6/28/2013       (400)    $33.1500   ($13,260.00)
Purchase                 7/3/2013            100     $33.2000    $3,320.00       Sale             6/28/2013       (400)    $33.1800   ($13,272.00)
Purchase                 7/3/2013            300     $33.2000    $9,960.00       Sale              7/1/2013       (100)    $33.1100    ($3,311.00)
Purchase                 7/3/2013            300     $33.2200    $9,966.00       Sale              7/1/2013       (200)    $33.1100    ($6,622.00)
Purchase                 7/3/2013            300     $33.2000    $9,960.00       Sale              7/1/2013       (300)    $33.2100    ($9,963.00)
Purchase                 7/3/2013             88     $33.3300    $2,933.04       Sale              7/1/2013       (400)    $33.2700   ($13,308.00)
Purchase                 7/3/2013             64     $33.2800    $2,129.92       Sale              7/1/2013       (400)    $33.1900   ($13,276.00)
Purchase                 7/3/2013            300     $33.3300    $9,999.00       Sale              7/1/2013       (100)    $33.2700    ($3,327.00)
Purchase                 7/5/2013            200     $33.4800    $6,696.00       Sale              7/2/2013       (200)    $33.1800    ($6,636.00)
Purchase                 7/5/2013            100     $33.4800    $3,348.00       Sale              7/2/2013       (100)    $33.2300    ($3,323.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                 7/5/2013            200     $33.3000    $6,660.00       Sale              7/2/2013       (200)    $33.2300    ($6,646.00)
Purchase                 7/8/2013            200     $33.4500    $6,690.00       Sale              7/2/2013       (100)    $33.2300    ($3,323.00)
Purchase                 7/9/2013            100     $33.7500    $3,375.00       Sale              7/2/2013       (100)    $33.2900    ($3,329.00)
Purchase                 7/9/2013            100     $33.8700    $3,387.00       Sale              7/2/2013       (200)    $33.2900    ($6,658.00)
Purchase                 7/9/2013            200     $33.8700    $6,774.00       Sale              7/2/2013       (200)    $33.2900    ($6,658.00)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale              7/2/2013        (93)    $33.2500    ($3,092.25)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale              7/2/2013        (32)    $33.2300    ($1,063.36)
Purchase                 7/9/2013            100     $33.8000    $3,380.00       Sale              7/2/2013       (400)    $33.2400   ($13,296.00)
Purchase                 7/9/2013            200     $33.7000    $6,740.00       Sale              7/3/2013       (200)    $33.1900    ($6,638.00)
Purchase                 7/9/2013            400     $33.6900   $13,476.00       Sale              7/3/2013       (200)    $33.1900    ($6,638.00)
Purchase                 7/9/2013            200     $33.6500    $6,730.00       Sale              7/3/2013       (100)    $33.2400    ($3,324.00)
Purchase                 7/9/2013            100     $33.6000    $3,360.00       Sale              7/3/2013       (300)    $33.2200    ($9,966.00)
Purchase                7/10/2013            200     $33.1100    $6,622.00       Sale              7/3/2013       (300)    $33.2200    ($9,966.00)
Purchase                7/10/2013            200     $33.1500    $6,630.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/10/2013            200     $33.2000    $6,640.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/10/2013            200     $33.3300    $6,666.00       Sale              7/5/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/10/2013            188     $33.3300    $6,266.04       Sale              7/5/2013       (200)    $33.5000    ($6,700.00)
Purchase                7/10/2013            200     $33.3500    $6,670.00       Sale              7/5/2013       (200)    $33.5000    ($6,700.00)
Purchase                7/10/2013            300     $33.3700   $10,011.00       Sale              7/5/2013       (200)    $33.5400    ($6,708.00)
Purchase                7/10/2013            300     $33.3500   $10,005.00       Sale              7/8/2013     (1,020)    $33.7200   ($34,394.40)
Purchase                7/10/2013            100     $33.3500    $3,335.00       Sale              7/9/2013       (400)    $33.7000   ($13,480.00)
Purchase                7/10/2013            100     $33.3400    $3,334.00       Sale              7/9/2013        (50)    $33.6900    ($1,684.50)
Purchase                7/10/2013            300     $33.3400   $10,002.00       Sale              7/9/2013       (100)    $33.6700    ($3,367.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale              7/9/2013       (400)    $33.6600   ($13,464.00)
Purchase                7/10/2013            300     $33.3400   $10,002.00       Sale             7/10/2013       (100)    $33.2100    ($3,321.00)
Purchase                7/10/2013             87     $33.2500    $2,892.75       Sale             7/10/2013       (200)    $33.0900    ($6,618.00)
Purchase                7/10/2013            300     $33.2500    $9,975.00       Sale             7/10/2013       (200)    $33.1200    ($6,624.00)
Purchase                7/10/2013            193     $33.2500    $6,417.25       Sale             7/10/2013       (200)    $33.1400    ($6,628.00)
Purchase                7/10/2013            299     $33.2300    $9,935.77       Sale             7/10/2013       (200)    $33.2000    ($6,640.00)
Purchase                7/10/2013            300     $33.2300    $9,969.00       Sale             7/10/2013       (200)    $33.2100    ($6,642.00)
Purchase                7/10/2013              1     $33.2300       $33.23       Sale             7/10/2013       (200)    $33.3500    ($6,670.00)
Purchase                7/10/2013            300     $33.2800    $9,984.00       Sale             7/10/2013       (200)    $33.3400    ($6,668.00)
Purchase                7/10/2013            400     $33.3200   $13,328.00       Sale             7/10/2013       (300)    $33.3300    ($9,999.00)
Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/10/2013         (1)    $33.3600       ($33.36)
Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/10/2013       (299)    $33.3600    ($9,974.64)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/10/2013            400     $33.2900   $13,316.00       Sale             7/10/2013       (300)    $33.3600   ($10,008.00)
Purchase                7/10/2013            400     $33.3000   $13,320.00       Sale             7/10/2013       (100)    $33.2400    ($3,324.00)
Purchase                7/10/2013            400     $33.3000   $13,320.00       Sale             7/10/2013       (100)    $33.2400    ($3,324.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale             7/10/2013       (300)    $33.2400    ($9,972.00)
Purchase                7/10/2013            200     $33.3400    $6,668.00       Sale             7/10/2013       (300)    $33.2400    ($9,972.00)
Purchase                7/11/2013            100     $33.4500    $3,345.00       Sale             7/10/2013       (198)    $33.2600    ($6,585.48)
Purchase                7/11/2013            100     $33.4500    $3,345.00       Sale             7/10/2013       (200)    $33.2300    ($6,646.00)
Purchase                7/11/2013            200     $33.4800    $6,696.00       Sale             7/10/2013       (100)    $33.2300    ($3,323.00)
Purchase                7/11/2013            200     $33.4600    $6,692.00       Sale             7/10/2013       (300)    $33.2300    ($9,969.00)
Purchase                7/11/2013            200     $33.4600    $6,692.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/11/2013            100     $33.4600    $3,346.00       Sale             7/10/2013       (170)    $33.3100    ($5,662.70)
Purchase                7/11/2013            200     $33.5800    $6,716.00       Sale             7/10/2013       (400)    $33.2900   ($13,316.00)
Purchase                7/11/2013             50     $33.5700    $1,678.50       Sale             7/10/2013       (400)    $33.2900   ($13,316.00)
Purchase                7/11/2013            300     $33.6000   $10,080.00       Sale             7/10/2013       (270)    $33.2900    ($8,988.30)
Purchase                7/11/2013            300     $33.6000   $10,080.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/11/2013            100     $33.6100    $3,361.00       Sale             7/10/2013       (400)    $33.3000   ($13,320.00)
Purchase                7/11/2013             46     $33.6000    $1,545.60       Sale             7/10/2013       (170)    $33.3000    ($5,661.00)
Purchase                7/11/2013            300     $33.6300   $10,089.00       Sale             7/10/2013       (233)    $33.2800    ($7,754.24)
Purchase                7/11/2013            400     $33.6300   $13,452.00       Sale             7/10/2013       (100)    $33.2800    ($3,328.00)
Purchase                7/12/2013            200     $33.7000    $6,740.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/12/2013            200     $33.7000    $6,740.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/12/2013            200     $33.6700    $6,734.00       Sale             7/11/2013       (100)    $33.4400    ($3,344.00)
Purchase                7/12/2013            200     $33.6300    $6,726.00       Sale             7/11/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/12/2013            206     $33.6400    $6,929.84       Sale             7/11/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/12/2013            100     $33.6000    $3,360.00       Sale             7/11/2013       (300)    $33.6300   ($10,089.00)
Purchase                7/12/2013            300     $33.5900   $10,077.00       Sale             7/11/2013       (189)    $33.6000    ($6,350.40)
Purchase                7/12/2013            100     $33.5900    $3,359.00       Sale             7/11/2013       (400)    $33.6100   ($13,444.00)
Purchase                7/12/2013             70     $33.6000    $2,352.00       Sale             7/11/2013       (100)    $33.6200    ($3,362.00)
Purchase                7/12/2013            395     $33.6100   $13,275.95       Sale             7/11/2013        (83)    $33.6200    ($2,790.46)
Purchase                7/12/2013              5     $33.6100      $168.05       Sale             7/12/2013       (100)    $33.5800    ($3,358.00)
Purchase                7/12/2013            400     $33.6000   $13,440.00       Sale             7/12/2013        (62)    $33.5800    ($2,081.96)
Purchase                7/12/2013            200     $33.6000    $6,720.00       Sale             7/12/2013        (38)    $33.5800    ($1,276.04)
Purchase                7/12/2013            212     $33.6000    $7,123.20       Sale             7/12/2013       (200)    $33.5500    ($6,710.00)
Purchase                7/12/2013            400     $33.6000   $13,440.00       Sale             7/12/2013       (200)    $33.5500    ($6,710.00)
Purchase                7/12/2013            188     $33.6000    $6,316.80       Sale             7/12/2013       (146)    $33.5900    ($4,904.14)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/15/2013            199     $33.6200    $6,690.38       Sale             7/12/2013       (300)    $33.6000   ($10,080.00)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/12/2013       (300)    $33.5900   ($10,077.00)
Purchase                7/15/2013            200     $33.6900    $6,738.00       Sale             7/12/2013       (300)    $33.6200   ($10,086.00)
Purchase                7/15/2013            200     $33.7000    $6,740.00       Sale             7/12/2013       (400)    $33.6200   ($13,448.00)
Purchase                7/15/2013            200     $33.7100    $6,742.00       Sale             7/12/2013       (400)    $33.6200   ($13,448.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/12/2013       (272)    $33.6100    ($9,141.92)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/12/2013       (400)    $33.6100   ($13,444.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/12/2013       (300)    $33.6100   ($10,083.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/12/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013        (12)    $33.5900      ($403.08)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013       (100)    $33.5900    ($3,359.00)
Purchase                7/15/2013            300     $33.7400   $10,122.00       Sale             7/15/2013       (100)    $33.6100    ($3,361.00)
Purchase                7/15/2013            194     $33.7400    $6,545.56       Sale             7/15/2013       (300)    $33.7000   ($10,110.00)
Purchase                7/15/2013            400     $33.7200   $13,488.00       Sale             7/15/2013       (300)    $33.7100   ($10,113.00)
Purchase                7/15/2013            400     $33.7200   $13,488.00       Sale             7/15/2013       (300)    $33.7100   ($10,113.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/15/2013       (300)    $33.7200   ($10,116.00)
Purchase                7/15/2013            100     $33.7100    $3,371.00       Sale             7/15/2013       (178)    $33.7400    ($6,005.72)
Purchase                7/15/2013            400     $33.7000   $13,480.00       Sale             7/15/2013       (167)    $33.7400    ($5,634.58)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/15/2013       (133)    $33.7400    ($4,487.42)
Purchase                7/15/2013            100     $33.7000    $3,370.00       Sale             7/15/2013       (122)    $33.7400    ($4,116.28)
Purchase                7/15/2013            300     $33.7000   $10,110.00       Sale             7/15/2013       (200)    $33.7500    ($6,750.00)
Purchase                7/15/2013            188     $33.6900    $6,333.72       Sale             7/15/2013       (100)    $33.7500    ($3,375.00)
Purchase                7/16/2013            200     $33.6300    $6,726.00       Sale             7/15/2013       (300)    $33.7500   ($10,125.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/15/2013       (300)    $33.7500   ($10,125.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/15/2013       (400)    $33.7000   ($13,480.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/15/2013       (400)    $33.7100   ($13,484.00)
Purchase                7/16/2013            200     $33.5600    $6,712.00       Sale             7/15/2013       (400)    $33.7100   ($13,484.00)
Purchase                7/16/2013            100     $33.5600    $3,356.00       Sale             7/15/2013       (400)    $33.5800   ($13,432.00)
Purchase                7/16/2013            100     $33.5600    $3,356.00       Sale             7/15/2013       (400)    $33.6000   ($13,440.00)
Purchase                7/16/2013            100     $33.6800    $3,368.00       Sale             7/15/2013       (400)    $33.6000   ($13,440.00)
Purchase                7/16/2013            100     $33.6800    $3,368.00       Sale             7/16/2013       (200)    $33.5600    ($6,712.00)
Purchase                7/16/2013            100     $33.5900    $3,359.00       Sale             7/16/2013       (100)    $33.5600    ($3,356.00)
Purchase                7/16/2013            100     $33.6700    $3,367.00       Sale             7/16/2013       (100)    $33.5600    ($3,356.00)
Purchase                7/16/2013            200     $33.6000    $6,720.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/16/2013            200     $33.7000    $6,740.00       Sale             7/16/2013       (100)    $33.6100    ($3,361.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                7/16/2013          4,360     $33.5800   $146,408.80       Sale             7/16/2013       (100)    $33.6200    ($3,362.00)
Purchase                7/19/2013          4,380     $33.7900   $148,000.20       Sale             7/16/2013       (100)    $33.6400    ($3,364.00)
Purchase                7/22/2013            100     $33.7500     $3,375.00       Sale             7/16/2013       (100)    $33.6400    ($3,364.00)
Purchase                7/22/2013            100     $33.7800     $3,378.00       Sale             7/16/2013       (100)    $33.5700    ($3,357.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/16/2013       (100)    $33.6000    ($3,360.00)
Purchase                7/22/2013            100     $33.8100     $3,381.00       Sale             7/16/2013       (200)    $33.6100    ($6,722.00)
Purchase                7/26/2013            100     $33.5000     $3,350.00       Sale             7/16/2013       (100)    $33.5900    ($3,359.00)
Purchase                7/26/2013            105     $33.5000     $3,517.50       Sale             7/16/2013       (200)    $33.6000    ($6,720.00)
Purchase                7/26/2013             95     $33.5000     $3,182.50       Sale             7/16/2013       (200)    $33.6000    ($6,720.00)
Purchase                7/26/2013          3,723     $33.5000   $124,720.50       Sale             7/19/2013        (63)    $33.6500    ($2,119.95)
Purchase                7/29/2013            100     $33.5500     $3,355.00       Sale             7/19/2013       (178)    $33.6500    ($5,989.70)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013       (100)    $33.6500    ($3,365.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/29/2013             43     $33.5000     $1,440.50       Sale             7/19/2013       (300)    $33.6500   ($10,095.00)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013       (137)    $33.6500    ($4,610.05)
Purchase                7/29/2013            100     $33.5000     $3,350.00       Sale             7/19/2013        (63)    $33.6500    ($2,119.95)
Purchase                7/29/2013            100     $33.5100     $3,351.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/29/2013            100     $33.5200     $3,352.00       Sale             7/19/2013        (37)    $33.6500    ($1,245.05)
Purchase                7/29/2013            100     $33.6200     $3,362.00       Sale             7/19/2013        (22)    $33.6500      ($740.30)
Purchase                7/29/2013            100     $33.6400     $3,364.00       Sale             7/19/2013       (200)    $33.6500    ($6,730.00)
Purchase                7/29/2013            100     $33.4900     $3,349.00       Sale             7/19/2013       (600)    $25.0000   ($15,000.00)
Purchase                7/29/2013            200     $33.5500     $6,710.00       Sale             7/19/2013     (2,900)    $30.0000   ($87,000.00)
Purchase                7/29/2013            200     $33.6500     $6,730.00       Sale             7/25/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/29/2013            200     $33.6500     $6,730.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/29/2013            100     $33.6500     $3,365.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/29/2013            200     $33.6400     $6,728.00       Sale             7/25/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/29/2013            200     $33.6400     $6,728.00       Sale             7/25/2013       (200)    $33.4600    ($6,692.00)
Purchase                7/30/2013            100     $33.5700     $3,357.00       Sale             7/25/2013        (34)    $33.4600    ($1,137.64)
Purchase                7/30/2013            100     $33.5600     $3,356.00       Sale             7/26/2013       (100)    $33.3600    ($3,336.00)
Purchase                7/30/2013            100     $33.5900     $3,359.00       Sale             7/26/2013       (200)    $33.3600    ($6,672.00)
Purchase                7/30/2013             98     $33.6000     $3,292.80       Sale             7/26/2013       (100)    $33.3600    ($3,336.00)
Purchase                7/30/2013            100     $33.6000     $3,360.00       Sale             7/26/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/30/2013            100     $33.6200     $3,362.00       Sale             7/26/2013        (50)    $33.5000    ($1,675.00)
Purchase                7/30/2013            100     $33.6000     $3,360.00       Sale             7/26/2013       (200)    $33.5000    ($6,700.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                7/30/2013            100     $33.6000   $3,360.00       Sale             7/26/2013       (200)    $33.5100    ($6,702.00)
Purchase                7/30/2013             36     $33.6200   $1,210.32       Sale             7/26/2013       (824)    $33.5000   ($27,604.00)
Purchase                7/31/2013            100     $33.7100   $3,371.00       Sale             7/29/2013        (57)    $33.4700    ($1,907.79)
Purchase                7/31/2013            100     $33.7000   $3,370.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013         (6)    $33.4600      ($200.76)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/31/2013            100     $33.6100   $3,361.00       Sale             7/29/2013       (100)    $33.4600    ($3,346.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.6500   $3,365.00       Sale             7/29/2013       (100)    $33.5100    ($3,351.00)
Purchase                7/31/2013            100     $33.6600   $3,366.00       Sale             7/29/2013       (100)    $33.5500    ($3,355.00)
Purchase                7/31/2013            100     $33.6300   $3,363.00       Sale             7/29/2013       (100)    $33.5300    ($3,353.00)
Purchase                7/31/2013             23     $33.6000     $772.80       Sale             7/29/2013       (100)    $33.6500    ($3,365.00)
Purchase                7/31/2013            100     $33.5900   $3,359.00       Sale             7/29/2013        (55)    $33.5000    ($1,842.50)
Purchase                7/31/2013            200     $33.5500   $6,710.00       Sale             7/29/2013       (100)    $33.4800    ($3,348.00)
Purchase                7/31/2013             14     $33.5800     $470.12       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/31/2013            180     $33.5700   $6,042.60       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/31/2013             20     $33.5700     $671.40       Sale             7/29/2013       (100)    $33.5000    ($3,350.00)
Purchase                7/31/2013            200     $33.5800   $6,716.00       Sale             7/29/2013       (200)    $33.5600    ($6,712.00)
Purchase                 8/1/2013            100     $33.6700   $3,367.00       Sale             7/29/2013       (200)    $33.6300    ($6,726.00)
Purchase                 8/1/2013            100     $33.6200   $3,362.00       Sale             7/29/2013        (75)    $33.6300    ($2,522.25)
Purchase                 8/1/2013            100     $33.6200   $3,362.00       Sale             7/29/2013        (96)    $33.6500    ($3,230.40)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/29/2013       (200)    $33.6500    ($6,730.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/29/2013       (200)    $33.6500    ($6,730.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/29/2013       (168)    $33.5100    ($5,629.68)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/29/2013       (200)    $33.5200    ($6,704.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/29/2013       (177)    $33.5300    ($5,934.81)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.5800    ($3,358.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.6000    ($3,360.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/1/2013            100     $33.6300   $3,363.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)
Purchase                 8/1/2013            100     $33.6400   $3,364.00       Sale             7/30/2013       (100)    $33.6200    ($3,362.00)
Purchase                 8/1/2013            100     $33.6100   $3,361.00       Sale             7/30/2013       (100)    $33.6100    ($3,361.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                 8/1/2013            100     $33.6100    $3,361.00       Sale             7/30/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/1/2013            100     $33.6000    $3,360.00       Sale             7/30/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/1/2013            100     $33.5700    $3,357.00       Sale             7/30/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/1/2013            100     $33.5600    $3,356.00       Sale             7/30/2013       (100)    $33.6300     ($3,363.00)
Purchase                 8/1/2013            200     $33.6100    $6,722.00       Sale             7/31/2013        (50)    $33.6100     ($1,680.50)
Purchase                 8/1/2013            200     $33.6000    $6,720.00       Sale             7/31/2013        (50)    $33.6100     ($1,680.50)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/2/2013            100     $33.7200    $3,372.00       Sale             7/31/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/2/2013             45     $33.7500    $1,518.75       Sale             7/31/2013       (100)    $33.5800     ($3,358.00)
Purchase                 8/2/2013             55     $33.7500    $1,856.25       Sale             7/31/2013       (100)    $33.5500     ($3,355.00)
Purchase                 8/2/2013            100     $33.7600    $3,376.00       Sale             7/31/2013       (100)    $33.5500     ($3,355.00)
Purchase                 8/2/2013            100     $33.7600    $3,376.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6000     ($3,360.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.6000     ($3,360.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/2/2013            100     $33.7500    $3,375.00       Sale             7/31/2013       (200)    $33.5700     ($6,714.00)
Purchase                 8/2/2013            200     $33.7500    $6,750.00       Sale             7/31/2013       (200)    $33.6200     ($6,724.00)
Purchase                 8/2/2013          2,628     $33.7700   $88,747.56       Sale             7/31/2013       (200)    $33.6200     ($6,724.00)
Purchase                 8/5/2013            100     $33.6600    $3,366.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.6200    $3,362.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.6100    $3,361.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.6400    $3,364.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.6400    $3,364.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.6300    $3,363.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6300     ($3,363.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013             99     $33.7700    $3,343.23       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.7700    $3,377.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.7500    $3,375.00       Sale              8/1/2013       (100)    $33.6500     ($3,365.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 8/5/2013            100     $33.8600   $3,386.00       Sale             8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.8600   $3,386.00       Sale             8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/1/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/1/2013       (100)    $33.6500     ($3,365.00)
Purchase                 8/5/2013            100     $33.8300   $3,383.00       Sale             8/1/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/5/2013            200     $33.9200   $6,784.00       Sale             8/1/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/5/2013            200     $33.9600   $6,792.00       Sale             8/1/2013       (100)    $33.6100     ($3,361.00)
Purchase                 8/5/2013            100     $33.8700   $3,387.00       Sale             8/1/2013       (100)    $33.5600     ($3,356.00)
Purchase                 8/5/2013            100     $33.8700   $3,387.00       Sale             8/1/2013       (100)    $33.5700     ($3,357.00)
Purchase                 8/5/2013            200     $33.8700   $6,774.00       Sale             8/1/2013       (100)    $33.5700     ($3,357.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/1/2013       (200)    $33.6100     ($6,722.00)
Purchase                 8/6/2013              1     $33.8400      $33.84       Sale             8/1/2013       (200)    $33.6100     ($6,722.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/1/2013       (200)    $33.6400     ($6,728.00)
Purchase                 8/6/2013            100     $33.8500   $3,385.00       Sale             8/1/2013       (200)    $33.6400     ($6,728.00)
Purchase                 8/6/2013            100     $33.8400   $3,384.00       Sale             8/2/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/6/2013            100     $33.8200   $3,382.00       Sale             8/2/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/6/2013            100     $33.8200   $3,382.00       Sale             8/2/2013       (100)    $33.5900     ($3,359.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/2/2013       (100)    $33.6000     ($3,360.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (100)    $33.7300     ($3,373.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (100)    $33.7300     ($3,373.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/2/2013       (100)    $33.7300     ($3,373.00)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/2/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/2/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/6/2013            200     $33.8100   $6,762.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            200     $33.8000   $6,760.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            200     $33.7900   $6,758.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/6/2013            200     $33.7800   $6,756.00       Sale             8/2/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/6/2013             26     $33.7800     $878.28       Sale             8/2/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/6/2013            100     $33.7800   $3,378.00       Sale             8/2/2013       (200)    $33.7700     ($6,754.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/7/2013            100     $33.8100   $3,381.00       Sale             8/5/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (100)    $33.6400     ($3,364.00)
Purchase                 8/7/2013            100     $33.8000   $3,380.00       Sale             8/5/2013       (100)    $33.6500     ($3,365.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 8/7/2013            100     $33.9400   $3,394.00       Sale             8/5/2013       (100)    $33.6300     ($3,363.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/5/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/7/2013            100     $33.9400   $3,394.00       Sale             8/5/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/5/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/7/2013            100     $33.9300   $3,393.00       Sale             8/5/2013       (100)    $33.7700     ($3,377.00)
Purchase                 8/7/2013            100     $33.9200   $3,392.00       Sale             8/5/2013        (35)    $33.7600     ($1,181.60)
Purchase                 8/7/2013            100     $33.9100   $3,391.00       Sale             8/5/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/7/2013             55     $33.9900   $1,869.45       Sale             8/5/2013       (100)    $33.7500     ($3,375.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/5/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/5/2013       (100)    $33.8700     ($3,387.00)
Purchase                 8/7/2013            100     $33.9900   $3,399.00       Sale             8/5/2013       (100)    $33.8500     ($3,385.00)
Purchase                 8/7/2013            100     $34.1300   $3,413.00       Sale             8/5/2013       (100)    $33.7800     ($3,378.00)
Purchase                 8/7/2013            100     $34.1400   $3,414.00       Sale             8/5/2013       (100)    $33.8200     ($3,382.00)
Purchase                 8/7/2013            100     $34.1300   $3,413.00       Sale             8/5/2013       (100)    $33.8500     ($3,385.00)
Purchase                 8/7/2013            100     $34.0200   $3,402.00       Sale             8/5/2013       (200)    $33.9400     ($6,788.00)
Purchase                 8/7/2013            100     $34.0200   $3,402.00       Sale             8/5/2013       (200)    $33.8500     ($6,770.00)
Purchase                 8/7/2013             62     $33.9800   $2,106.76       Sale             8/5/2013       (200)    $33.8500     ($6,770.00)
Purchase                 8/7/2013            100     $33.9800   $3,398.00       Sale             8/5/2013       (100)    $33.8600     ($3,386.00)
Purchase                 8/7/2013            100     $33.9500   $3,395.00       Sale             8/5/2013       (100)    $33.8600     ($3,386.00)
Purchase                 8/7/2013            100     $33.9500   $3,395.00       Sale             8/6/2013       (100)    $33.8100     ($3,381.00)
Purchase                 8/7/2013            200     $33.9600   $6,792.00       Sale             8/6/2013       (100)    $33.8100     ($3,381.00)
Purchase                 8/7/2013             34     $33.8900   $1,152.26       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
Purchase                 8/8/2013            100     $33.6100   $3,361.00       Sale             8/6/2013       (200)    $33.7900     ($6,758.00)
Purchase                 8/8/2013            100     $33.6000   $3,360.00       Sale             8/6/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/8/2013            100     $33.5700   $3,357.00       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
Purchase                 8/8/2013            100     $33.5400   $3,354.00       Sale             8/6/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/8/2013            100     $33.5400   $3,354.00       Sale             8/6/2013       (200)    $33.7900     ($6,758.00)
Purchase                 8/8/2013             39     $33.5900   $1,310.01       Sale             8/6/2013       (100)    $33.7900     ($3,379.00)
Purchase                 8/8/2013            100     $33.5700   $3,357.00       Sale             8/6/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/8/2013            100     $33.4600   $3,346.00       Sale             8/6/2013       (200)    $33.7600     ($6,752.00)
Purchase                 8/8/2013            100     $33.4600   $3,346.00       Sale             8/6/2013       (100)    $33.7600     ($3,376.00)
Purchase                 8/8/2013            100     $33.5000   $3,350.00       Sale             8/6/2013        (26)    $33.8000       ($878.80)
Purchase                 8/8/2013            100     $33.5800   $3,358.00       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/6/2013       (200)    $33.8000     ($6,760.00)
Purchase                 8/8/2013            100     $33.6400   $3,364.00       Sale             8/6/2013        (74)    $33.8000     ($2,501.20)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date       Shares      Price       Proceeds

Purchase                 8/8/2013            100     $33.6300     $3,363.00       Sale             8/6/2013       (182)    $33.8000     ($6,151.60)
Purchase                 8/8/2013            100     $33.6300     $3,363.00       Sale             8/6/2013        (18)    $33.8000       ($608.40)
Purchase                 8/8/2013            100     $33.6000     $3,360.00       Sale             8/6/2013       (100)    $33.8000     ($3,380.00)
Purchase                 8/8/2013             33     $33.5900     $1,108.47       Sale             8/7/2013       (100)    $33.9500     ($3,395.00)
Purchase                 8/8/2013            100     $33.6000     $3,360.00       Sale             8/7/2013       (100)    $33.9500     ($3,395.00)
Purchase                 8/8/2013            100     $33.6400     $3,364.00       Sale             8/7/2013       (100)    $33.9500     ($3,395.00)
Purchase                 8/8/2013            100     $33.6400     $3,364.00       Sale             8/7/2013       (100)    $33.9200     ($3,392.00)
Purchase                 8/8/2013            100     $33.4700     $3,347.00       Sale             8/7/2013       (100)    $33.9200     ($3,392.00)
Purchase                 8/8/2013            200     $33.4900     $6,698.00       Sale             8/7/2013        (92)    $33.9400     ($3,122.48)
Purchase                 8/8/2013            200     $33.4900     $6,698.00       Sale             8/7/2013       (100)    $33.9600     ($3,396.00)
Purchase                 8/8/2013            200     $33.4700     $6,694.00       Sale             8/7/2013       (100)    $33.9700     ($3,397.00)
Purchase                 8/8/2013            200     $33.4700     $6,694.00       Sale             8/7/2013       (100)    $33.9700     ($3,397.00)
Purchase                 8/8/2013            200     $33.6200     $6,724.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/8/2013            200     $33.6000     $6,720.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $34.0300     ($3,403.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $34.0300     ($3,403.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $34.0300     ($3,403.00)
Purchase                 8/9/2013            100     $33.6200     $3,362.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.6100     $3,361.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.5600     $3,356.00       Sale             8/7/2013       (100)    $33.9900     ($3,399.00)
Purchase                 8/9/2013            100     $33.5200     $3,352.00       Sale             8/7/2013       (200)    $33.9600     ($6,792.00)
Purchase                 8/9/2013            100     $33.6400     $3,364.00       Sale             8/7/2013        (11)    $33.9700       ($373.67)
Purchase                 8/9/2013            100     $33.6400     $3,364.00       Sale             8/7/2013       (200)    $33.9700     ($6,794.00)
Purchase                 8/9/2013            200     $33.5600     $6,712.00       Sale             8/7/2013         (9)    $33.9600       ($305.64)
Purchase                 8/9/2013            200     $33.5600     $6,712.00       Sale             8/7/2013       (100)    $33.9600     ($3,396.00)
Purchase                 8/9/2013          3,066     $33.4600   $102,588.36       Sale             8/7/2013       (200)    $33.9400     ($6,788.00)
Purchase                8/12/2013            100     $33.0000     $3,300.00       Sale             8/8/2013       (100)    $33.5300     ($3,353.00)
Purchase                8/12/2013            100     $33.0000     $3,300.00       Sale             8/8/2013       (100)    $33.5400     ($3,354.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale             8/8/2013       (100)    $33.4500     ($3,345.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale             8/8/2013       (100)    $33.4700     ($3,347.00)
Purchase                8/12/2013            100     $33.0600     $3,306.00       Sale             8/8/2013       (100)    $33.5800     ($3,358.00)
Purchase                8/12/2013            100     $33.0700     $3,307.00       Sale             8/8/2013       (100)    $33.6200     ($3,362.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale             8/8/2013       (100)    $33.6200     ($3,362.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale             8/8/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/12/2013            100     $32.9900     $3,299.00       Sale             8/8/2013       (100)    $33.6400     ($3,364.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/12/2013            100     $32.8700   $3,287.00       Sale              8/8/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/12/2013            100     $32.9300   $3,293.00       Sale              8/8/2013       (100)    $33.5900     ($3,359.00)
Purchase                8/12/2013             47     $32.9300   $1,547.71       Sale              8/8/2013       (100)    $33.5900     ($3,359.00)
Purchase                8/12/2013            100     $32.9300   $3,293.00       Sale              8/8/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/12/2013            100     $33.0600   $3,306.00       Sale              8/8/2013       (100)    $33.4600     ($3,346.00)
Purchase                8/12/2013            100     $33.1900   $3,319.00       Sale              8/8/2013       (100)    $33.4800     ($3,348.00)
Purchase                8/12/2013            100     $33.1900   $3,319.00       Sale              8/8/2013       (100)    $33.4700     ($3,347.00)
Purchase                8/12/2013              6     $33.1000     $198.60       Sale              8/8/2013       (100)    $33.4700     ($3,347.00)
Purchase                8/12/2013            100     $33.0900   $3,309.00       Sale              8/8/2013       (200)    $33.4700     ($6,694.00)
Purchase                8/12/2013            100     $33.0900   $3,309.00       Sale              8/8/2013       (200)    $33.4800     ($6,696.00)
Purchase                8/12/2013             94     $33.0100   $3,102.94       Sale              8/8/2013       (100)    $33.4800     ($3,348.00)
Purchase                8/12/2013            200     $33.0100   $6,602.00       Sale              8/8/2013       (100)    $33.4800     ($3,348.00)
Purchase                8/12/2013            200     $33.0000   $6,600.00       Sale              8/8/2013       (200)    $33.6000     ($6,720.00)
Purchase                8/12/2013            200     $33.0000   $6,600.00       Sale              8/8/2013       (100)    $33.6200     ($3,362.00)
Purchase                8/12/2013            200     $33.0400   $6,608.00       Sale              8/8/2013       (200)    $33.6400     ($6,728.00)
Purchase                8/12/2013              4     $33.0300     $132.12       Sale              8/8/2013       (200)    $33.6400     ($6,728.00)
Purchase                8/12/2013            100     $33.0300   $3,303.00       Sale              8/8/2013       (100)    $33.6100     ($3,361.00)
Purchase                8/12/2013            100     $33.0000   $3,300.00       Sale              8/8/2013       (200)    $33.6100     ($6,722.00)
Purchase                8/13/2013            100     $32.9000   $3,290.00       Sale              8/8/2013       (200)    $33.6100     ($6,722.00)
Purchase                8/13/2013            100     $32.8900   $3,289.00       Sale              8/8/2013       (200)    $33.6300     ($6,726.00)
Purchase                8/13/2013            100     $32.8800   $3,288.00       Sale              8/8/2013       (200)    $33.6300     ($6,726.00)
Purchase                8/13/2013            100     $32.8800   $3,288.00       Sale              8/9/2013       (100)    $33.5900     ($3,359.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.5200     ($3,352.00)
Purchase                8/13/2013             79     $32.7100   $2,584.09       Sale              8/9/2013       (100)    $33.5200     ($3,352.00)
Purchase                8/13/2013            100     $32.6800   $3,268.00       Sale              8/9/2013       (100)    $33.5100     ($3,351.00)
Purchase                8/13/2013            100     $32.6000   $3,260.00       Sale              8/9/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/13/2013            100     $32.8000   $3,280.00       Sale              8/9/2013       (100)    $33.6500     ($3,365.00)
Purchase                8/13/2013            100     $32.8100   $3,281.00       Sale              8/9/2013       (100)    $33.6400     ($3,364.00)
Purchase                8/13/2013            100     $32.8100   $3,281.00       Sale              8/9/2013       (200)    $33.4900     ($6,698.00)
Purchase                8/13/2013            100     $32.7500   $3,275.00       Sale             8/12/2013       (100)    $33.2900     ($3,329.00)
Purchase                8/13/2013            100     $32.7500   $3,275.00       Sale             8/12/2013        (36)    $33.0500     ($1,189.80)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.0600     ($3,306.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/13/2013            100     $32.5500   $3,255.00       Sale             8/12/2013       (100)    $33.0500     ($3,305.00)
Purchase                8/13/2013            100     $32.4500   $3,245.00       Sale             8/12/2013       (100)    $33.0500     ($3,305.00)
Purchase                8/13/2013            100     $32.3600   $3,236.00       Sale             8/12/2013       (100)    $33.1100     ($3,311.00)
Purchase                8/13/2013            100     $32.4000   $3,240.00       Sale             8/12/2013       (100)    $33.0800     ($3,308.00)
Purchase                8/13/2013            100     $32.5000   $3,250.00       Sale             8/12/2013       (100)    $33.0800     ($3,308.00)
Purchase                8/13/2013             34     $32.6500   $1,110.10       Sale             8/12/2013       (100)    $33.0800     ($3,308.00)
Purchase                8/13/2013            100     $32.7600   $3,276.00       Sale             8/12/2013       (100)    $32.9700     ($3,297.00)
Purchase                8/13/2013            100     $32.7600   $3,276.00       Sale             8/12/2013       (100)    $32.9500     ($3,295.00)
Purchase                8/13/2013            100     $32.6600   $3,266.00       Sale             8/12/2013       (100)    $32.9600     ($3,296.00)
Purchase                8/13/2013            200     $32.7000   $6,540.00       Sale             8/12/2013       (100)    $32.8600     ($3,286.00)
Purchase                8/13/2013            200     $32.7100   $6,542.00       Sale             8/12/2013       (100)    $32.8800     ($3,288.00)
Purchase                8/13/2013            200     $32.7100   $6,542.00       Sale             8/12/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/13/2013            100     $32.5100   $3,251.00       Sale             8/12/2013        (42)    $32.9500     ($1,383.90)
Purchase                8/13/2013            200     $32.5800   $6,516.00       Sale             8/12/2013       (100)    $32.9500     ($3,295.00)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.1000     ($3,310.00)
Purchase                8/13/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.1800     ($3,318.00)
Purchase                8/13/2013            200     $32.5100   $6,502.00       Sale             8/12/2013       (100)    $33.1100     ($3,311.00)
Purchase                8/14/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (100)    $33.1000     ($3,310.00)
Purchase                8/14/2013            100     $32.5200   $3,252.00       Sale             8/12/2013       (100)    $33.0100     ($3,301.00)
Purchase                8/14/2013            100     $32.5200   $3,252.00       Sale             8/12/2013       (200)    $33.0200     ($6,604.00)
Purchase                8/14/2013            100     $32.6700   $3,267.00       Sale             8/12/2013         (9)    $33.0000       ($297.00)
Purchase                8/14/2013            100     $32.6600   $3,266.00       Sale             8/12/2013        (27)    $33.0000       ($891.00)
Purchase                8/14/2013            100     $32.5700   $3,257.00       Sale             8/12/2013       (200)    $33.0000     ($6,600.00)
Purchase                8/14/2013            100     $32.5600   $3,256.00       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013            200     $32.5700   $6,514.00       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013             96     $32.5500   $3,124.80       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013            200     $32.5300   $6,506.00       Sale             8/12/2013       (200)    $33.0100     ($6,602.00)
Purchase                8/14/2013            200     $32.5500   $6,510.00       Sale             8/12/2013        (42)    $33.0200     ($1,386.84)
Purchase                8/15/2013            100     $32.3800   $3,238.00       Sale             8/12/2013        (53)    $33.0200     ($1,750.06)
Purchase                8/15/2013            100     $32.3800   $3,238.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/15/2013            100     $32.4300   $3,243.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/15/2013            100     $32.4300   $3,243.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/15/2013            100     $32.4600   $3,246.00       Sale             8/13/2013       (100)    $32.9400     ($3,294.00)
Purchase                8/15/2013            100     $32.6400   $3,264.00       Sale             8/13/2013        (60)    $32.9400     ($1,976.40)
Purchase                8/15/2013            100     $32.6000   $3,260.00       Sale             8/13/2013       (100)    $32.9000     ($3,290.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price       Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                8/15/2013             75     $32.5700     $2,442.75       Sale             8/13/2013       (100)    $32.9000     ($3,290.00)
Purchase                8/15/2013             25     $32.5700       $814.25       Sale             8/13/2013       (100)    $32.9000     ($3,290.00)
Purchase                8/15/2013            100     $32.5200     $3,252.00       Sale             8/13/2013       (100)    $32.8500     ($3,285.00)
Purchase                8/15/2013            100     $32.5200     $3,252.00       Sale             8/13/2013       (100)    $32.8500     ($3,285.00)
Purchase                8/15/2013            100     $32.3600     $3,236.00       Sale             8/13/2013       (100)    $32.8500     ($3,285.00)
Purchase                8/15/2013            100     $32.3500     $3,235.00       Sale             8/13/2013       (100)    $32.8100     ($3,281.00)
Purchase                8/15/2013            100     $32.2900     $3,229.00       Sale             8/13/2013       (100)    $32.8100     ($3,281.00)
Purchase                8/15/2013            100     $32.2900     $3,229.00       Sale             8/13/2013       (100)    $32.7600     ($3,276.00)
Purchase                8/15/2013            100     $32.3000     $3,230.00       Sale             8/13/2013       (100)    $32.7000     ($3,270.00)
Purchase                8/15/2013            100     $32.3000     $3,230.00       Sale             8/13/2013       (100)    $32.6200     ($3,262.00)
Purchase                8/15/2013            100     $32.3000     $3,230.00       Sale             8/13/2013       (100)    $32.8300     ($3,283.00)
Purchase                8/15/2013            100     $32.3600     $3,236.00       Sale             8/13/2013       (100)    $32.7400     ($3,274.00)
Purchase                8/15/2013            200     $32.5300     $6,506.00       Sale             8/13/2013       (100)    $32.8000     ($3,280.00)
Purchase                8/15/2013            200     $32.4200     $6,484.00       Sale             8/13/2013       (100)    $32.7900     ($3,279.00)
Purchase                8/15/2013            200     $32.4100     $6,482.00       Sale             8/13/2013       (100)    $32.6800     ($3,268.00)
Purchase                8/15/2013             57     $32.4100     $1,847.37       Sale             8/13/2013       (100)    $32.6900     ($3,269.00)
Purchase                8/15/2013            200     $32.3800     $6,476.00       Sale             8/13/2013       (100)    $32.5700     ($3,257.00)
Purchase                8/15/2013            100     $32.4000     $3,240.00       Sale             8/13/2013       (100)    $32.5700     ($3,257.00)
Purchase                8/15/2013            200     $32.4000     $6,480.00       Sale             8/13/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/15/2013             46     $32.4000     $1,490.40       Sale             8/13/2013       (100)    $32.3800     ($3,238.00)
Purchase                8/15/2013            200     $32.4000     $6,480.00       Sale             8/13/2013       (100)    $32.3800     ($3,238.00)
Purchase                8/15/2013            154     $32.4000     $4,989.60       Sale             8/13/2013       (100)    $32.3800     ($3,238.00)
Purchase                8/15/2013             47     $32.4000     $1,522.80       Sale             8/13/2013       (100)    $32.4000     ($3,240.00)
Purchase                8/16/2013            100     $32.6500     $3,265.00       Sale             8/13/2013        (18)    $32.4800       ($584.64)
Purchase                8/16/2013              6     $32.5600       $195.36       Sale             8/13/2013       (100)    $32.5500     ($3,255.00)
Purchase                8/16/2013            100     $32.6300     $3,263.00       Sale             8/13/2013       (100)    $32.6700     ($3,267.00)
Purchase                8/16/2013            100     $32.6300     $3,263.00       Sale             8/13/2013       (100)    $32.6900     ($3,269.00)
Purchase                8/16/2013            100     $32.5600     $3,256.00       Sale             8/13/2013        (70)    $32.7300     ($2,291.10)
Purchase                8/16/2013            200     $32.5200     $6,504.00       Sale             8/13/2013       (200)    $32.7200     ($6,544.00)
Purchase                8/16/2013          5,400     $30.0000   $162,000.00       Sale             8/13/2013       (100)    $32.7400     ($3,274.00)
Purchase                8/16/2013            900     $22.5000    $20,250.00       Sale             8/13/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/19/2013            100     $32.1400     $3,214.00       Sale             8/13/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/19/2013            100     $32.2700     $3,227.00       Sale             8/13/2013       (200)    $32.5700     ($6,514.00)
Purchase                8/19/2013            100     $32.2300     $3,223.00       Sale             8/13/2013       (200)    $32.5700     ($6,514.00)
Purchase                8/19/2013            100     $32.1800     $3,218.00       Sale             8/13/2013       (200)    $32.5200     ($6,504.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/19/2013            100     $32.1200   $3,212.00       Sale             8/13/2013        (21)    $32.5200       ($682.92)
Purchase                8/19/2013            100     $32.1200   $3,212.00       Sale             8/13/2013       (200)    $32.5200     ($6,504.00)
Purchase                8/19/2013             20     $32.1800     $643.60       Sale             8/13/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/13/2013       (200)    $32.5400     ($6,508.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/14/2013       (100)    $32.6400     ($3,264.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/14/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/19/2013            200     $32.2000   $6,440.00       Sale             8/14/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/19/2013            200     $32.2100   $6,442.00       Sale             8/14/2013       (100)    $32.5400     ($3,254.00)
Purchase                8/19/2013            100     $32.2100   $3,221.00       Sale             8/14/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/19/2013            100     $32.2100   $3,221.00       Sale             8/14/2013       (100)    $32.5800     ($3,258.00)
Purchase                8/19/2013            100     $32.2000   $3,220.00       Sale             8/14/2013       (100)    $32.5500     ($3,255.00)
Purchase                8/19/2013            200     $32.2000   $6,440.00       Sale             8/14/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/19/2013            100     $32.2200   $3,222.00       Sale             8/14/2013       (200)    $32.5400     ($6,508.00)
Purchase                8/19/2013            100     $32.2100   $3,221.00       Sale             8/14/2013     (4,380)    $32.5500   ($142,569.00)
Purchase                8/19/2013             45     $32.2400   $1,450.80       Sale             8/15/2013       (100)    $32.3700     ($3,237.00)
Purchase                8/19/2013            200     $32.2500   $6,450.00       Sale             8/15/2013       (100)    $32.3700     ($3,237.00)
Purchase                8/19/2013            200     $32.2500   $6,450.00       Sale             8/15/2013       (100)    $32.4900     ($3,249.00)
Purchase                8/19/2013              6     $32.2600     $193.56       Sale             8/15/2013       (100)    $32.3300     ($3,233.00)
Purchase                8/19/2013            100     $32.2500   $3,225.00       Sale             8/15/2013       (100)    $32.3400     ($3,234.00)
Purchase                8/19/2013            118     $32.2500   $3,805.50       Sale             8/15/2013       (100)    $32.3200     ($3,232.00)
Purchase                8/20/2013            100     $32.1600   $3,216.00       Sale             8/15/2013       (100)    $32.3200     ($3,232.00)
Purchase                8/20/2013            100     $32.1500   $3,215.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013            100     $32.2000   $3,220.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013             33     $32.2500   $1,064.25       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013            100     $32.4500   $3,245.00       Sale             8/15/2013       (100)    $32.3000     ($3,230.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/15/2013       (100)    $32.3300     ($3,233.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/15/2013       (100)    $32.4500     ($3,245.00)
Purchase                8/20/2013            100     $32.6700   $3,267.00       Sale             8/15/2013       (100)    $32.6000     ($3,260.00)
Purchase                8/20/2013            100     $32.6200   $3,262.00       Sale             8/15/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/20/2013            100     $32.5900   $3,259.00       Sale             8/15/2013       (200)    $32.5000     ($6,500.00)
Purchase                8/20/2013            100     $32.5300   $3,253.00       Sale             8/15/2013       (200)    $32.3400     ($6,468.00)
Purchase                8/20/2013            200     $32.5000   $6,500.00       Sale             8/15/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            200     $32.5000   $6,500.00       Sale             8/15/2013       (200)    $32.3500     ($6,470.00)
Purchase                8/20/2013            200     $32.6100   $6,522.00       Sale             8/15/2013       (200)    $32.3500     ($6,470.00)
Purchase                8/20/2013            200     $32.6100   $6,522.00       Sale             8/15/2013     (1,095)    $32.4000    ($35,478.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/20/2013            100     $32.6000   $3,260.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            200     $32.5900   $6,518.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            100     $32.5500   $3,255.00       Sale             8/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                8/20/2013            100     $32.5500   $3,255.00       Sale             8/16/2013       (100)    $32.6800     ($3,268.00)
Purchase                8/20/2013            100     $32.4500   $3,245.00       Sale             8/16/2013        (21)    $32.5900       ($684.39)
Purchase                8/20/2013            200     $32.4400   $6,488.00       Sale             8/16/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/20/2013            100     $32.4400   $3,244.00       Sale             8/16/2013       (100)    $32.6300     ($3,263.00)
Purchase                8/21/2013            100     $32.4000   $3,240.00       Sale             8/16/2013       (100)    $32.4900     ($3,249.00)
Purchase                8/21/2013            200     $32.3800   $6,476.00       Sale             8/16/2013        (94)    $32.5000     ($3,055.00)
Purchase                8/21/2013            200     $32.4900   $6,498.00       Sale             8/16/2013       (100)    $32.5000     ($3,250.00)
Purchase                8/21/2013            200     $32.4900   $6,498.00       Sale             8/16/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/21/2013            200     $32.3800   $6,476.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            100     $32.6500   $3,265.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            100     $32.6200   $3,262.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            100     $32.6000   $3,260.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/16/2013       (100)    $32.4800     ($3,248.00)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/16/2013     (2,190)    $32.4400    ($71,043.60)
Purchase                8/22/2013            200     $32.5800   $6,516.00       Sale             8/16/2013     (1,000)    $22.5000    ($22,500.00)
Purchase                8/22/2013            200     $32.5300   $6,506.00       Sale             8/16/2013    (14,537)    $25.0000   ($363,425.00)
Purchase                8/22/2013            200     $32.5400   $6,508.00       Sale             8/19/2013       (100)    $32.0700     ($3,207.00)
Purchase                8/23/2013            200     $32.5200   $6,504.00       Sale             8/19/2013       (100)    $32.0300     ($3,203.00)
Purchase                8/23/2013            100     $32.5200   $3,252.00       Sale             8/19/2013       (100)    $32.0500     ($3,205.00)
Purchase                8/23/2013            100     $32.5200   $3,252.00       Sale             8/19/2013       (100)    $32.1300     ($3,213.00)
Purchase                8/23/2013            100     $32.6100   $3,261.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/23/2013            100     $32.6400   $3,264.00       Sale             8/19/2013       (100)    $32.1700     ($3,217.00)
Purchase                8/23/2013             99     $32.6100   $3,228.39       Sale             8/19/2013        (89)    $32.1700     ($2,863.13)
Purchase                8/23/2013            100     $32.6100   $3,261.00       Sale             8/19/2013       (100)    $32.1700     ($3,217.00)
Purchase                8/23/2013            198     $32.5600   $6,446.88       Sale             8/19/2013        (11)    $32.1700       ($353.87)
Purchase                8/23/2013             91     $32.5700   $2,963.87       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/23/2013            200     $32.5600   $6,512.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/23/2013            100     $32.5500   $3,255.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/26/2013            100     $32.1300   $3,213.00       Sale             8/19/2013       (200)    $32.1800     ($6,436.00)
Purchase                8/26/2013            100     $31.6400   $3,164.00       Sale             8/19/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/26/2013            100     $31.5100   $3,151.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)
Purchase                8/26/2013            100     $31.3400   $3,134.00       Sale             8/19/2013       (200)    $32.2100     ($6,442.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/26/2013            100     $31.3300   $3,133.00       Sale             8/19/2013       (200)    $32.2600     ($6,452.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/19/2013       (200)    $32.2600     ($6,452.00)
Purchase                8/26/2013            100     $31.4100   $3,141.00       Sale             8/20/2013         (2)    $32.1800        ($64.36)
Purchase                8/26/2013            100     $31.4500   $3,145.00       Sale             8/20/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/20/2013       (100)    $32.1800     ($3,218.00)
Purchase                8/26/2013            100     $31.4000   $3,140.00       Sale             8/20/2013       (100)    $32.4100     ($3,241.00)
Purchase                8/26/2013            100     $31.6900   $3,169.00       Sale             8/20/2013       (100)    $32.4400     ($3,244.00)
Purchase                8/26/2013            100     $31.6400   $3,164.00       Sale             8/20/2013       (100)    $32.5600     ($3,256.00)
Purchase                8/26/2013            100     $31.5200   $3,152.00       Sale             8/20/2013       (200)    $32.4900     ($6,498.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/20/2013       (200)    $32.5000     ($6,500.00)
Purchase                8/26/2013            100     $31.6600   $3,166.00       Sale             8/20/2013        (86)    $32.5000     ($2,795.00)
Purchase                8/26/2013            100     $31.7900   $3,179.00       Sale             8/20/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/26/2013            100     $31.8300   $3,183.00       Sale             8/20/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/26/2013            100     $31.8300   $3,183.00       Sale             8/20/2013       (200)    $32.5100     ($6,502.00)
Purchase                8/26/2013            100     $31.7700   $3,177.00       Sale             8/20/2013       (100)    $32.5700     ($3,257.00)
Purchase                8/26/2013            100     $31.7700   $3,177.00       Sale             8/20/2013       (200)    $32.5500     ($6,510.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/20/2013       (100)    $32.4600     ($3,246.00)
Purchase                8/26/2013            100     $31.6700   $3,167.00       Sale             8/21/2013       (200)    $32.4100     ($6,482.00)
Purchase                8/26/2013            200     $31.6200   $6,324.00       Sale             8/21/2013       (200)    $32.3500     ($6,470.00)
Purchase                8/26/2013            200     $31.6400   $6,328.00       Sale             8/21/2013       (200)    $32.3400     ($6,468.00)
Purchase                8/26/2013            200     $31.5700   $6,314.00       Sale             8/21/2013       (200)    $32.3400     ($6,468.00)
Purchase                8/26/2013            100     $31.5300   $3,153.00       Sale             8/22/2013       (100)    $32.7000     ($3,270.00)
Purchase                8/26/2013            100     $31.5900   $3,159.00       Sale             8/22/2013        (47)    $32.5200     ($1,528.44)
Purchase                8/26/2013            100     $31.5000   $3,150.00       Sale             8/22/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/26/2013            200     $31.5000   $6,300.00       Sale             8/22/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/26/2013            100     $31.5000   $3,150.00       Sale             8/22/2013       (100)    $32.5100     ($3,251.00)
Purchase                8/26/2013            200     $31.5400   $6,308.00       Sale             8/22/2013       (100)    $32.5100     ($3,251.00)
Purchase                8/27/2013            100     $31.1500   $3,115.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013             87     $31.2000   $2,714.40       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.0300   $3,103.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.0300   $3,103.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.2800   $3,128.00       Sale             8/22/2013       (200)    $32.5600     ($6,512.00)
Purchase                8/27/2013            100     $31.2800   $3,128.00       Sale             8/23/2013       (100)    $32.5200     ($3,252.00)
Purchase                8/27/2013            100     $31.3100   $3,131.00       Sale             8/23/2013       (100)    $32.6400     ($3,264.00)
Purchase                8/27/2013            100     $31.3100   $3,131.00       Sale             8/23/2013         (1)    $32.6400        ($32.64)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/27/2013            100     $31.3500   $3,135.00       Sale             8/23/2013        (99)    $32.6400    ($3,231.36)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/23/2013       (100)    $32.5600    ($3,256.00)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/23/2013       (100)    $32.5600    ($3,256.00)
Purchase                8/27/2013            100     $31.2700   $3,127.00       Sale             8/23/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/27/2013            100     $31.2700   $3,127.00       Sale             8/23/2013       (200)    $32.5500    ($6,510.00)
Purchase                8/27/2013            100     $31.2600   $3,126.00       Sale             8/23/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/23/2013       (200)    $32.5600    ($6,512.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/23/2013       (975)    $32.5600   ($31,746.00)
Purchase                8/27/2013            100     $31.2500   $3,125.00       Sale             8/26/2013       (100)    $32.1400    ($3,214.00)
Purchase                8/27/2013            100     $31.3200   $3,132.00       Sale             8/26/2013       (100)    $32.1500    ($3,215.00)
Purchase                8/27/2013            200     $31.2100   $6,242.00       Sale             8/26/2013       (100)    $31.6500    ($3,165.00)
Purchase                8/27/2013            100     $31.1800   $3,118.00       Sale             8/26/2013       (100)    $31.6400    ($3,164.00)
Purchase                8/27/2013            200     $31.1900   $6,238.00       Sale             8/26/2013       (100)    $31.5700    ($3,157.00)
Purchase                8/27/2013            190     $31.1900   $5,926.10       Sale             8/26/2013       (100)    $31.6200    ($3,162.00)
Purchase                8/27/2013            200     $31.0000   $6,200.00       Sale             8/26/2013        (11)    $31.6700      ($348.37)
Purchase                8/27/2013            100     $30.9500   $3,095.00       Sale             8/26/2013       (100)    $31.6500    ($3,165.00)
Purchase                8/27/2013            197     $30.9200   $6,091.24       Sale             8/26/2013       (100)    $31.5000    ($3,150.00)
Purchase                8/28/2013            100     $31.1500   $3,115.00       Sale             8/26/2013        (20)    $31.4600      ($629.20)
Purchase                8/28/2013            100     $31.2000   $3,120.00       Sale             8/26/2013        (19)    $31.3700      ($596.03)
Purchase                8/28/2013            100     $31.2000   $3,120.00       Sale             8/26/2013       (100)    $31.2900    ($3,129.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.2400    ($3,124.00)
Purchase                8/28/2013            100     $31.1800   $3,118.00       Sale             8/26/2013       (100)    $31.2600    ($3,126.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.2600    ($3,126.00)
Purchase                8/28/2013            100     $31.2200   $3,122.00       Sale             8/26/2013       (100)    $31.3800    ($3,138.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.4200    ($3,142.00)
Purchase                8/28/2013            100     $31.2100   $3,121.00       Sale             8/26/2013       (100)    $31.4300    ($3,143.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (100)    $31.4400    ($3,144.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (100)    $31.4400    ($3,144.00)
Purchase                8/28/2013            100     $31.0100   $3,101.00       Sale             8/26/2013       (100)    $31.5300    ($3,153.00)
Purchase                8/28/2013            100     $30.9600   $3,096.00       Sale             8/26/2013       (100)    $31.5300    ($3,153.00)
Purchase                8/28/2013            100     $30.9700   $3,097.00       Sale             8/26/2013       (100)    $31.5200    ($3,152.00)
Purchase                8/28/2013            200     $30.9700   $6,194.00       Sale             8/26/2013       (100)    $31.5700    ($3,157.00)
Purchase                8/28/2013            100     $30.9800   $3,098.00       Sale             8/26/2013       (100)    $31.6800    ($3,168.00)
Purchase                8/28/2013            100     $30.9800   $3,098.00       Sale             8/26/2013       (100)    $31.8300    ($3,183.00)
Purchase                8/28/2013            188     $30.9800   $5,824.24       Sale             8/26/2013       (100)    $31.8300    ($3,183.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/28/2013            100     $31.0900   $3,109.00       Sale             8/26/2013       (100)    $31.7600     ($3,176.00)
Purchase                8/28/2013            200     $31.0900   $6,218.00       Sale             8/26/2013       (100)    $31.6900     ($3,169.00)
Purchase                8/28/2013            100     $31.0400   $3,104.00       Sale             8/26/2013       (100)    $31.6600     ($3,166.00)
Purchase                8/28/2013            100     $31.0300   $3,103.00       Sale             8/26/2013       (100)    $31.6600     ($3,166.00)
Purchase                8/29/2013            100     $31.0600   $3,106.00       Sale             8/26/2013       (200)    $31.6300     ($6,326.00)
Purchase                8/29/2013            100     $31.0600   $3,106.00       Sale             8/26/2013       (200)    $31.6300     ($6,326.00)
Purchase                8/29/2013            100     $30.9300   $3,093.00       Sale             8/26/2013       (100)    $31.5400     ($3,154.00)
Purchase                8/29/2013            100     $31.0300   $3,103.00       Sale             8/26/2013       (200)    $31.5400     ($6,308.00)
Purchase                8/29/2013            100     $31.0300   $3,103.00       Sale             8/26/2013        (50)    $31.5900     ($1,579.50)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013        (58)    $31.0800     ($1,802.64)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013       (100)    $31.0600     ($3,106.00)
Purchase                8/29/2013            100     $31.0200   $3,102.00       Sale             8/27/2013       (100)    $31.1600     ($3,116.00)
Purchase                8/29/2013            200     $31.0000   $6,200.00       Sale             8/27/2013       (100)    $31.2100     ($3,121.00)
Purchase                8/29/2013            200     $31.0500   $6,210.00       Sale             8/27/2013       (100)    $31.2100     ($3,121.00)
Purchase                8/29/2013            200     $31.0000   $6,200.00       Sale             8/27/2013       (100)    $31.0300     ($3,103.00)
Purchase                8/30/2013            100     $31.4100   $3,141.00       Sale             8/27/2013       (100)    $31.0700     ($3,107.00)
Purchase                8/30/2013            100     $31.4300   $3,143.00       Sale             8/27/2013       (100)    $31.0800     ($3,108.00)
Purchase                8/30/2013            100     $31.4400   $3,144.00       Sale             8/27/2013       (100)    $31.2400     ($3,124.00)
Purchase                8/30/2013            100     $31.4500   $3,145.00       Sale             8/27/2013       (100)    $31.2900     ($3,129.00)
Purchase                8/30/2013            100     $31.5300   $3,153.00       Sale             8/27/2013        (98)    $31.2900     ($3,066.42)
Purchase                8/30/2013            100     $31.5300   $3,153.00       Sale             8/27/2013       (100)    $31.3200     ($3,132.00)
Purchase                8/30/2013            100     $31.5100   $3,151.00       Sale             8/27/2013       (100)    $31.3600     ($3,136.00)
Purchase                8/30/2013            100     $31.5000   $3,150.00       Sale             8/27/2013       (100)    $31.3000     ($3,130.00)
Purchase                8/30/2013            100     $31.5000   $3,150.00       Sale             8/27/2013       (100)    $31.3000     ($3,130.00)
Purchase                8/30/2013            100     $31.8200   $3,182.00       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013            100     $31.8100   $3,181.00       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013             90     $31.7900   $2,861.10       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013            100     $31.8400   $3,184.00       Sale             8/27/2013       (100)    $31.2800     ($3,128.00)
Purchase                8/30/2013            200     $31.8500   $6,370.00       Sale             8/27/2013       (100)    $31.2700     ($3,127.00)
Purchase                8/30/2013            100     $31.9500   $3,195.00       Sale             8/27/2013       (100)    $31.2800     ($3,128.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/27/2013       (100)    $31.2600     ($3,126.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/27/2013       (200)    $31.1600     ($6,232.00)
Purchase                8/30/2013            200     $31.9300   $6,386.00       Sale             8/27/2013       (200)    $31.1800     ($6,236.00)
Purchase                8/30/2013            100     $31.9200   $3,192.00       Sale             8/27/2013       (200)    $31.1600     ($6,232.00)
Purchase                8/30/2013            100     $31.8700   $3,187.00       Sale             8/27/2013       (100)    $30.9400     ($3,094.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                8/30/2013            143     $31.8700   $4,557.41       Sale             8/27/2013       (118)    $30.9900     ($3,656.82)
Purchase                8/30/2013             57     $31.8600   $1,816.02       Sale             8/28/2013       (100)    $31.2200     ($3,122.00)
Purchase                8/30/2013            200     $31.8700   $6,374.00       Sale             8/28/2013       (100)    $31.2300     ($3,123.00)
Purchase                8/30/2013            200     $31.8700   $6,374.00       Sale             8/28/2013       (100)    $31.2200     ($3,122.00)
Purchase                8/30/2013            200     $31.9100   $6,382.00       Sale             8/28/2013       (100)    $31.2200     ($3,122.00)
Purchase                8/30/2013            200     $31.9100   $6,382.00       Sale             8/28/2013       (100)    $31.2300     ($3,123.00)
Purchase                8/30/2013            200     $31.9500   $6,390.00       Sale             8/28/2013       (100)    $31.1100     ($3,111.00)
Purchase                8/30/2013            120     $31.9500   $3,834.00       Sale             8/28/2013       (100)    $31.0400     ($3,104.00)
Purchase                8/30/2013             39     $31.9500   $1,246.05       Sale             8/28/2013       (100)    $31.0300     ($3,103.00)
Purchase                 9/3/2013             80     $31.9600   $2,556.80       Sale             8/28/2013       (100)    $31.0200     ($3,102.00)
Purchase                 9/3/2013            100     $31.9600   $3,196.00       Sale             8/28/2013       (100)    $31.0300     ($3,103.00)
Purchase                 9/3/2013            100     $31.9300   $3,193.00       Sale             8/28/2013       (200)    $31.0200     ($6,204.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $31.0000     ($6,200.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $30.8700     ($6,174.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $30.9800     ($6,196.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/28/2013       (200)    $30.9800     ($6,196.00)
Purchase                 9/3/2013            100     $31.9700   $3,197.00       Sale             8/28/2013       (200)    $30.9800     ($6,196.00)
Purchase                 9/3/2013            100     $31.9700   $3,197.00       Sale             8/28/2013       (200)    $31.1000     ($6,220.00)
Purchase                 9/3/2013            100     $31.9500   $3,195.00       Sale             8/29/2013       (100)    $31.0500     ($3,105.00)
Purchase                 9/3/2013            100     $31.9300   $3,193.00       Sale             8/29/2013       (100)    $31.0500     ($3,105.00)
Purchase                 9/3/2013            100     $31.7600   $3,176.00       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/3/2013            100     $31.7300   $3,173.00       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/3/2013              8     $31.7300     $253.84       Sale             8/29/2013       (100)    $31.0400     ($3,104.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (100)    $31.0400     ($3,104.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (100)    $31.0300     ($3,103.00)
Purchase                 9/3/2013            200     $31.7300   $6,346.00       Sale             8/29/2013       (100)    $31.0200     ($3,102.00)
Purchase                 9/3/2013             99     $31.6500   $3,133.35       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/4/2013            100     $32.1000   $3,210.00       Sale             8/29/2013       (100)    $30.9900     ($3,099.00)
Purchase                 9/4/2013            100     $32.1300   $3,213.00       Sale             8/29/2013       (100)    $31.0200     ($3,102.00)
Purchase                 9/4/2013            100     $32.2200   $3,222.00       Sale             8/29/2013       (200)    $31.0100     ($6,202.00)
Purchase                 9/4/2013            100     $32.1200   $3,212.00       Sale             8/29/2013       (188)    $31.0100     ($5,829.88)
Purchase                 9/4/2013             38     $32.1100   $1,220.18       Sale             8/30/2013       (100)    $31.5200     ($3,152.00)
Purchase                 9/4/2013            100     $32.1100   $3,211.00       Sale             8/30/2013       (100)    $31.5100     ($3,151.00)
Purchase                 9/4/2013            100     $32.1100   $3,211.00       Sale             8/30/2013       (100)    $31.5100     ($3,151.00)
Purchase                 9/4/2013            100     $32.0600   $3,206.00       Sale             8/30/2013       (100)    $31.5100     ($3,151.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                 9/4/2013            100     $32.1000   $3,210.00       Sale             8/30/2013        (45)    $31.7600    ($1,429.20)
Purchase                 9/4/2013             30     $32.1000     $963.00       Sale             8/30/2013       (100)    $31.7600    ($3,176.00)
Purchase                 9/4/2013            100     $32.2400   $3,224.00       Sale             8/30/2013       (100)    $31.7400    ($3,174.00)
Purchase                 9/4/2013            100     $32.3000   $3,230.00       Sale             8/30/2013       (100)    $31.7400    ($3,174.00)
Purchase                 9/4/2013            100     $32.4500   $3,245.00       Sale             8/30/2013       (200)    $31.8400    ($6,368.00)
Purchase                 9/4/2013            100     $32.4400   $3,244.00       Sale             8/30/2013       (100)    $31.9200    ($3,192.00)
Purchase                 9/4/2013            100     $32.4500   $3,245.00       Sale             8/30/2013       (200)    $31.9400    ($6,388.00)
Purchase                 9/4/2013            100     $32.3900   $3,239.00       Sale             8/30/2013     (1,000)    $31.9300   ($31,930.00)
Purchase                 9/4/2013            100     $32.4100   $3,241.00       Sale             8/30/2013     (1,504)    $31.9300   ($48,022.72)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.9500    ($3,195.00)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.9600    ($3,196.00)
Purchase                 9/4/2013            100     $32.4000   $3,240.00       Sale              9/3/2013       (100)    $31.9700    ($3,197.00)
Purchase                 9/4/2013            100     $32.5800   $3,258.00       Sale              9/3/2013       (100)    $31.9900    ($3,199.00)
Purchase                 9/4/2013            100     $32.5500   $3,255.00       Sale              9/3/2013       (100)    $31.9500    ($3,195.00)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.3800   $3,238.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.3800   $3,238.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.5300   $3,253.00       Sale              9/3/2013       (100)    $31.7800    ($3,178.00)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (100)    $31.6900    ($3,169.00)
Purchase                 9/4/2013             60     $32.5100   $1,950.60       Sale              9/3/2013       (100)    $31.7100    ($3,171.00)
Purchase                 9/4/2013             40     $32.5100   $1,300.40       Sale              9/3/2013        (81)    $31.7400    ($2,570.94)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (119)    $31.7400    ($3,777.06)
Purchase                 9/4/2013            100     $32.5100   $3,251.00       Sale              9/3/2013       (200)    $31.7400    ($6,348.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale              9/3/2013       (200)    $31.7500    ($6,350.00)
Purchase                 9/4/2013            200     $32.5900   $6,518.00       Sale              9/3/2013       (200)    $31.6300    ($6,326.00)
Purchase                 9/4/2013            199     $32.5900   $6,485.41       Sale              9/3/2013        (87)    $31.6500    ($2,753.55)
Purchase                 9/4/2013            200     $32.6800   $6,536.00       Sale              9/4/2013       (100)    $32.1000    ($3,210.00)
Purchase                 9/4/2013            190     $32.7100   $6,214.90       Sale              9/4/2013       (100)    $32.4500    ($3,245.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale              9/4/2013       (100)    $32.4300    ($3,243.00)
Purchase                 9/4/2013            200     $32.6000   $6,520.00       Sale              9/4/2013       (100)    $32.4000    ($3,240.00)
Purchase                 9/5/2013             99     $32.8200   $3,249.18       Sale              9/4/2013       (100)    $32.4400    ($3,244.00)
Purchase                 9/5/2013            100     $32.6400   $3,264.00       Sale              9/4/2013       (100)    $32.4100    ($3,241.00)
Purchase                 9/5/2013            200     $32.6200   $6,524.00       Sale              9/4/2013       (100)    $32.4100    ($3,241.00)
Purchase                 9/5/2013            200     $32.6200   $6,524.00       Sale              9/4/2013       (100)    $32.4300    ($3,243.00)
Purchase                 9/5/2013            200     $32.6900   $6,538.00       Sale              9/4/2013       (100)    $32.4700    ($3,247.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date       Shares      Price       Proceeds

Purchase                 9/5/2013            200     $32.5600   $6,512.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/5/2013            200     $32.5500   $6,510.00       Sale             9/4/2013       (100)    $32.4000     ($3,240.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (100)    $32.4000     ($3,240.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/6/2013            100     $32.4300   $3,243.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/6/2013            100     $32.4400   $3,244.00       Sale             9/4/2013       (100)    $32.5200     ($3,252.00)
Purchase                 9/6/2013            100     $32.4400   $3,244.00       Sale             9/4/2013       (120)    $32.5200     ($3,902.40)
Purchase                 9/6/2013            100     $32.7100   $3,271.00       Sale             9/4/2013       (200)    $32.6000     ($6,520.00)
Purchase                 9/6/2013            100     $32.6600   $3,266.00       Sale             9/4/2013       (200)    $32.6000     ($6,520.00)
Purchase                 9/6/2013            100     $32.7600   $3,276.00       Sale             9/4/2013        (77)    $32.6000     ($2,510.20)
Purchase                 9/6/2013            100     $32.7500   $3,275.00       Sale             9/4/2013       (200)    $32.6900     ($6,538.00)
Purchase                 9/6/2013            100     $32.7600   $3,276.00       Sale             9/4/2013       (200)    $32.6900     ($6,538.00)
Purchase                 9/6/2013            200     $32.6900   $6,538.00       Sale             9/5/2013       (200)    $32.6500     ($6,530.00)
Purchase                 9/6/2013             96     $32.6100   $3,130.56       Sale             9/5/2013       (200)    $32.5300     ($6,506.00)
Purchase                 9/6/2013            100     $32.5600   $3,256.00       Sale             9/5/2013       (200)    $32.5300     ($6,506.00)
Purchase                 9/6/2013            200     $32.3300   $6,466.00       Sale             9/5/2013       (200)    $32.5600     ($6,512.00)
Purchase                 9/9/2013            100     $32.5400   $3,254.00       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013            100     $32.5400   $3,254.00       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013            100     $32.7200   $3,272.00       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013             36     $32.7300   $1,178.28       Sale             9/6/2013       (100)    $32.3900     ($3,239.00)
Purchase                 9/9/2013            100     $32.7100   $3,271.00       Sale             9/6/2013       (100)    $32.5300     ($3,253.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (100)    $32.7400     ($3,274.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (200)    $32.7100     ($6,542.00)
Purchase                 9/9/2013            100     $32.6100   $3,261.00       Sale             9/6/2013       (100)    $32.5700     ($3,257.00)
Purchase                 9/9/2013            100     $32.7200   $3,272.00       Sale             9/6/2013       (100)    $32.5300     ($3,253.00)
Purchase                 9/9/2013            100     $32.7000   $3,270.00       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            100     $32.7000   $3,270.00       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            198     $32.7500   $6,484.50       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            100     $32.7500   $3,275.00       Sale             9/6/2013       (200)    $32.3600     ($6,472.00)
Purchase                 9/9/2013            200     $32.8000   $6,560.00       Sale             9/9/2013       (100)    $32.4400     ($3,244.00)
Purchase                 9/9/2013             32     $32.8000   $1,049.60       Sale             9/9/2013       (100)    $32.4400     ($3,244.00)
Purchase                 9/9/2013            200     $32.8000   $6,560.00       Sale             9/9/2013       (100)    $32.4800     ($3,248.00)
Purchase                 9/9/2013            100     $32.8100   $3,281.00       Sale             9/9/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/10/2013            100     $32.8300   $3,283.00       Sale             9/9/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale             9/9/2013       (100)    $32.5900     ($3,259.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.5900     ($3,259.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.6700     ($3,267.00)
Purchase                9/10/2013            100     $32.8400   $3,284.00       Sale              9/9/2013       (100)    $32.7300     ($3,273.00)
Purchase                9/10/2013            100     $32.7100   $3,271.00       Sale              9/9/2013       (148)    $32.7200     ($4,842.56)
Purchase                9/10/2013            100     $32.6400   $3,264.00       Sale              9/9/2013       (200)    $32.7500     ($6,550.00)
Purchase                9/10/2013            100     $32.6300   $3,263.00       Sale              9/9/2013       (200)    $32.8000     ($6,560.00)
Purchase                9/10/2013            100     $32.6100   $3,261.00       Sale              9/9/2013       (100)    $32.7800     ($3,278.00)
Purchase                9/10/2013            100     $32.5300   $3,253.00       Sale              9/9/2013       (200)    $32.7900     ($6,558.00)
Purchase                9/10/2013            200     $32.6200   $6,524.00       Sale             9/10/2013       (100)    $32.6000     ($3,260.00)
Purchase                9/10/2013            200     $32.6200   $6,524.00       Sale             9/10/2013        (97)    $32.6200     ($3,164.14)
Purchase                9/10/2013            200     $32.6900   $6,538.00       Sale             9/10/2013       (100)    $32.6000     ($3,260.00)
Purchase                9/10/2013            200     $32.6900   $6,538.00       Sale             9/10/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/10/2013            165     $32.6700   $5,390.55       Sale             9/10/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/10/2013             70     $32.6700   $2,286.90       Sale             9/10/2013       (200)    $32.5700     ($6,514.00)
Purchase                9/10/2013              6     $32.6700     $196.02       Sale             9/10/2013       (200)    $32.5800     ($6,516.00)
Purchase                9/10/2013              9     $32.6600     $293.94       Sale             9/10/2013       (200)    $32.5800     ($6,516.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/10/2013       (200)    $32.6700     ($6,534.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0000     ($3,300.00)
Purchase                9/11/2013            100     $32.9300   $3,293.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $32.9200   $3,292.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013       (100)    $32.9700     ($3,297.00)
Purchase                9/11/2013              9     $32.9900     $296.91       Sale             9/11/2013       (100)    $32.9600     ($3,296.00)
Purchase                9/11/2013             91     $32.9900   $3,002.09       Sale             9/11/2013       (100)    $32.9700     ($3,297.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $32.8500     ($3,285.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (100)    $32.9400     ($3,294.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013       (100)    $32.9400     ($3,294.00)
Purchase                9/11/2013            100     $33.0000   $3,300.00       Sale             9/11/2013       (200)    $32.9300     ($6,586.00)
Purchase                9/11/2013            100     $32.9900   $3,299.00       Sale             9/11/2013         (1)    $32.9200        ($32.92)
Purchase                9/11/2013              1     $32.9400      $32.94       Sale             9/11/2013       (200)    $32.9200     ($6,584.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/11/2013       (200)    $32.9200     ($6,584.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (100)    $32.9800     ($3,298.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (100)    $33.0000     ($3,300.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (100)    $33.0000     ($3,300.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/11/2013             44     $32.9400   $1,449.36       Sale             9/12/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (100)    $33.0100     ($3,301.00)
Purchase                9/11/2013             56     $32.9400   $1,844.64       Sale             9/12/2013       (100)    $33.0000     ($3,300.00)
Purchase                9/11/2013            100     $32.9200   $3,292.00       Sale             9/12/2013       (100)    $33.0500     ($3,305.00)
Purchase                9/11/2013            100     $32.9400   $3,294.00       Sale             9/12/2013       (200)    $33.0600     ($6,612.00)
Purchase                9/11/2013            100     $32.9800   $3,298.00       Sale             9/12/2013       (200)    $33.0500     ($6,610.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/12/2013       (200)    $33.0400     ($6,608.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/13/2013       (100)    $33.1200     ($3,312.00)
Purchase                9/11/2013            200     $32.9800   $6,596.00       Sale             9/13/2013       (100)    $33.1400     ($3,314.00)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013        (63)    $33.1600     ($2,089.08)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013       (100)    $33.1800     ($3,318.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.2000     ($3,320.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.1700     ($3,317.00)
Purchase                9/12/2013            100     $33.0100   $3,301.00       Sale             9/13/2013       (100)    $33.1700     ($3,317.00)
Purchase                9/12/2013            100     $32.9800   $3,298.00       Sale             9/13/2013       (200)    $33.2200     ($6,644.00)
Purchase                9/12/2013            200     $33.0500   $6,610.00       Sale             9/16/2013       (100)    $32.0400     ($3,204.00)
Purchase                9/12/2013            200     $33.0500   $6,610.00       Sale             9/16/2013       (100)    $32.1000     ($3,210.00)
Purchase                9/12/2013            200     $33.0700   $6,614.00       Sale             9/16/2013       (100)    $32.0000     ($3,200.00)
Purchase                9/12/2013            200     $33.0700   $6,614.00       Sale             9/16/2013       (100)    $32.0200     ($3,202.00)
Purchase                9/12/2013            200     $33.0600   $6,612.00       Sale             9/16/2013         (6)    $32.1500       ($192.90)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3200     ($3,232.00)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3100     ($3,231.00)
Purchase                9/13/2013            100     $33.2100   $3,321.00       Sale             9/16/2013       (100)    $32.3800     ($3,238.00)
Purchase                9/13/2013            100     $33.0600   $3,306.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3600     ($3,236.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.3800     ($3,238.00)
Purchase                9/13/2013            100     $33.1000   $3,310.00       Sale             9/16/2013       (100)    $32.4300     ($3,243.00)
Purchase                9/13/2013            100     $33.1100   $3,311.00       Sale             9/16/2013       (100)    $32.3500     ($3,235.00)
Purchase                9/13/2013            200     $33.1700   $6,634.00       Sale             9/16/2013       (100)    $32.4100     ($3,241.00)
Purchase                9/13/2013            100     $33.1800   $3,318.00       Sale             9/16/2013       (100)    $32.4100     ($3,241.00)
Purchase                9/13/2013            200     $33.2200   $6,644.00       Sale             9/16/2013       (100)    $32.5000     ($3,250.00)
Purchase                9/13/2013            200     $33.2500   $6,650.00       Sale             9/16/2013       (100)    $32.6400     ($3,264.00)
Purchase                9/16/2013            100     $32.3200   $3,232.00       Sale             9/16/2013       (100)    $32.6400     ($3,264.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/16/2013            100     $32.3000   $3,230.00       Sale             9/16/2013       (200)    $32.6600     ($6,532.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (200)    $32.7000     ($6,540.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (100)    $32.7000     ($3,270.00)
Purchase                9/16/2013            100     $32.2200   $3,222.00       Sale             9/16/2013       (100)    $32.7000     ($3,270.00)
Purchase                9/16/2013             57     $32.2800   $1,839.96       Sale             9/16/2013       (200)    $32.5100     ($6,502.00)
Purchase                9/16/2013             43     $32.2800   $1,388.04       Sale             9/16/2013       (200)    $32.4900     ($6,498.00)
Purchase                9/16/2013            100     $32.2800   $3,228.00       Sale             9/16/2013       (200)    $32.4400     ($6,488.00)
Purchase                9/16/2013            100     $32.4200   $3,242.00       Sale             9/16/2013       (100)    $32.4400     ($3,244.00)
Purchase                9/16/2013            100     $32.4200   $3,242.00       Sale             9/16/2013       (200)    $32.3100     ($6,462.00)
Purchase                9/16/2013            100     $32.5000   $3,250.00       Sale             9/16/2013       (200)    $32.2800     ($6,456.00)
Purchase                9/16/2013            200     $32.7300   $6,546.00       Sale             9/16/2013       (200)    $32.3000     ($6,460.00)
Purchase                9/16/2013            200     $32.7200   $6,544.00       Sale             9/17/2013       (100)    $32.2600     ($3,226.00)
Purchase                9/16/2013            200     $32.7000   $6,540.00       Sale             9/17/2013       (100)    $32.2500     ($3,225.00)
Purchase                9/16/2013            200     $32.5400   $6,508.00       Sale             9/17/2013        (97)    $32.2500     ($3,128.25)
Purchase                9/16/2013            200     $32.5300   $6,506.00       Sale             9/17/2013       (100)    $32.2200     ($3,222.00)
Purchase                9/16/2013            200     $32.5300   $6,506.00       Sale             9/17/2013       (100)    $31.9900     ($3,199.00)
Purchase                9/16/2013            100     $32.4400   $3,244.00       Sale             9/17/2013       (100)    $32.0000     ($3,200.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (100)    $32.0100     ($3,201.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (200)    $31.8800     ($6,376.00)
Purchase                9/16/2013            200     $32.2600   $6,452.00       Sale             9/17/2013       (200)    $31.8500     ($6,370.00)
Purchase                9/17/2013            100     $32.2000   $3,220.00       Sale             9/17/2013       (100)    $31.7400     ($3,174.00)
Purchase                9/17/2013            100     $31.9900   $3,199.00       Sale             9/17/2013        (63)    $31.5500     ($1,987.65)
Purchase                9/17/2013            100     $31.9900   $3,199.00       Sale             9/17/2013       (200)    $31.3200     ($6,264.00)
Purchase                9/17/2013            200     $31.8900   $6,378.00       Sale             9/17/2013       (100)    $31.1300     ($3,113.00)
Purchase                9/17/2013            200     $31.8900   $6,378.00       Sale             9/17/2013       (200)    $31.1700     ($6,234.00)
Purchase                9/17/2013            100     $31.3000   $3,130.00       Sale             9/17/2013       (200)    $31.1700     ($6,234.00)
Purchase                9/17/2013            200     $31.2700   $6,254.00       Sale             9/17/2013       (200)    $30.9800     ($6,196.00)
Purchase                9/17/2013            200     $31.1900   $6,238.00       Sale             9/17/2013       (200)    $30.8900     ($6,178.00)
Purchase                9/17/2013            100     $31.1900   $3,119.00       Sale             9/17/2013        (50)    $30.8100     ($1,540.50)
Purchase                9/17/2013            200     $30.9100   $6,182.00       Sale             9/17/2013       (200)    $30.7400     ($6,148.00)
Purchase                9/17/2013            200     $30.9100   $6,182.00       Sale             9/17/2013       (200)    $30.7900     ($6,158.00)
Purchase                9/17/2013            100     $30.8600   $3,086.00       Sale             9/17/2013       (100)    $30.5900     ($3,059.00)
Purchase                9/17/2013            120     $30.7600   $3,691.20       Sale             9/17/2013       (200)    $30.5600     ($6,112.00)
Purchase                9/17/2013             82     $30.5600   $2,505.92       Sale             9/17/2013       (200)    $30.5900     ($6,118.00)
Purchase                9/18/2013            100     $30.9000   $3,090.00       Sale             9/17/2013       (100)    $30.6000     ($3,060.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/18/2013            100     $30.8300   $3,083.00       Sale             9/17/2013       (100)    $30.6000     ($3,060.00)
Purchase                9/18/2013            100     $30.8300   $3,083.00       Sale             9/17/2013       (200)    $30.6200     ($6,124.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.6200     ($6,124.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.7400     ($6,148.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (200)    $30.7000     ($6,140.00)
Purchase                9/18/2013            100     $30.7600   $3,076.00       Sale             9/17/2013       (100)    $30.6900     ($3,069.00)
Purchase                9/18/2013            100     $30.8600   $3,086.00       Sale             9/17/2013       (100)    $30.6900     ($3,069.00)
Purchase                9/18/2013            100     $30.8600   $3,086.00       Sale             9/18/2013       (100)    $30.7200     ($3,072.00)
Purchase                9/18/2013            100     $31.1300   $3,113.00       Sale             9/18/2013       (100)    $30.7800     ($3,078.00)
Purchase                9/18/2013             94     $31.1300   $2,926.22       Sale             9/18/2013       (100)    $30.7000     ($3,070.00)
Purchase                9/18/2013            100     $31.0900   $3,109.00       Sale             9/18/2013       (100)    $30.7000     ($3,070.00)
Purchase                9/18/2013             96     $31.0900   $2,984.64       Sale             9/18/2013       (100)    $30.8100     ($3,081.00)
Purchase                9/18/2013              4     $31.0900     $124.36       Sale             9/18/2013       (100)    $31.1700     ($3,117.00)
Purchase                9/18/2013            100     $31.0600   $3,106.00       Sale             9/18/2013       (200)    $31.1600     ($6,232.00)
Purchase                9/18/2013            100     $31.1100   $3,111.00       Sale             9/18/2013       (100)    $31.2400     ($3,124.00)
Purchase                9/18/2013            200     $31.1200   $6,224.00       Sale             9/18/2013       (100)    $31.2400     ($3,124.00)
Purchase                9/18/2013            200     $31.3300   $6,266.00       Sale             9/19/2013       (100)    $31.2700     ($3,127.00)
Purchase                9/18/2013            100     $31.3200   $3,132.00       Sale             9/19/2013       (200)    $31.1500     ($6,230.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/19/2013       (200)    $31.1900     ($6,238.00)
Purchase                9/19/2013            100     $31.0800   $3,108.00       Sale             9/19/2013       (100)    $31.1900     ($3,119.00)
Purchase                9/19/2013            100     $31.2300   $3,123.00       Sale             9/19/2013       (100)    $31.1600     ($3,116.00)
Purchase                9/19/2013            100     $31.1200   $3,112.00       Sale             9/19/2013        (15)    $31.1600       ($467.40)
Purchase                9/19/2013            100     $31.1200   $3,112.00       Sale             9/20/2013       (100)    $31.3100     ($3,131.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/20/2013       (100)    $31.3100     ($3,131.00)
Purchase                9/19/2013            100     $31.1000   $3,110.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/19/2013            100     $31.1700   $3,117.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/20/2013            100     $31.1600   $3,116.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/20/2013            100     $31.1200   $3,112.00       Sale             9/20/2013       (300)    $31.3100     ($9,393.00)
Purchase                9/20/2013            100     $31.0800   $3,108.00       Sale             9/20/2013       (100)    $31.3100     ($3,131.00)
Purchase                9/20/2013            100     $31.0700   $3,107.00       Sale             9/20/2013       (200)    $31.3100     ($6,262.00)
Purchase                9/20/2013            100     $30.9800   $3,098.00       Sale             9/20/2013       (200)    $30.9100     ($6,182.00)
Purchase                9/20/2013            100     $30.8500   $3,085.00       Sale             9/20/2013       (200)    $30.9100     ($6,182.00)
Purchase                9/20/2013            100     $30.8400   $3,084.00       Sale             9/23/2013       (100)    $30.8000     ($3,080.00)
Purchase                9/20/2013            100     $30.7500   $3,075.00       Sale             9/23/2013       (100)    $30.6800     ($3,068.00)
Purchase                9/20/2013            100     $30.8500   $3,085.00       Sale             9/23/2013       (100)    $30.6800     ($3,068.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                9/20/2013            100     $30.9400    $3,094.00       Sale             9/23/2013       (100)    $30.7000     ($3,070.00)
Purchase                9/20/2013            200     $30.9400    $6,188.00       Sale             9/23/2013       (100)    $30.5800     ($3,058.00)
Purchase                9/20/2013            200     $30.8900    $6,178.00       Sale             9/23/2013       (200)    $30.4900     ($6,098.00)
Purchase                9/20/2013            100     $30.8900    $3,089.00       Sale             9/23/2013       (200)    $30.4900     ($6,098.00)
Purchase                9/20/2013              3     $30.8900       $92.67       Sale             9/23/2013       (200)    $30.1700     ($6,034.00)
Purchase                9/20/2013            200     $30.9200    $6,184.00       Sale             9/23/2013       (200)    $30.1700     ($6,034.00)
Purchase                9/23/2013            100     $30.7400    $3,074.00       Sale             9/23/2013       (100)    $29.9900     ($2,999.00)
Purchase                9/23/2013            100     $30.7400    $3,074.00       Sale             9/23/2013       (200)    $29.9900     ($5,998.00)
Purchase                9/23/2013            100     $30.7700    $3,077.00       Sale             9/23/2013       (100)    $29.9900     ($2,999.00)
Purchase                9/23/2013            100     $30.7200    $3,072.00       Sale             9/23/2013       (100)    $30.0100     ($3,001.00)
Purchase                9/23/2013            100     $30.7000    $3,070.00       Sale             9/23/2013       (200)    $29.9900     ($5,998.00)
Purchase                9/23/2013            100     $30.7100    $3,071.00       Sale             9/23/2013       (200)    $29.8100     ($5,962.00)
Purchase                9/23/2013            100     $30.7300    $3,073.00       Sale             9/23/2013       (100)    $29.9500     ($2,995.00)
Purchase                9/23/2013            100     $30.7400    $3,074.00       Sale             9/23/2013       (200)    $29.9000     ($5,980.00)
Purchase                9/23/2013            100     $30.5900    $3,059.00       Sale             9/23/2013       (100)    $29.9400     ($2,994.00)
Purchase                9/23/2013            200     $30.5000    $6,100.00       Sale             9/23/2013       (100)    $29.8000     ($2,980.00)
Purchase                9/23/2013            100     $30.5000    $3,050.00       Sale             9/23/2013       (200)    $29.5500     ($5,910.00)
Purchase                9/23/2013            100     $30.5000    $3,050.00       Sale             9/23/2013       (200)    $29.4800     ($5,896.00)
Purchase                9/23/2013            200     $30.1600    $6,032.00       Sale             9/23/2013       (200)    $29.5000     ($5,900.00)
Purchase                9/23/2013            200     $30.1500    $6,030.00       Sale             9/23/2013       (200)    $29.5000     ($5,900.00)
Purchase                9/23/2013            100     $30.1600    $3,016.00       Sale             9/23/2013       (200)    $29.1300     ($5,826.00)
Purchase                9/23/2013            200     $30.1500    $6,030.00       Sale             9/23/2013       (200)    $29.1300     ($5,826.00)
Purchase                9/23/2013            200     $29.9600    $5,992.00       Sale             9/23/2013       (200)    $28.8200     ($5,764.00)
Purchase                9/23/2013            200     $29.9000    $5,980.00       Sale             9/23/2013       (200)    $28.9000     ($5,780.00)
Purchase                9/23/2013            200     $29.8700    $5,974.00       Sale             9/23/2013       (200)    $29.0500     ($5,810.00)
Purchase                9/23/2013            200     $29.4900    $5,898.00       Sale             9/23/2013       (100)    $29.1900     ($2,919.00)
Purchase                9/23/2013            100     $29.3700    $2,937.00       Sale             9/23/2013       (200)    $29.1800     ($5,836.00)
Purchase                9/23/2013            100     $29.1100    $2,911.00       Sale             9/23/2013       (200)    $29.1800     ($5,836.00)
Purchase                9/23/2013            100     $29.1100    $2,911.00       Sale             9/23/2013       (100)    $29.1900     ($2,919.00)
Purchase                9/23/2013            200     $29.0200    $5,804.00       Sale             9/23/2013       (200)    $29.2000     ($5,840.00)
Purchase                9/23/2013            200     $28.8700    $5,774.00       Sale             9/23/2013       (200)    $29.0800     ($5,816.00)
Purchase                9/23/2013            200     $29.1100    $5,822.00       Sale             9/24/2013       (100)    $28.7500     ($2,875.00)
Purchase                9/23/2013            100     $29.1000    $2,910.00       Sale             9/24/2013       (100)    $28.8000     ($2,880.00)
Purchase                9/23/2013          1,308     $28.8500   $37,735.80       Sale             9/24/2013       (100)    $28.8200     ($2,882.00)
Purchase                9/24/2013            100     $29.2900    $2,929.00       Sale             9/24/2013       (100)    $28.8200     ($2,882.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/24/2013            100     $29.3500   $2,935.00       Sale             9/24/2013       (100)    $28.9500    ($2,895.00)
Purchase                9/24/2013            100     $29.3500   $2,935.00       Sale             9/24/2013       (100)    $28.9900    ($2,899.00)
Purchase                9/24/2013            100     $29.4400   $2,944.00       Sale             9/24/2013       (100)    $29.0000    ($2,900.00)
Purchase                9/24/2013            100     $29.4000   $2,940.00       Sale             9/24/2013       (100)    $29.0900    ($2,909.00)
Purchase                9/24/2013             99     $29.3900   $2,909.61       Sale             9/24/2013       (100)    $29.1900    ($2,919.00)
Purchase                9/24/2013            100     $29.5300   $2,953.00       Sale             9/24/2013       (100)    $29.8500    ($2,985.00)
Purchase                9/24/2013            100     $29.6500   $2,965.00       Sale             9/24/2013       (100)    $29.6000    ($2,960.00)
Purchase                9/24/2013             52     $29.6000   $1,539.20       Sale             9/24/2013       (100)    $29.5900    ($2,959.00)
Purchase                9/24/2013            100     $29.6500   $2,965.00       Sale             9/24/2013       (100)    $29.6400    ($2,964.00)
Purchase                9/24/2013             48     $29.6000   $1,420.80       Sale             9/24/2013       (100)    $29.6900    ($2,969.00)
Purchase                9/24/2013            100     $29.6000   $2,960.00       Sale             9/24/2013       (100)    $29.6800    ($2,968.00)
Purchase                9/24/2013            100     $29.5400   $2,954.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013            100     $29.5900   $2,959.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013            100     $29.5900   $2,959.00       Sale             9/24/2013       (100)    $29.4200    ($2,942.00)
Purchase                9/24/2013            100     $29.7500   $2,975.00       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013             99     $29.8300   $2,953.17       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013            100     $29.8900   $2,989.00       Sale             9/24/2013       (200)    $29.5000    ($5,900.00)
Purchase                9/24/2013             50     $29.7600   $1,488.00       Sale             9/24/2013       (200)    $29.4500    ($5,890.00)
Purchase                9/24/2013             50     $29.7400   $1,487.00       Sale             9/24/2013       (100)    $29.3600    ($2,936.00)
Purchase                9/24/2013            100     $29.7200   $2,972.00       Sale             9/24/2013       (200)    $29.3600    ($5,872.00)
Purchase                9/24/2013             50     $29.7200   $1,486.00       Sale             9/24/2013       (200)    $29.3600    ($5,872.00)
Purchase                9/24/2013            100     $29.6100   $2,961.00       Sale             9/25/2013       (200)    $29.4700    ($5,894.00)
Purchase                9/24/2013             99     $29.6300   $2,933.37       Sale             9/25/2013       (200)    $29.4800    ($5,896.00)
Purchase                9/24/2013            200     $29.4200   $5,884.00       Sale             9/25/2013       (200)    $29.5600    ($5,912.00)
Purchase                9/24/2013            200     $29.4800   $5,896.00       Sale             9/25/2013       (793)    $29.6700   ($23,528.31)
Purchase                9/24/2013            100     $29.4900   $2,949.00       Sale             9/26/2013       (100)    $29.6600    ($2,966.00)
Purchase                9/24/2013            100     $29.4600   $2,946.00       Sale             9/26/2013       (100)    $29.6600    ($2,966.00)
Purchase                9/24/2013            100     $29.4700   $2,947.00       Sale             9/26/2013       (100)    $29.7200    ($2,972.00)
Purchase                9/24/2013            200     $29.4700   $5,894.00       Sale             9/26/2013       (200)    $29.7300    ($5,946.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013       (200)    $29.7300    ($5,946.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013        (35)    $29.7300    ($1,040.55)
Purchase                9/25/2013            100     $29.3800   $2,938.00       Sale             9/26/2013       (200)    $29.7400    ($5,948.00)
Purchase                9/25/2013            100     $29.4300   $2,943.00       Sale             9/26/2013       (200)    $29.7400    ($5,948.00)
Purchase                9/25/2013            100     $29.3700   $2,937.00       Sale             9/26/2013       (100)    $29.8000    ($2,980.00)
Purchase                9/25/2013            100     $29.3700   $2,937.00       Sale             9/26/2013       (114)    $29.8000    ($3,397.20)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost               Transaction   Date        Shares      Price       Proceeds

Purchase                9/25/2013             49     $29.6600   $1,453.34       Sale             9/26/2013       (200)    $29.8000     ($5,960.00)
Purchase                9/25/2013            100     $29.6900   $2,969.00       Sale             9/27/2013       (100)    $29.5900     ($2,959.00)
Purchase                9/25/2013            200     $29.6300   $5,926.00       Sale             9/27/2013         (3)    $29.5900        ($88.77)
Purchase                9/25/2013            200     $29.4100   $5,882.00       Sale             9/27/2013        (97)    $29.5900     ($2,870.23)
Purchase                9/26/2013             10     $29.6100     $296.10       Sale             9/27/2013       (100)    $29.7300     ($2,973.00)
Purchase                9/26/2013            100     $29.6100   $2,961.00       Sale             9/27/2013       (100)    $30.1300     ($3,013.00)
Purchase                9/26/2013             55     $29.7500   $1,636.25       Sale             9/27/2013       (100)    $30.2200     ($3,022.00)
Purchase                9/26/2013             45     $29.7500   $1,338.75       Sale             9/27/2013       (100)    $30.4200     ($3,042.00)
Purchase                9/26/2013            100     $29.7300   $2,973.00       Sale             9/27/2013       (200)    $30.3700     ($6,074.00)
Purchase                9/26/2013            100     $29.7900   $2,979.00       Sale             9/27/2013       (200)    $30.3000     ($6,060.00)
Purchase                9/26/2013            200     $29.7400   $5,948.00       Sale             9/27/2013       (100)    $30.6600     ($3,066.00)
Purchase                9/26/2013            200     $29.8700   $5,974.00       Sale             9/27/2013       (181)    $30.7500     ($5,565.75)
Purchase                9/26/2013            200     $29.8100   $5,962.00       Sale             9/27/2013       (200)    $30.7500     ($6,150.00)
Purchase                9/26/2013            200     $29.8100   $5,962.00       Sale             9/30/2013       (100)    $30.6800     ($3,068.00)
Purchase                9/26/2013            200     $29.8000   $5,960.00       Sale             9/30/2013       (100)    $30.7400     ($3,074.00)
Purchase                9/26/2013            200     $29.8000   $5,960.00       Sale             9/30/2013       (100)    $31.1100     ($3,111.00)
Purchase                9/27/2013            100     $29.9300   $2,993.00       Sale             9/30/2013       (100)    $31.1500     ($3,115.00)
Purchase                9/27/2013            100     $29.8900   $2,989.00       Sale             9/30/2013       (100)    $31.0400     ($3,104.00)
Purchase                9/27/2013             79     $29.8700   $2,359.73       Sale             9/30/2013       (100)    $30.4300     ($3,043.00)
Purchase                9/27/2013             21     $29.8700     $627.27       Sale             9/30/2013       (194)    $30.4200     ($5,901.48)
Purchase                9/27/2013             99     $30.4100   $3,010.59       Sale             9/30/2013       (100)    $30.5200     ($3,052.00)
Purchase                9/27/2013            100     $30.4000   $3,040.00       Sale             9/30/2013       (200)    $30.5900     ($6,118.00)
Purchase                9/27/2013            100     $30.4000   $3,040.00       Sale             10/1/2013       (100)    $31.0000     ($3,100.00)
Purchase                9/27/2013            100     $30.3700   $3,037.00       Sale             10/1/2013       (100)    $31.0400     ($3,104.00)
Purchase                9/27/2013             17     $30.2800     $514.76       Sale             10/1/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/27/2013            200     $30.3300   $6,066.00       Sale             10/1/2013       (100)    $31.0500     ($3,105.00)
Purchase                9/27/2013            200     $30.5100   $6,102.00       Sale             10/1/2013       (100)    $31.0600     ($3,106.00)
Purchase                9/27/2013            191     $30.5600   $5,836.96       Sale             10/1/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/27/2013            200     $30.5600   $6,112.00       Sale             10/1/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/27/2013            200     $30.7200   $6,144.00       Sale             10/1/2013        (79)    $31.1300     ($2,459.27)
Purchase                9/27/2013             79     $30.7800   $2,431.62       Sale             10/1/2013       (200)    $31.1400     ($6,228.00)
Purchase                9/27/2013            200     $30.7600   $6,152.00       Sale             10/1/2013       (200)    $31.0600     ($6,212.00)
Purchase                9/27/2013            100     $30.6700   $3,067.00       Sale             10/2/2013       (100)    $30.7700     ($3,077.00)
Purchase                9/27/2013             63     $30.6700   $1,932.21       Sale             10/2/2013       (100)    $30.8100     ($3,081.00)
Purchase                9/27/2013            100     $30.6700   $3,067.00       Sale             10/2/2013       (100)    $31.0100     ($3,101.00)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price      Cost                Transaction   Date        Shares      Price       Proceeds

Purchase                9/27/2013            100     $30.6700    $3,067.00       Sale             10/2/2013       (100)    $31.0000     ($3,100.00)
Purchase                9/27/2013             37     $30.6700    $1,134.79       Sale             10/2/2013       (100)    $31.1000     ($3,110.00)
Purchase                9/30/2013            100     $30.6300    $3,063.00       Sale             10/2/2013       (100)    $31.2800     ($3,128.00)
Purchase                9/30/2013            100     $30.7100    $3,071.00       Sale             10/2/2013       (200)    $31.2900     ($6,258.00)
Purchase                9/30/2013            100     $30.7100    $3,071.00       Sale             10/3/2013       (100)    $31.3300     ($3,133.00)
Purchase                9/30/2013            100     $31.0000    $3,100.00       Sale             10/3/2013       (100)    $31.2800     ($3,128.00)
Purchase                9/30/2013            100     $31.1500    $3,115.00       Sale             10/3/2013       (100)    $31.0600     ($3,106.00)
Purchase                9/30/2013            100     $31.1500    $3,115.00       Sale             10/3/2013       (100)    $31.1700     ($3,117.00)
Purchase                9/30/2013            100     $31.1700    $3,117.00       Sale             10/3/2013       (200)    $31.1800     ($6,236.00)
Purchase                9/30/2013            100     $30.9300    $3,093.00       Sale             10/3/2013       (200)    $31.1700     ($6,234.00)
Purchase                9/30/2013            100     $30.8600    $3,086.00       Sale             10/4/2013       (100)    $31.4200     ($3,142.00)
Purchase                9/30/2013            200     $30.7000    $6,140.00       Sale             10/4/2013        (55)    $31.4400     ($1,729.20)
Purchase                9/30/2013            200     $30.7000    $6,140.00       Sale             10/4/2013       (100)    $31.3500     ($3,135.00)
Purchase                9/30/2013             47     $30.8000    $1,447.60       Sale             10/4/2013       (100)    $31.3500     ($3,135.00)
Purchase                9/30/2013             42     $30.8000    $1,293.60       Sale             10/4/2013       (100)    $31.0900     ($3,109.00)
Purchase                9/30/2013             11     $30.8000      $338.80       Sale             10/4/2013       (100)    $30.9000     ($3,090.00)
Purchase                10/1/2013            100     $31.0000    $3,100.00       Sale             10/4/2013       (100)    $30.7400     ($3,074.00)
Purchase                10/1/2013            100     $31.0300    $3,103.00       Sale             10/4/2013        (78)    $30.7000     ($2,394.60)
Purchase                10/1/2013            100     $31.0400    $3,104.00       Sale             10/4/2013       (100)    $30.2700     ($3,027.00)
Purchase                10/1/2013            100     $31.0400    $3,104.00       Sale             10/4/2013       (100)    $30.3000     ($3,030.00)
Purchase                10/1/2013            100     $31.0600    $3,106.00       Sale             10/4/2013       (100)    $30.3900     ($3,039.00)
Purchase                10/1/2013            100     $31.1100    $3,111.00       Sale             10/4/2013       (199)    $29.6300     ($5,896.37)
Purchase                10/1/2013            100     $31.1700    $3,117.00       Sale             10/4/2013       (200)    $29.6200     ($5,924.00)
Purchase                10/1/2013            100     $31.1700    $3,117.00       Sale             10/4/2013       (100)    $29.4500     ($2,945.00)
Purchase                10/1/2013            100     $31.1600    $3,116.00       Sale             10/4/2013       (200)    $29.6000     ($5,920.00)
Purchase                10/1/2013          1,352     $31.1300   $42,087.76       Sale             10/4/2013       (200)    $29.6800     ($5,936.00)
Purchase                10/2/2013            100     $31.2200    $3,122.00       Sale             10/4/2013       (200)    $29.6300     ($5,926.00)
Purchase                10/2/2013            100     $31.2600    $3,126.00       Sale             10/4/2013       (100)    $29.6000     ($2,960.00)
Purchase                10/2/2013            200     $31.3900    $6,278.00       Sale             10/4/2013       (100)    $29.6000     ($2,960.00)
Purchase                10/3/2013            200     $31.3200    $6,264.00       Sale             10/4/2013        (99)    $29.4100     ($2,911.59)
Purchase                10/3/2013            200     $31.3200    $6,264.00       Sale             10/4/2013       (200)    $29.4200     ($5,884.00)
Purchase                10/4/2013            100     $31.2400    $3,124.00       Sale             10/4/2013       (200)    $29.4700     ($5,894.00)
Purchase                10/4/2013            100     $31.2400    $3,124.00       Sale             10/4/2013        (99)    $29.5500     ($2,925.45)
Purchase                10/4/2013            100     $31.3400    $3,134.00       Sale             10/4/2013       (200)    $29.6100     ($5,922.00)
Purchase                10/4/2013            100     $29.6500    $2,965.00       Sale             10/4/2013        (87)    $29.7500     ($2,588.25)

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Timber Hill LLC
LIFO Loss in Cooper Tire & Rubber Company
CUSIP # 216831107
Class Period: 06/12/13 - 11/08/13
Retained share price: $23.6617 (11/08/13-02/05/14)

   Transaction          Date           Shares        Price         Cost                Transaction   Date        Shares          Price        Proceeds

Purchase                10/4/2013            200     $29.6000       $5,920.00       Sale             10/4/2013       (200)        $29.4600       ($5,892.00)
Purchase                10/4/2013            200     $29.6000       $5,920.00       Sale             10/4/2013       (200)        $29.4200       ($5,884.00)
Purchase                10/4/2013            200     $29.6100       $5,922.00       Sale             10/4/2013       (200)        $29.4700       ($5,894.00)
Purchase                10/4/2013            200     $29.5400       $5,908.00       Sale             10/4/2013       (200)        $29.5000       ($5,900.00)
Purchase                10/4/2013            200     $29.5500       $5,910.00       Sale             10/4/2013       (200)        $29.5300       ($5,906.00)
Purchase                10/4/2013            200     $29.5600       $5,912.00       Sale             10/4/2013       (200)        $29.5300       ($5,906.00)
Purchase                10/4/2013            200     $29.7000       $5,940.00       Sale             10/4/2013        (99)        $29.4800       ($2,918.52)
Purchase                10/4/2013            200     $29.7000       $5,940.00       Sale             10/4/2013       (200)        $29.3600       ($5,872.00)
Purchase                10/4/2013            200     $29.4900       $5,898.00       Sale             10/4/2013       (200)        $29.3600       ($5,872.00)
Purchase                10/4/2013            200     $29.4900       $5,898.00       Sale             10/4/2013       (100)        $28.8200       ($2,882.00)
Purchase                10/4/2013            100     $29.5100       $2,951.00       Sale             10/4/2013       (200)        $28.8500       ($5,770.00)
Purchase                10/4/2013            200     $29.5000       $5,900.00       Sale             10/4/2013       (200)        $29.0000       ($5,800.00)
Purchase                10/4/2013            200     $29.5000       $5,900.00       Sale             10/4/2013       (100)        $29.1000       ($2,910.00)
Purchase                10/4/2013            200     $29.4900       $5,898.00       Sale             10/4/2013       (200)        $29.1000       ($5,820.00)
Purchase                10/4/2013            200     $29.1400       $5,828.00       Sale             10/4/2013       (100)        $29.0800       ($2,908.00)
Purchase                10/4/2013             25     $29.0300         $725.75       Sale             10/4/2013       (200)        $29.1800       ($5,836.00)
Purchase                10/4/2013            200     $29.0300       $5,806.00       Sale             10/4/2013       (200)        $29.1800       ($5,836.00)
Purchase                10/4/2013            200     $29.0600       $5,812.00       Sale             10/4/2013       (200)        $29.1400       ($5,828.00)
Purchase                10/4/2013            100     $29.0600       $2,906.00       Sale             10/4/2013       (200)        $29.1400       ($5,828.00)
Purchase                10/4/2013            200     $29.1100       $5,822.00       Sale             10/4/2013       (200)        $29.1400       ($5,828.00)
Purchase                10/4/2013            200     $29.1100       $5,822.00       Sale             10/4/2013       (200)        $29.2100       ($5,842.00)
Purchase                10/4/2013            200     $29.1400       $5,828.00       Sale             10/4/2013       (200)        $29.3700       ($5,874.00)
Purchase                10/4/2013            100     $29.1400       $2,914.00       Sale             10/4/2013       (200)        $29.5000       ($5,900.00)
Purchase                10/4/2013            100     $29.2300       $2,923.00       Sale             10/4/2013        (65)        $29.5500       ($1,920.75)
Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013        (69)        $29.5500       ($2,038.95)
Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013        (48)        $29.5100       ($1,416.48)
Purchase                10/4/2013            200     $29.5000       $5,900.00       Sale             10/4/2013       (100)        $29.5000       ($2,950.00)
Purchase                10/4/2013            200     $29.4100       $5,882.00       Sale             10/4/2013       (163)        $29.5000       ($4,808.50)
Purchase                10/4/2013            200     $29.5300       $5,906.00       Sale             10/4/2013       (200)        $29.5000       ($5,900.00)
Purchase                10/4/2013            200     $29.5300       $5,906.00
Purchase                10/4/2013          1,014     $29.5100      $29,923.14       Retained                       (2,065)        $23.6617      ($48,861.41)
                                         307,447                $9,990,569.72                                    (307,447)                   ($9,739,776.01)

                                                                                                                             LIFO loss        ($250,793.71)



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